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                 EXHIBIT 2
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   RESTRICTIONS ON PRIVACY AND EXPLOITATION
   IN THE DIGITAL ECONOMY: A MARKET FAILURE




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                  PERSPECTIVE

                      Nicholas Economides∗ & Ioannis Lianos†

        ABSTRACT
        The recent controversy on the intersection of competition law with the protection
        of privacy, following the emergence of big data and social media is a major
        challenge for competition authorities worldwide. Recent technological progress
        in data analytics may greatly facilitate the prediction of personality traits and
        attributes from even a few digital records of human behaviour. There are different
        perspectives globally as to the level of personal data protection and the role
        competition law may play in that context, hence the discussion of integrating
        such concerns in competition law enforcement may be premature for some
        jurisdictions. However, a market failure approach may provide common intellec-
        tual foundations for the assessment of harms associated with the exploitation of
        personal data, even when the specific legal system does not formally recognize a
        fundamental right to privacy. The paper presents a model of market failure based
        on a requirement provision in the acquisition of personal information from users
        of other products/services. We establish the economic harm from the market
        failure and the requirement using the traditional competition law toolbox and
        focusing more on situations in which the restriction on privacy may be analysed
        as a form of exploitation.

   I. INTRODUCTION
   The recent controversy surrounding the intersection of competition law with
   the protection of privacy, following the emergence of big data and social
   media, presents a major challenge for competition authorities worldwide. The

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     concept of “big data” refers to gigantic digital datasets, which are often held
     by corporations, governments and other large organizations, and which can be
     extensively analysed using computer algorithms.1 Breaches of privacy or data
     protection may affect millions of people and, depending on the purpose, even
     compromise the democratic process.2




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        Although tracking the number and activity of visitors to webpages has
     existed since the early days of the Internet, with the rise of social media and
     the Web 2.0, it is now technologically possible for third-party websites to be
     embedded into the visited website through references to external resources
     to the website. It can be done when a user’s browser uses a JavaScript code
     to automatically load from the third-party server and execute.3 Data can be
     harvested by digital platforms across different devices, such as smartphones,
     tablets, laptops and computers. It can be harvested, for instance, from websites
     with which the user has interacted, that is, the “first data aggregator,” or from
     other entities, through third-party tracking with tracker harvesting data that is
     not directly from the user but rather is gained indirectly through access to the
     data aggregated by the first data aggregator. According to a study published by
     Ghostery in 2017, more than 77% of all page loads contain at least one tracker,
     for statistical or advertising purposes—Google was found to be on more than
     60% of all page loads, whereas Facebook was on more than 27%, followed
     by Comscore, Twitter and Yandex.4 However, it has also been reported that
     the implementation of stricter data protection regulation, such as the General


     1
       See French Competition Authority, Autorité de la Concurrence, and German Competition
       Authority, Bundeskartellamt, “Competition Law and Data,” (2016), Report, 4, which states
       that “aspects of ‘big data’ that are often mentioned are large amounts of different types
       of data, produced at high speed from multiple sources, the handling and analysis of which
       require new and more powerful processors and algorithms.” C. Cadwalladr and E. Graham-
       Harrison, “Revealed: 50 Million Facebook Profiles Harvested from Cambridge Analytica in
       Major Data Breach,” (theguardian.com, 17 March 2018), <https://www.theguardian.com/ne
       ws/2018/mar/17/cambridge-analytica-facebook-influence-us-election>, states that ‘big data’ is
       often characterized by the various ‘V’s, which go from four, according to certain descriptions,
       velocity, variety and volume, value (to be extracted) to six, according to others, with veracity and
       validation being adding.
     2
       See the recent controversy concerning the use of Facebook generated data from Cambridge
       Analytica, a political strategy firm to which Facebook’s clients had not provided their consent,
       particularly in relation to the design of algorithms that enabled Cambridge Analytical to
       build a system that could profile individual voters in the 2016 Brexit referendum, as well as
       the 2016 US Presidential election, to target them with personalized political advertisements
       and influence their votes. See Cadwalladr and Graham-Harrison, (1); M. Scott, “Cambridge
       Analytica Helped ‘Cheat’ Brexit Vote and US Election, Claims Whistleblower,” (politico.eu, 27
       March 2018), <https://www.politico.eu/article/cambridge-analytica-chris-wylie-brexit-trump-
       britain-data-protection-privacy-facebook>. There is also evidence that Google provided data
       on individual marginal voters to the Obama campaign of 2012.
     3
       Schelter, S., Kunegis, J. 2016. Tracking the Trackers: A Large-Scale Analysis of Embedded Web
       Trackers, Proceedings of the Tenth International AAAI Conference on Web and Social Media.
     4
       Ghostery, “Tracking the Trackers,” (ghostery.com, 4 December 2017), <https://www.ghostery.
       com/study>




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   Data Protection Regulation 2016/679 (henceforth, the “GDPR”),5 has led
   to a decrease in the usage of third-party cookies and third-party domains.6
   Tracking capabilities are also generally concentrated in a small number of
   companies, with Google holding the most power, in terms of the reach of
   its trackers on popular websites and apps, followed by Twitter, Facebook




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   and Microsoft for websites trackers, and Amazon, Facebook, and Comscore
   for mobile app trackers.7 The recent mergers of Microsoft/Linkedin (2016),
   Adobe/Lyvefire (2016), Facebook/Liverail (2014), Alibaba/Umeng (2013) and
   Google/Doubleclick (2007), has also contributed to the emergence of a market
   structure that is dominated by a small number of firms and then a long list of
   other less significant trackers.8
      Furthermore, data (or information) intermediaries/ brokers, such as
   Axciom and Equifax, package information from various sources to profile
   customer groups. Historically, this profiling has helped with targeted
   advertising. Traditionally, advertisers build campaigns based on the following
   factors: geography, socio-economic status, age, government data, same-store
   sales and so forth. However, the internet spawned new variants of data brokers.
   Traditional intermediaries would collect data concerning several dimensions,
   such as same store sales and credit history. Combining raw purchasing
   history, the data for which is harvested by traditional intermediaries, with
   the formation of ideas, which may be done through prediction platforms
   (such as Facebook or Google), it may be easier to build a digital customer
   journey. Basic statistical models would be able to determine the optimal time
   to advertise to individuals to maximize conversions. In that way, payments
   become far more important for future advertising revenue as there will be a
   greater rate of conversions. Statistical models could separate window shoppers
   and daydreamers from serious shoppers. Although this discourse would focus
   largely on payments, it could be extended to encompass other decisions made
   by consumers.
      Recent technological progress in data analytics may facilitate the prediction
   of personality traits and attributes, even from only a few digital records of



   5
     General Data Protection Regulation (EU) 2016/679 for the protection of natural persons with
     regard to the processing of personal data and on the free movement of such data [2016] OJ L
     119/1. This regulation came into force on 25 May 2018.
   6
     Wagner, P. “News Pages Are Abandoning Third-Party Ad Trackers” (statista.com, 25 September
     2018), <https://www.statista.com/chart/15578/change-of-ad-tracking-techniques-since-gdpr>,
     notes that in the EU third-party cookies have decreased by 22% per page while third-party
     domains have decreased by 4% since the GDPR came into force.
   7
     Binns, R., Zhao, J., Van Kleek, M., Shadbolt, N. 2010. “Measuring Third-Party Tracker Power
     Across Web and Mobile,” ACM Computers in Entertainment, 9(4): Article 39, proposes a new
     metric for power to measure the effect of the consolidation among tracker companies.
   8
     See ibid; Falahrastegar, M., Haddadi, H., Uhlig, S., Mortier, R. 2014. “Anatomy of the Third-
     Party Web Tracking Ecosystem,” arXiv:1409.1066.




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     human behaviour, such as “likes” or facial images on Facebook.9 The inference
     of identities, such as an individual’s social security number, from anonymised
     data has been possible for some time.10 The development of smart cities,
     with their extensive networks of sensors and technologies, such as artificial
     neural networks, can serve to enable better predictions of both the actions and




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     behaviour of smart cities’ residents, or even the formation of new social ties,
     through better modelling and simulation.11 Digital technology has the capacity
     to facilitate the elaboration of advanced, even real-time, sociometrics and new
     applications, such as social credit experiments.12 These developments have
     brought “privacy” concerns at the forefront of the policy debate.13
        The concept of “privacy” may be defined broadly or narrowly, and its pre-
     cise contours constitute a matter of academic and non-academic discussion.14
     In view of these different conceptions of privacy in various cultures and social
     systems, and the heterogeneity of consumers, some of them valuing privacy
     highly while others much less, there are different perspectives globally as to the
     level of privacy protection through different legal tools, such as data protection
     law, or even competition law.
        The emerging field of data protection, in particular in the digital sector
     raises interesting questions on its interaction with competition law and the
     need for a more connected approach between these two areas of law, as both
     aim to avoid the exploitation of the personal data of consumers and restrictions
     to their privacy,15 even if the theoretical underpinnings of each area of law may

     9
        Kosinski, M., Stillwell, D., Graepel, T. 2013. “Private Traits and Attributes are Predictable from
         Digital Records of Human Behaviour,” Proceedings of the National Academy of Sciences of the
         United States of America, 110(15): 5802–5805.
     10
        Acquisti, A., Gross, R. 2009. “Predicting Social Security Numbers from Public Data,” (2009)
        106(27) Proceedings of the National Academy of Sciences of the United States of America, 10975.
     11
        See Batty, M., Axhausen, K., Giannotti, F., Pozdnoukhov, A., Bazzani, A. 2012. “Smart Cities of
        the Future,” The European Physical Journal, 214:481; Almeida, A., Azkune, G. 2018. “Predicting
        Human Behaviour with Recurrent Neural Networks,” Applies Sciences, 8(2):305.
     12
        See Bach, J. 2020. The Red and the Black: China’s Social Credit Experiment as a Total Test
        Environment, British Journal of Sociology, 71(3): 489.
     13
        See, among others, Zuboff, S. 2019. The Age of Surveillance Capitalism: the Fight for the Future
        at the New Frontier of Power (Public Affairs).
     14
        See, for instance, D. Solove, The meaning and value of privacy, in Roessler, B., Mokrosinska, D.
        (eds.), Social Dimensions of Privacy: Interdisciplinary Perspectives (Cambridge University Press,
        2015), 71–82 (arguing that privacy is historically and culturally contingent). Privacy can
        be a ‘final good’, valued as such, or an ‘intermediate good’, acting as a parameter, among
        many, of competition: see, J. Farrell, Can Privacy be Just Another Good?, (2012) 10 Journal
        on Telecommunications and High Technology Law 251. While the current competition law
        framework may integrate the latter in defining a dimension of quality on which there may be
        competition (as there competition in price), the former may be more difficult to integrate in the
        analysis.
     15
        See, European Data Protection Supervisor, Privacy and competitiveness in the age of big data:
        The interplay between data protection, competition law and consumer protection in the Digital
        Economy (March 2014); Autorité de la Concurrence & Bundeskartellamt, Competition Law
        and Data (16 May, 2016); US FTC, Big Data—a Tool for Inclusion or Exclusion? (January
        2016) and the references included.




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   be different, personal data of consumers and restrictions to their privacy.16
   Indeed, data protection and privacy regulations often take a fundamental rights
   perspective, with privacy perceived as a rights issue.
      Both the GDPR and its predecessor were inspired by a fundamental rights-
   based approach as both data protection and the right to privacy are protected




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   by Articles 7 and 8 of the EU Charter of Fundamental Rights. A distinction can
   also be made between privacy and data, the former is formally protected and
   cannot be traded, whereas the latter can be traded provided the data subject has
   consented to such. However, no existing data protection regulation establishes
   a property right over personal data or confers that right to data subjects.
   Although the GDPR seems to be inspired by some property-like rights logic,
   as is evidenced by its introduction of the principles of data portability and
   the right to be forgotten, it stops short of recognizing property rights over
   data.17 The rule is that data can be possessed by the entity collecting it
   without any property right being affected. As a result, platforms have been
   able to harvest data and, therefore, possess data without users/ data subjects
   retaining any property right over their data, sometimes on the basis of users
   consenting to the use of their data although consent is also often extracted
   without the user understanding the implications and the real value of this
   exchange, informed consent and real choice being in some cases a fiction.18 A
   property right would involve providing the data subject with the use of, as well
   as the possibility to sell, their data, license it to someone for profit and/or use
   their data as security/collateral for raising capital, as is the case with intellectual
   property rights (henceforth, “IPRs”). Although some may consider data to be
   an intangible asset that may be protected by property rights, currently that is
   not possible with personal data.19 The exploitation of personal data certainly
   creates value, however, it is entirely, or rather overwhelmingly, captured by the
   entities that harvest those data, such as digital platforms.


   16
      See European Data Protection Supervisor, “Privacy and Competitiveness in the Age of Big
      Data: The Interplay Between Data Protection, Competition Law and Consumer Protection
      in the Digital Economy,” (2014), Report; Autorité de la Concurrence and Bundeskartellamt,
      (1); US Federal Trade Commission (henceforth, ‘FTC’), “Big Data—A Tool for Inclusion or
      Exclusion?,” (2016), Report.
   17
      Victor, J. 2013. “The EU General Data Protection Regulation: Toward a Property Regime for
      Protecting Data Privacy,” Yale Law Journal, 123(2): 266.
   18
      For a discussion, see Bergemann, B. 2018. “The Consent Paradox: Accounting for the
      Prominent Role of Consent in Data Protection,” in Hansen, M., Kosta, E., Nai-Fovino, I.,
      Fischer-Hübner, S. (eds) Privacy and Identity Management.The Smart Revolution.(Springer), 111
      (noting the need to integrate in data protection law literature a critique of power asymmetries
      and data subjects’ dependence on digital platforms).
   19
      See the discussion in Samuelson, P. 2000. “Privacy as Intellectual Property,” Stanford Law
      Review, 52(5): 1125; Lessig, L. 2002. “Privacy as Property,” Social Research, 69: 1; Schwartz,
      P. 2004. “Property, Privacy, and Personal Data,” Harvard Law Review, 117: 2055; Purtova, N.
      2017. “Do Property Rights in Personal Data Make Sense after the Big Data Turn? Individual
      Control and Transparency,” Journal of Law and Economic Regulation, 10(2): 64.




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        In contrast, competition law usually takes a “market failure” approach. It
     is concerned with the fact that consumer or total welfare or well-being may
     suffer as a result of reduced data protection in the malfunctioning market
     for personal data acquisition, in the same way that any market could suffer
     from higher prices or lower quality. Additionally, although one may also




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     envisage the possibility of a rights-based framework, to accord better with
     the welfarist foundations of the economic approach in competition law, the
     adoption of a market failure approach may arguably provide the common
     intellectual foundations required for the assessment of harms associated with
     the exploitation of personal data, even when the specific (relevant) legal system
     does not formally recognize a fundamental right to privacy. It may also provide
     the possibility of a more unified approach regarding theories of harm for both
     competition law and data/privacy protection. For this reason, we decide for
     a market failure approach, although we also recognize that there is value in
     protecting personal data and privacy from the perspective of fundamental
     rights and that, in any case, the two approaches are not mutually exclusive but
     may, and have already been, combined to provide the highest possible levels
     of protection.
        We present a model of market failure based on the imposition by a company
     (such as Google and Facebook) on users of a requirement for the provision of
     personal data by such users in return for access to the products/services of
     the company, (henceforth, this approach is referred to as the “requirement”).
     In using the traditional competition law toolbox, we illustrate the economic
     harm suffered as a result of both the market failure and the imposition of such
     requirement. To eliminate both the market failure and the requirement, it is
     imperative to create a functioning market for the sale of personal information.
        In addition to the traditional analysis undertaken regarding the requirement
     and the market failure, the authors note that, typically, there are informational
     asymmetries between the data controller and the data subject. The latter may
     not even be aware that their data was harvested in the first place, or that
     the data may be processed or shared by the data controller for a different
     purpose, or even sold on to third-parties. It is possible that no consent has
     been provided for such use, but even if there was consent for a specific use,
     such consent may not have extended to third-parties. The exploitation of
     personal data may also result from economic coercion on the basis of the user’s
     resource-dependence or lock-in with the user having no other choice than to
     consent to the harvesting and use of their data, to enjoy the consumption of a
     specific service provided by the data controller or its ecosystem. A behavioural
     approach would also emphasize the possible internalities (demand-side market
     failures) that stem from bounded rationality and/or the fact that people do
     not internalize all of the consequences of their actions and face limits in their
     cognitive capacities. Hence, a user may consent to the harvesting and use of
     their data without necessarily realizing the full consequences and costs of their




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   choice. This may occur in the context of an exchange in which the user is
   offered a free product in exchange of their data.
      By recognizing that there is a market failure in the acquisition and exploita-
   tion of user information, we identify a wider problem than the issue of
   unauthorized harvesting and use of personal data. This may result even from




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   conduct that, at first sight, could appear as increasing consumer surplus. For
   instance, advertiser-based platforms, such as Google and Facebook provide
   free search in exchange for acquisition of private user information. Not only
   do these companies benefit from market power, to the extent that they control
   the most popular search engine and social media platforms and they have
   built “large ‘ecosystems’ of complementary products and services around
   their core service.”20 Furthermore, their users are locked-in since they face
   costs of switching to rival products.21 Furthermore, there are considerable
   information asymmetries resulting out of the opaque and constantly changing
   data and privacy policies, as well as the fact that users are not aware of
   the extent of companies’ surveillance.22 In addition, these companies exploit
   consumers by offering a “zero price” in terms of monetary transaction for their
   product, although this “zero price” may be arbitrary and may underline the
   market failure in the acquisition of private user information. Present privacy
   regulations ignore this market failure as they are based on the “rights” of users
   but ignore that there is something fundamentally wrong with this “market”
   framed by these “rights.”
      This article is structured in the following way. Section 2 engages with
   the different types of market failure, before Section 3 addresses the way
   in which competition law has dealt with and could, in future, engage with
   exploitative and exclusionary conduct that results in harm to privacy. Section 4
   provides some thoughts on possible remedial action beyond the strict confines
   of competition law. The article does not analyse other forms of user harm
   that may result from anti-competitive conduct pursued by platforms, such as
   the deterioration of the quality of search query results,23 or the extraction of
   excessive prices from advertisers.24




   20
      See, for instance, CMA, Online platforms and digital advertising—Market Study Final Report
      (1 July 2020), available at https://assets.publishing.service.gov.uk/media/5efc57ed3a6f4023
      d242ed56/Final_report_1_July_2020_.pdf, para. 56.
   21
      Ibid., para. 6.45 & 59 (“platforms can use ecosystems to protect their most profitable services
      from competition. If platforms can convince consumers to stay within their ecosystem, a new
      entrant would need to compete on many fronts to displace them.”
   22
      Ibid., para. 5.247.
   23
      See, Lianos, I., Motchenkova, E. 2013. Market Dominance and Search Quality in the Search
      Engine Market, Journal of Competition Law and Economics, 9: 419.
   24
      CMA, Online platforms and digital advertising—Market Study Final Report (1 July 2020),
      para. 7.79.




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     II. PRIVACY AND MARKET FAILURES
     Digital markets are affected by different types of market failure that may
     impact on their optimal performance with regard to delivering privacy for
     their users. These market failures may result from the strategies employed
     by large digital platforms. We present a model of market failure in the




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     acquisition of personal information from users of other products/services of
     Google and Facebook arising from the requirement of these platforms that
     users provide their personal information if they use the company’s service.
     We establish the economic harm from the market failure and the requirement
     using the traditional competition law toolbox. Eliminating the requirement
     and the market failure by creating a functioning market for the sale of personal
     information is imperative.
        We also note that there are typically other types of market failures, such
     as consumers’ lock-in, information asymmetries, missing markets enabling
     users to learn the value of their data, and behavioural biases. Data protection
     legislation offers a partial response to this exploitation of privacy and data
     of users, to the extent that it does not take into account, in designing its
     remedial strategy, all the possible long-term harms to the platforms’ users,
     the power of some digital platforms and the “special responsibility” that may
     ensue from such positions of power. Competition law theories of exploitation
     and exclusion may thus provide a good complement to data protection law in
     this context.


     A. Market Failures through Exclusionary and Exploitative
         Requirement Contracts Bundling Digital Services
         with Personal Data
     The competition law concerns for advertising-based platforms, such Google
     and Facebook, are similar. Both companies allow free access to their respective
     services in return for the user granting them free access to their personal
     data/information. This information includes the specific user’s IP address,
     cookies, location, search history and possibly, for Google, the parsing of emails
     and, for Facebook, the user’s postings and “likes” history. Data collection by
     the companies occurs on a “no questions asked” basis because the default
     is for users to “opt-in” to the collection processes of both companies. The
     default opt-in and the zero price in data collection constitute a market failure.
     The market between the user and the company regarding the acquisition
     of personal data does not functions properly as a market and everyone
     participating in Google Internet search and/or Facebook’s service is giving
     away their personal data for free. If the default were for users to opt-out rather
     than opt-in and the market for data acquisition functioned properly, users
     would have been able to receive various amounts of monetary compensation
     from these companies depending on each user’s features.




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       Google offers free Internet search and effectively requires the provision of
   data from the user at zero price. It only offers Internet search only if the user
   provides their data. This setup restricts users, especially those who might be
   willing to pay for Google’s service but would prefer not to share their personal
   information with the company.




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       The imposition of the requirement concerning the provision of personal
   data in return for receiving Internet search increases Google’s market power
   in the data market. A user who would not have freely given their personal data
   to Google is now doing so because it is a requirement for access. As a result,
   this requirement increases Google’s market share in the data market. Because
   such data are used to sell advertisements, Google’s requirement directly
   increases its own market power, while simultaneously stifling competition, in
   the advertisement market. This claim is not controversial. As a recent report of
   the Australian Competition and Consumer Commission shows, Google and
   Facebook possess substantial market power in several markets, including those
   of online search, online advertising and news media referral in their role as
   “gateways” to online publications.25
       To the extent that the users receiving free search do not receive the full level
   of compensation that they should for the data they provide, they are harmed
   by the practice resulting from the imposition of the requirement. Additionally,
   there are users who would prefer to pay for search but not to provide their
   personal data to Google. They are also harmed by being compelled to provide
   the personal data sought by Google’s requirement.
       Similarly, Facebook provides free access to its service and requires the
   provision of data for zero price. Facebook’s service is only offered to the user
   if said user provides access to their personal data. Imposing a requirement
   concerning the provision of data to receive Facebook’s services increases
   Facebook’s market power in the data market. A user who would not have
   freely given their personal data to Facebook is now doing so because it is a
   requirement for access to the service. As a result, this requirement increases
   the market share of Facebook in the data market. Because the data are used to
   sell advertisements, Facebook’s requirement directly increases its own market
   power, while simultaneously stifling competition, in the advertisement market.
   To the extent that a user is not compensated adequately for their personal
   data by the provision of Facebook’s services for free, they will suffer damage.
   Additionally, users who are willing to pay Facebook for its service but would
   prefer not to provide their personal data to Facebook also suffer damage.
       One may legitimately pose the question as what the world would be like be
   without this requirement. The default regime would be “opt-out” and would
   likely imposed by regulation, because Google, Facebook and the like, have no

   25
        For an in-depth analysis of this question, see the Australian Competition and Consumer
        Commission (henceforth, the ‘ACCC’), “Digital Platforms Inquiry,” (2019), Final Report, 8–
        10 and 89–99.




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      incentive to change the present opt-in default regime. In an opt-out regime,
      the company, whether it be Google, Facebook or some other company, would
      be unable to legally use or sell the information it had collected from a user
      who had not opted-in. For a company to be able to use or sell information it
      had collected, the user would need to affirmatively give their consent to the




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      company by opting-in. The user may demand compensation and be offered
      compensation for selling their data to the company. The actual opt-in could
      occur when a price had been determined and money had changed hands.
         Ergo, a potentially vibrant market for personal information sold to com-
      panies, such as Facebook or Google, has been prevented from existing as a
      result of the practices pursued by Facebook and Google (and other compa-
      nies) concerning the provision of personal data in return for access to their
      respective services. This constitutes a market failure but it can be fixed by
      competition authorities in the United States, the EU and other jurisdictions.
      This issue goes beyond privacy concerns regarding the acquisition of personal
      information that are typically based on the “rights” of individuals rather than
      the failure of markets and competition law violations.
         The authors now briefly describe how the market for the sale of users’
      personal data may function once society departs from the arbitrarily-imposed
      zero pricing strategy and the present market failure.
         The authors expect that there is plenty of variation regarding both a com-
      pany’s willingness to pay for users’ personal information and users’ reservation
      price for the sale of their personal information and users’ willingness to pay
      for a company’s service. In a competitive world, the authors would expect to
      see the existence of two different markets. In the case of Google, one of the
      two markets would be for Internet search while the other would be for the
      acquisition of personal data by Google. Similarly, for Facebook, there would
      be two separate markets. One for Facebook’s social network service, and one
      for the acquisition of personal data by Facebook. When combining the total
      charges in the two markets, that is, the value collected by Google or Facebook
      in market one minus price paid by Google or Facebook in market two, the
      authors expect the following results: some users would end up paying a positive
      price overall, other users would be paid a positive price by the company to use
      that company’s services, and other users would break even overall.
         In addition, issues of market operation and allocative efficiency arise
      because of Google and Facebook’s dominance in their respective markets.
      Even in a “default opt-out” regime, because of their market dominance, these
      companies can overcharge users and/or not pay them a competitive price for
      the provision of their personal information.
         Our exposition uses Google as the dominant firm imposing the require-
      ment, but this narrative can be easily adapted to Facebook. A user type may
      be defined by a triplet of dollar amounts (x, y, z) with variation across users
      in x, y, and z. We define the amount $x as how much the user is willing to pay
      to use Google Internet search. That is, x is the private value/utility/consumer




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   surplus for Google search for the particular user and, in general, x > 0. We
   define $y as how much Google is willing to pay this particular user to induce
   him/her to voluntarily provide his personal data to Google (in the absence of
   the requirement). That is, $y is the value to Google of the personal data that
   the user provides to the company, and, in general, y > 0. We define $z as the




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   value to the user of giving his/her private information to Google and losing
   his/her privacy. We will assume that $z is positive, and we will count -z as a
   loss for the user if his/her private data is given to the company.
       We consider the following three regimes.
       First, the current requirement regime, “opt-in,” where the personal informa-
   tion of the user is automatically/readily available for use by the company, and
   the company requires personal data provision to provide Internet search.
       Second, the world with no requirement regime with competition in the personal
   data market. In this world, the default is opt-out, which means that the
   company is not allowed to use any information gathered from the user unless
   the user affirmatively consents, and there is no requirement to provide personal
   information to access the search service. In this second regime, we assume that
   Google competes with other firms in search and also faces competition in the
   personal search market. In the latter, all rivals are very well informed on the
   features of the user and can practice perfect price discrimination.
       In the third regime, the default is opt-out and Google is a perfectly price
   discriminating monopsonist in the acquisition of personal user information. It
   is a no requirement regime with a perfectly price discriminating monopsonist.
       The key difference between regime 1 and regimes 2 and 3 is the imposition
   of the requirement contract or lack thereof. The key difference between
   regimes 2 and 3 is in the degree of competition among buyers in the personal
   information market, with regime 2 assuming competition and regime 3
   assuming monopsony.
       We assume that, when a user does not use search and does not provide data,
   he/she receives a benchmark consumer surplus normalized at zero, CS = 0.
   Similarly, if there is no provision of personal data by the user, Google’s benefit
   is normalized at G = 0. We will measure changes in consumer surplus in the
   various actions and regime changes from these benchmarks. We assume that
   Google has zero marginal cost in search.26
       We first analyse the current requirement regime. We have Google as a dominant
   firm, default “opt-in,” and personal data provision is required to receive
   Internet search. In this regime, when the user accepts the requirement, he/she
   has consumer surplus
                                             CS = x–z,

   as the user receives $x consumer surplus from using Google’s search services
   and incurs a loss of personal privacy worth $z to him/her. Provided that the

   26
        The marginal cost of an additional user for Google and Facebook is very low (almost zero).
        Most of the costs are fixed.




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      Table 1. Present regime: default opt-in, Google provides search only if it collects personal data

      Parameter values          Actions                           Benefit to user        Benefit to Google

      x>z                       User accepts the requirement, CS = x − z > 0             G=y>0
                                uses search and provides




                                                                                                             Downloaded from https://academic.oup.com/jcle/advance-article/doi/10.1093/joclec/nhab007/6248466 by guest on 26 April 2021
                                personal information
      x<z                       User rejects the requirement, CS = 0                     G=0
                                does not use search and does
                                not provide personal information



      value from the use of Google search is higher than the user’s cost of loss of
      privacy, x > z, the user accepts the requirement of Internet search to him and
      personal data provision to Google. Google receives an incremental benefit G
      equal to $y, the value of the user’s data to Google, G = y. In summary, in
      the present requirement regime under default opt-in, when a user accepts the
      requirement, the benefits to the user and Google are:

                                   If x > z : CS = x–z > 0, G = y > 0.

         If the benefit to the user from search is smaller than the cost of losing
      privacy, x < z, the user does not accept the requirement, does not use Google
      search, does not provide data to Google, and stays at zero consumer surplus.
      Google receives zero benefit as well.

                                          If x < z : CS = 0, G = 0.

      The current requirement regime results are summarized in Table 1.
         We now change the default to opt-out and assume that data provision is not
      required to receive Google Internet search. In this new regime, the user uses
      Google Internet search, but he does not by default give the right to Google to
      use his personal data, even if Google collects it. Therefore, in the no requirement
      regime with competition in the personal data market, provision of personal data is
      a choice of the user. Google is able to charge a price p1 for Internet search and
      can pay price p2 to the user for personal data provision.
         Rivalry among Internet search companies drives the price in the Internet
      search market to zero, p1 = 0,27 resulting in

                                                  CS = x, G = 0

      from the participation in the Internet search market. Because the maximum
      benefit from personal data to Google is y, Google would be willing to pay the

      27
           If competition is less intense, price will be xk, 0 < k < 1, with similar results.




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   Table 2.No requirement regime with competition in the personal data market: default opt-out,
   personal data provision to Google not required to provide Internet search, competition in the
   personal data market

   Parameter     Actions                                    Benefit to user         Benefit to
   values                                                                           Google




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   y>z           User provides data to Google when          CS = x + y − z > 0      G=0
                 receiving price p2 = y
   y<z           When the user values his personal data     CS = x > 0              G=0
                 loss more than Google values the user’s
                 data, the user does not sell his/her
                 personal data



   user up to p2 = y for personal data acquisition, resulting in benefit

                                           G = y–p2.

   Once the market for personal information does not have the requirement,
   other firms will bid up to $y to acquire the personal information of a user.
   Competition among them will result in each of them offering the same price
   $y to the same user, resulting in zero benefit for each of them. Therefore, the
   user and Google benefits will be

                             CS = x–z + p2 = x–z + y, G = 0.

   As long as the value of personal information is higher for Google than the user,
   y > z, the user prefers to accept the Google offer since then CS = x − y + z > x.
      If it happens that y < z, the maximum offer a company can make to induce
   data provision, $y, will not be accepted by the user because it would result
   in lower user consumer surplus than when the user did not provide data,
   CS = x + y − z < x because the user then had consumer surplus CS = x when
   not providing data. Therefore, if y < z, the user accepts no offer, resulting in

                                        CS = x, G = 0.

      The results of the no requirement regime with competition in the personal
   data market are summarized in Table 2.
      In summary, the number of people who trade under no requirement with
   competition in the personal data market expands for some types because
   Google offers them a positive price to induce them to sell data, but there are
   also user types who participate under the requirement but do not participate
   without it. We explore this next.
      Table 3 summarizes the differences of the two regimes.




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      Table 3.Comparison of the status quo with no requirement and competition in personal data
      market
      Parameter        Regime                      Benefit to          Benefit to        Participation
      values                                       user                Google            in personal
                                                                                         data market,
                                                                                         in regimes 1, 2




                                                                                                                 Downloaded from https://academic.oup.com/jcle/advance-article/doi/10.1093/joclec/nhab007/6248466 by guest on 26 April 2021
      x>z              Default opt-in,             CS = x − z > 0      G=y>0             Yes, N/A
                       requirement, and user
                       accepts Google’s offer
      z>x              Default opt-in,             CS = 0              G=0               No, N/A
                       requirement, and user
                       rejects Google’s offer
      y>z              Default opt-out, no         CS = x + y − z > G = 0                N/A, Yes
                       requirement, user sells     x>0
                       info
      y<z              Default opt-out, no         CS = x              G=0               N/A, No
                       requirement, user does
                       not sell info
      x > z, y > z     Change of benefit by        1CS = y > 0         1G = −y < 0       Yes, Yes
                       the removal of the
                       requirement
      x>z>y            Change of benefit by        1CS = z > 0         1G = −y < 0       Yes, No
                       the removal of the
                       requirement
      y>z>x            Change of benefit by        1CS = x + y −       1G = 0            No, Yes
                       the removal of the          z>x>0
                       requirement
      z > x, z > y     Change of benefit by        1CS = x > 0         1G = 0            No, No
                       the removal of the
                       requirement



          In terms of participation in the provision of data to Google, all four
      possibilities arise: users who accepted the requirement and also sell personal
      information without the requirement, users who accepted the requirement and
      refuse to sell without the requirement, uses who rejected the requirement and
      sell in its absence, and users who rejected the requirement and do not sell in
      its absence. 28



      28
           To understand this better, we provide examples of the four possible cases. Consider a user
           with (x, y, z) = (2, 3, 1). Since y > z and x > z, the user participates under the requirement
           and also sells his/her data without the requirement. Similarly, with (3, 2, 1): y > z and x >
           z implying that the user participates under the requirement and also sells his/her data in its
           absence. Alternatively, consider a user with (x, y, z) = (1, 3, 2). This user would not participate
           under the requirement since x < z, but would sell his/her data in its absence since y > z. Also
           consider user (x, y, z) = (3, 1, 2). Since x > z, he/she would participate under the requirement,
           but would not sell their personal information in its absence since y < z. There are also those
           who would not participate under the requirement since x < z and also would not participate in
           its absence since y < z, for example (x, y, z) = (1, 2, 3) or (2, 1, 3).




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      Several observations are in order. First, users are better off, and Google
   is worse off when the requirement is removed and there is competition in the
   personal data market, 1CS > 0, 1G ≤ 0. Users are better off because they have
   more choice and they are not constrained by the Google-imposed requirement.
   Google is worse off because it can extract less surplus from the users without




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   the compulsion of the requirement.
      The second observation is that removing the requirement does not kill
   Google’s business or its business model. There is a wide range of parameters
   for which users sell their personal data under no requirement, including some
   who would not participate in the market under the requirement but are won
   over by the positive price Google offers in its absence. The users who cannot
   be won over by Google in the absence of the requirement are only those who
   value their privacy more than Google values their data (z > x, z > y). Moreover,
   among those users who value their privacy more than Google values their data
   (z > y), there are some who were participating under the requirement, but
   having been freed from the requirement do not sell their data at prices Google
   are willing to offer (x > z > y).
      The third observation is that the market for acquisition of personal data by
   Google works well and displays the typical features of a functioning economic
   market. For example, there is variation in the willingness of consumers to pay,
   which defines the demand curve. At any one specific price offered by Google
   (the buyer), some users will choose to participate in the market while others
   will refuse, as in most markets.
      We have shown the potential for a vibrant market in the provision of
   personal information. Such a market is prevented from developing by Google’s
   imposition of its requirement regarding the provision of personal data in return
   for access to Google’s Internet search service. It is a market failure that can
   be fixed by the relevant competition authorities in the US, the EU and other
   jurisdictions.29
      We reason that users remain worse off while Google remains better off so
   long as the requirement exists. Under the assumption that people can rationally
   determine whether it makes sense for them to provide their data, the absence
   of such requirement would lead to users being paid by the digital platforms
   for the harvesting of their data. Removing the requirement would improve
   consumer surplus as the price of data would be positive in its absence because
   users would get paid for selling their data to the platform. Typically, this would
   also lead to more data being collected.
      We now analyse a third regime where, after opt-out, Google remains a
   monopsonist in the market for personal data and then compare it with regimes
   1 and 2.
      In this third regime, Google would be able to charge one price for search
   and a second price for the provision of personal data. We assume that the price

   29
        The analysis for Facebook is very similar.




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      for search would not fully extract the benefit of search for the user, possibly
      because of competition between Google and its rival browsers. Thus, when
      the user uses Google Internet search but does not allow Google to use their
      personal data, the user has a benefit x − p1, where the price charged by Google
      for search only is p1 = kx, 0 ≤ k ≤ 1. k = 1 is the special case when Google is




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      able to extract the full benefit of the user from Internet search. It is likely that
      perfect price discrimination in the search market would not be possible, so it
      is reasonable to expect that k will be less than 1.
          In this case, the consumer surplus and Google’s benefit from the search
      market are represented by the following:


                             CS = (1-k) x > 0 if k < 1, G = kx.


      All users will buy search from Google as long as k < 1.
         Google offers payment p2 to users who are willing to sell their personal data
      to it. Then a user’s consumer surplus and Google’s benefit are:


                   CS = x–z–p1 + p2 = x (1-k) –z + p2, G = y + kx–p2,


      as he/she benefits from the Internet service by $x, loses $z for losing privacy,
      pays p1 = kx for search and receives p2 as monetary compensation from
      Google for selling his/her personal data. Google receives the personal data,
      which it values at y, charges p1 = kx for search and pays p2 to the user for
      providing that data. Therefore, the benefit to Google is G = y + kx – p2.
          If y > z, that is, if the value of the user’s personal data to Google is higher
      than the cost to the user of losing their privacy, Google can offer up to $y and
      be better off than the situation in which no data is provided. Because Google
      is the dominant firm and can know the user so well that it can practice perfect
      price discrimination in the market for the provision of personal data, it will
      offer the lowest possible amount of money that will entice the user to provide
      their data, by rendering their consumer surplus slightly higher than CS = x (1 –
       k), which is the level of consumer surplus when no data is provided. Therefore,
      Google will offer to the user, p2 = z, to buy their data. It is represented by:


                  CS = x (1-k) –z + z = x (1–k) > 0, G = y + kx–z > 0.


      Note that Google’s payment for personal data as a monopsonist here, p2 = z,
      is smaller than the amount it pays p2 = y when it faces competition in the
      personal data market in regime 2.
         For users with y < z, the maximum offer Google can make to induce data
      provision, $y, will not be accepted by the user because it would result in lower




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   user consumer surplus than when the user does not provide data:

                                 CS = x (1–k) –z + y < x (1–k) .

   Therefore, when y < z, the user does not provide data and the user’s consumer




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   surplus and Google benefit are

                                       CS = x (1–k) , G = xk.

   The results of the no requirement regime with Google monopsonist are
   summarized in Table 4a.
      Table 4b compares the changes in the user’s and Google’s benefit across
   regimes 1 and 3.
      Table 5 shows that competition in the personal data market will make users
   better off and Google worse off in comparison to Google being a monopsonist
   in the personal data market. It is as expected and serves to underline the
   fact that removing the opt-in and zero price requirement in the personal data
   market is not sufficient to restore the but for world.
      The above analysis shows the need for strict remedies that would restore
   competition in the marketplace and, therefore, goes beyond the removal of the
   requirement.


   B. Natural Monopoly or Natural Oligopoly and Market
        Failure in Privacy
   Contrary to the repeated statements of some commentators,30 Internet search
   exhibits network effects because the higher the number of search queries,
   the greater the quality of the search results provided by the particular search
   engine.31 Thus, the more Google’s market share in search increases, the
   greater the level of quality and value to a user of Google’s search. It is a
   direct evidence of network effects: the higher the market share of the service,
   the greater value of the service to the user. Also, when the provision of data
   is required in return for access to search services, the more users you have,
   the more data you collect and, therefore, the company can sell more valuable
   advertisements.


   30
      See Varian, H. 2017. “Use and Abuse of Network Effects,” <https://www.ssrn.com/abstra
      ct=3215488> Tucker, C. “Why Network Effects Matter Less Than They Used To,” (22 June
      2018) Harvard Business Review, available at https://hbr.org/2018/06/why-network-effects-matte
      r-less-than-they-used-to
   31
      This is particularly true for idiosyncratic queries (henceforth, ‘tail queries’). For a discussion,
      see I. Graef, EU Competition Law, Data Protection and Online Platforms—Data as Essential Facility
      (Kluwer, 2016), Section 2.4.2.




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                                                                                                                                                                                                                                                                        Downloaded from https://academic.oup.com/jcle/advance-article/doi/10.1093/joclec/nhab007/6248466 by guest on 26 April 202
                                                                                  Case 3:20-cv-08570-JD Document 696-5 Filed 11/03/23 Page 19 of 84




                                                                                                                                                                                                                               18
                                                                  Table 4.a. No requirement, default opt-out, personal data provision to Google not required to provide Google search, Google perfectly price discriminating
                                                                  monopsonist in personal data market
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                                                                  Parameter      Actions                                               Benefit to user                                         Benefit to Google




                                                                                                                                                                                                                               Journal of Competition Law & Economics
                                                                  values

                                                                  y>z            User provides data at price p = z                     CS = x (1 − k) > 0                                      G = y − z + kx > 0
                                                                  y<z            When the user values his personal data loss more      CS = x(1 − k) > 0                                       G = xk
                                                                                 than Google values the user’s data, the user does
                                                                                 not sell his/her personal data

                                                                  Table 4b. Comparison of the status quo (opt-in) to default opt-out and Google monopsonist of personal data

                                                                  Parameter      Regime                                                Benefit to user             Benefit to Google           Participation in personal
                                                                  values                                                                                                                       data market, in regimes 1, 3

                                                                  x>z            Default opt-in, requirement, and user accepts         CS = x − z > 0              G=y>0                       Yes, N/A
                                                                  z>x            Default opt-in, requirement, and user rejects         CS = 0                      G=0                         No, N/A
                                                                  y>z            Default opt-out, no requirement, user sells info      CS = x (1 − k) > 0.         G = y − z + xk > kx.        N/A, Yes
                                                                                                                                       When k = 1, CS = 0          When k = 1,
                                                                                                                                                                   G=y−z+x>x
                                                                  y<z            Default opt-out, no requirement, user does not sell   CS = x (1 − k) > 0.         G = xk. When k = 1,         N/A, No
                                                                                 info                                                  When k = 1, CS = 0          G=x
                                                                  x > z, y > z   Change of benefit by the removal of the               1CS = z − kx. When          1G = –z + xk < 0.           Yes, Yes
                                                                                 requirement                                           k = 1, 1CS = z − x < 0      When k = 1,
                                                                                                                                                                   1G = –z + x > 0
                                                                  x>z>y          Change of benefit by the removal of the               1CS = z – kx < 0.           1G = –y + xk. When          Yes, No
                                                                                 requirement                                           When k =1, 1CS = z –        k = 1, 1G = x − y > 0
                                                                                                                                       x<0
                                                                  y>z>x          Change of benefit by the removal of the               1CS = x (1 − k). When       1G = y − z + kx. When       No, Yes
                                                                                 requirement                                           k = 1 1CS = 0               k = 1, 1G = x − z < 0
                                                                  z > x, z > y   Change of benefit by the removal of the               1CS = x (1 − k). When       1G = xk. When k = 1,        No, No
                                                                                 requirement                                           k = 1 1CS = 0               1G = x > 0
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   Table 5.Comparison of Google monopsonist in personal data market (regime 3) to Google in
   competitive personal data market (regime 2)

   Parameter Regime                          Benefit to user            Benefit to Google
   values

   y>z         Default opt-out, no             CS = x (1 − k) > 0.      G = y − z + xk > kx.




                                                                                                   Downloaded from https://academic.oup.com/jcle/advance-article/doi/10.1093/joclec/nhab007/6248466 by guest on 26 April 2021
               requirement, user sells info, G When k = 1, CS = 0       When k = 1,
               monopsonist (regime 3)                                   G=y−z+x>x
   y>z         Default opt-out, no             CS = x + y − z > x > 0   G=0
               requirement, user sells info,
               personal data market
               competitive (regime 2)
   y<z         Default opt-out, no             CS = x (1 – k) > 0.      G = xk. When k = 1,
               requirement, user does not sell When k = 1, CS = 0       G=x
               info, G monopsonist (regime
               3)
   y<z         Default opt-out, no             CS = x                   G=0
               requirement, user does not sell
               info personal data market
               competitive (regime 2)
   y>z         Change of benefit from 3 to 2 1CS = x + y − z − x        1G = –(y –
               (2 minus 3)                     (1 − k) = y –            z + xk) < − xk < 0
                                                z + xk > kx > 0
   y<z         Change of benefit from 3 to 2 1CS = x − x                1G = –kx < 0
               (2 minus 3)                     (1 – k) = kx > 0




      Google’s requirement concerning the provision of personal data to receive
   Internet search implies that as more people use Google search, Google will
   receive more personal data. Google uses its large market share in the market for
   search in combination with the imposition of its personal data requirement to
   increase its market share in data and, therefore, enhance its dominant position.
   As explained in Section 2.1, the requirement increases the ability of Google
   to refine its categorization of a person, which, in turn, serves to increase the
   amount of money that advertisers are willing to pay for such. This serves to
   increase its profitability.
      Data collected directly from the individual user, from the location of the
   individual, from Google’s virtual assistant, Alexa, publicly available data (for
   example, Census data) and data bought from data brokers are all combined
   by Google to refine the data that is sold directly to advertisers and/or other
   intermediaries. Google would not have paid for such data had it not been
   useful—the usefulness of this data is the complementarity it offers to make
   better predictions.
      Size and high market share matters for advertising-based platforms, such as
   Google and Facebook. Firstly, the addition of a user to Google contributes to
   direct network effect because each addition will improve the quality of search
   results provided to every Google user (equally, the addition of a Facebook
   user will improve the Facebook experience enjoyed by all users). Additionally,




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      the requirement for the provision of personal data in return for receiving its
      Internet service serves to improve the accuracy of the data that Google and
      Facebook sell to advertisers and, thereby, helps increase the market share of
      each of these companies in the advertising market. Thus, the more users a
      company has using their product or services (for example, Internet search),




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      the more the advertisers it will attract on the other side and the more valuable
      it is for the advertisers to use and, therefore, pay money to said company.
          Traditionally “network effects” are defined as pertaining to the demand
      side of the market, whereas “increasing returns of scale” is a term reserved
      for decreasing unit cost while maintaining a consistent level of quality in
      production. In this context, both the scale of operation and the quality level
      of the company in the advertising market increase when data is provided
      by a greater number of users. More users who are providing their personal
      data under the requirement seek to reap the direct network effects in search.
      The requirement implies that the higher consumption levels of Google’s
      Internet search have led to higher quality results in the advertising market.
      The requirement transforms a purely demand-side network effect to a supply-
      side effect.
          With regard to advertisers and/or data brokers, Google may have monop-
      sony power on the brokers side (in comparison to Microsoft), therefore, they
      can buy data more cheaply, which serves to reinforce its monopsony and
      monopoly with regard to advertisers.
          In the previous section, the authors showed that users are worse off
      while Google is better off under the requirement. Assuming that people can
      rationally determine whether it makes sense for them to provide their data, a
      competitive market concerning the collection of data from users would lead to
      users being paid by digital platforms for the harvesting of their data. Opt-out,
      as opposed to default opt-in, would improve consumer surplus as the price of
      data would be positive and users would get paid for selling their data to the
      platform. This would likely lead to more data being available and collected.
          There are also issues with regard to the assumption that users are able to
      rationally determine what is in their long-term interest, as the long-term effects
      of sharing data are (currently) not easy to assess. Users may be inclined to share
      data, particularly if they initially receive payment for it. However, they may
      subsequently regret selling such had they considered their long-term interests.
      The above could lay the foundations for a behavioural economics critique to
      the idea that consumers should be paid for their data and an argument that
      monopsony might be considered to be efficient from the perspective of social
      welfare.
          Thus, an argument could be made for encouraging users to opt out rather
      than to opt for the receipt of rewards and/or positive prices for their data if
      they cannot determine the long-term costs of sharing their own data. Another
      option would be to nationalize the dominant digital platform, currently a pri-
      vate monopoly, and replace it with a ‘public interest’-motivated monopsonist.




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   This would limit the harvesting of data to that which is absolutely necessary
   for the improvement of the service to the user and, as such, the full consumer
   surplus would go to the user. However, in such a scenario, innovation could
   end up being reduced but this could be avoided if the platform were obliged
   to share its data in situations in which such would lead to complementary




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   firms developing socially useful innovations. If this were to happen, the social
   value of the data would outweigh the social cost of the loss of privacy to the
   individual user.
      There is always the risk that determining that which is “socially useful”
   would be sub-optimal if it were done by a regulator or a state monopolist in
   light of the discretion offered to these bodies. This, in turn, could result in
   the classic criticism to the administered economy—the risk of capture and
   inefficiency. Hence, some other system for determining that which is socially
   useful may be preferable. Some authors have put forward “quadratic voting”
   as the procedure for overcoming the tyranny of the disinterested majority
   (with the majority in this scenario being those citizens who are indifferent
   to the protection of their privacy) and provide proportional weight to those
   people whose interests in a social outcome are stronger (those citizens who
   greatly value privacy).32 Quadratic voting is not subject to the criticisms to
   the voting theory of welfare for collective decision-making to determine the
   “will of the people” because, unlike Arrow in his impossibility theorem33 , it
   does not assume ordinal preferences.
      One may also refer to historical patterns in the relevant industry to assess the
   origins and the way in which rising concentration and dominant conduct and
   business strategies have harmed privacy, rather than competition on the merits,
   or may have reinforced the firm’s dominant position by erecting important
   barriers to entry through the control of important amounts of data. With
   regard to the social media industry, Srinivasan reasons that during the time
   the social network market was highly competitive, with several hundreds of
   social networks available to users in 2007, including competing offerings
   from Google, Yahoo and MySpace, privacy was an important parameter of
   competition.34 However, the landscape has changed significantly in recent
   years, predominately because of the business strategy of Facebook.
      Srinivasan explains how Facebook initially entered the social media market
   in 2007, putting forward its “superior” privacy-centred offer, which was linked
   to the fact that it was a “closed communication network” that required users
   to join and disclose their information before being able to have access to
   the network, than existing dominant social networks at the time, such as
   MySpace. During this more competitive period, Facebook provided users

   32
      Posner, E., Weyl, E. 2014. “Voting Squared: Quadratic Voting in Democratic Politics,” Coase-
      Sandor Institute for Law and Economics Working Paper No. 657.
   33
      K. Arrow, Social Choice and Individual Values (Wiley, 1963, First Edition, 1951).
   34
      Srinivasan, D. 2019. “The Antitrust Case Against Facebook,” Berkeley Business Law Journal,
      16(1): 39.




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      with the ability to opt-out of having their information shared with third-
      parties, including advertisers and/or marketers and promised them it would
      remove their information on demand.35 Any effort by Facebook to track users’
      behaviour, through its advertising product, Beacon, or subsequently through
      other social plug-in products, were unsuccessful. It led to a backlash from




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      users. Consequently, Facebook had to withdraw its product, the Beacon, and
      change its privacy policies. One change involved the inclusion of a commitment
      to allow users to vote on future (contractual) changes that would impact upon
      user privacy, although the way this voting was organized raised doubts about its
      effectiveness.36 However, after a decade of “false statements” and “misleading
      conduct” and reneging on previous promises not to track users, Facebook has
      been able to leverage the superior information it has over its users to sell more
      advertising, with the result that the market for digital advertising has been
      transformed to a duopoly that is dominated by Facebook and Google with the
      two companies accounting for 90%-99% of year-on-year growth in the U.S.
      digital advertising industry.37
         Facebook also secured the co-operation of independent publishers and
      other businesses participating in its ecosystem to require all their businesses to
      “change their own privacy policies to extract, from their own users, the consent
      to have Facebook track them for commercial purposes.”38 More importantly,
      Srinivasan claims that Facebook was able to change its privacy policy towards
      more active user tracking, once it had beaten competing social networks
      with rivals, such as Snapchat and Orkut, being marginalized or excluded
      from the market altogether. Since then, particularly since 2014, Facebook has
      consolidated its dominant position on the social media market. Hence, the
      introduction of privacy-reducing policies were only possible because users had
      no other choice of social network to which they could switch and were, thus,
      the direct result of Facebook’s dominance on the social media market.


      C. Lock in and Hold up
      Research focused on explaining the reasons why users would switch to a
      different social network from the one they currently used shows that users do
      not switch among social media providers on the basis of privacy reasons, rather
      such decisions are motivated by a number of different factors.39 However, it
      should be noted that this research dates from the period before the change
      of the dominant business model in social media in 2014, with Facebook

      35
         Ibid, 55–61.
      36
         Ibid, 69.
      37
         Ibid, 43.
      38
         Ibid, 73.
      39
         Zengyan, C., Yinping, Y., Lim, J. 2009. “Cyber Migration: An Empirical Investigation on
         Factors that Affect Users’ Switch Intentions in Social Networking Sites,” Proceedings of the
         42nd Hawaii International Conference on System Sciences.




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   moving to its systematic monitoring and recording of users’ activity, as well
   as the backlash and increasing awareness among users regarding the issues
   of privacy and personal data protection. Users may be less willing to share
   information on social media and are increasingly taking action to monitor their
   browser data and the information that they share.40 Ad blockers have also




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   gained in popularity. However, this has neither greatly affected the number
   of users switching to more privacy-centred social media nor has it led to the
   development of “pay-for-privacy” business models in which users pay for the
   service with money rather than with their data.41 Although not centred on
   social media as such, the research also shows that user inertia determined
   by “cognitive, affective and subconscious antecedents” may also operate as
   a mooring factor and affect the switching behaviour of consumers.42 Identity
   network effects may also have an impact upon the decision of users to switch,
   particularly if most of their friends are active on the platform to which they
   want to switch. If the user decides to switch to a rival social media platform
   this will result in the creation of sunk costs.43 Such path dependency and
   the switching costs that arise the buyer side will likely contribute to the
   development of highly concentrated market structures. Single-homing is also
   quite prevalent in light of the development of “path dependent consumption.”
   Users are increasingly developing consumption patterns that they are reticent
   to change and each additional consumption of the same product reinforces this
   reticence and can result in a relatively strong loyalty effect with the user being
   emotionally and/or subconsciously locked into a specific product or digital
   platform, even if the choice is not optimal, in terms of quality or the amount
   of personal data harvested.44


   D. Information Asymmetries and Information-Related Failures
   Under a scenario involving complete information, the user knows their val-
   uation, $x, of Google’s and Facebook’s services. But is this really the current
   case? At present, the user does not pay for access to Google or Facebook. They

   40
      Droesch, B. “How Social Media Users Have – And Have Not – Responded to Privacy Concerns,
      (emarketer.com, 29 April 2019), <https://www.emarketer.com/content/how-social-media-use
      rs-have-and-have-not-responded-to-privacy-concerns>.
   41
      Ibid.
   42
      Sun, Y., Liu, D., Chen, S., Wu, X., Shen, X.-L., Zhang, X. 2017. “Understanding Users’
      Switching Behaviour of Mobile Instant Messaging Applications: An Empirical Study from the
      Perspective of Push-Pull-Mooring Framework, Computers in Human Behaviour, 75: 727.
   43
      Mahmoodi, J., Čurdová, J., Henking, C., Kunz, M., Matić, K., Mohr, P., Vovko, M. 2018.
      “Internet Users’ Valuation of Enhanced Data Protection on Social Media: Which Aspects of
      Privacy are Worth the Most?,” Front Pscychol, 9: 1516.
   44
      Lee, S. 2019. “Economic Dependence on Online Intermediary Platforms and Its Exploitative
      Abuse,” Dissertation of University of Amsterdam Law Faculty Citing Siray, S. 2016. “Combin-
      ing Marketing Theory and Path Dependence,” (Freie Universität Berlin), and Schulte, B. 2015.
      Staying the Consumption Course—Exploring the Individual Lock-In Process in Service Relationships
      (Springer).




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      are “free” products in terms of monetary payment. However, the user pays,
      that is, a cost is incurred, in providing personal data to Google or Facebook
      for free. This may reduce the individual user’s privacy or may enable the
      digital platform or whoever else is controlling this data to exploit the user
      in the future through personalized pricing and so forth. Hence, there is an




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      issue of transparency regarding the full costs for the user of engaging with
      Facebook. The user only considers the current monetary costs, which are
      zero; the user does not take into account future costs. Behavioural economic
      literature on discounting, specifically the “silver lining” effect45 may explain
      why it is necessary to seriously consider behavioural biases.
          The model by the authors also takes into consideration the cost of losing
      privacy. The user is willing to pay for Facebook, $x, but the “take-it-or leave-it”
      nature of Facebook’s contract implies that the user will lose privacy at the cost
      of $z. Therefore, the net willingness of a user to pay under the present default
      opt-in conditions is represented by $x-$z. If the default was opt-out, the user
      would be willing to pay $x. In a behavioural set-up, the user may underestimate
      the costs of the loss of privacy.
          Users do not know how much their data is valued by advertisers and/or
      Facebook as they have no access to the information regarding its value in the
      context of Facebook’s transactions with advertisers and infomediaries on the
      other side of the platform.
          Digital platforms reason that data harvesting and network effects also
      provide value to the users. However, the exact value of the network effects
      from which users (allegedly) benefit is not clear. Yet under the assumption
      that the data is valuable because of network effects, it is difficult to determine
      the value generated from data contributed by any one specific user. Regardless,
      the higher the number of users, the better the service and their individual data
      may enable the platform to provide more relevant responses to queries and
      improve the quality of search for tail queries. However, the issue is that if the
      platform collects more data than is needed for improving the service or quality
      of the platform this this excess harvesting of data can create a “behavioural
      surplus” that will in and of itself be highly valued in behavioural futures
      markets46 .
          The lack of competition between networks results in a lack of informational
      transparency regarding the value of the user to the relevant digital platform,
      such as Facebook. As such, users are prevented from being able to negotiate a
      bargain for a “better” deal. The result is that there is no surplus left for users as
      it affects the ability of users to take collective action against the monopolist, for
      instance, by switching to a rival network. In any case, the choice may be quite

      45
         The users are attracted by a small gain—zero price to use Facebook—and dissociate that from
         a large loss – been exploited in the future through perfect price discrimination.
      46
         See in more detail, Zuboff, S. 2018. The Age of Surveillance Capitalism (Public Affairs).




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   limited, in view of the consolidation of the sector and the dominance of the
   advertisement-based model. Other issues are the broader social costs incurred
   as a result of the lack of individual users’ knowledge regarding the harvesting of
   data by Facebook or Google and potential costs to democracy and pluralism.
   This last issue may be an important concern for both data protection and




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   competition law in some jurisdictions.


   E. Missing Markets

   Previous examples of market failure assume that privacy markets do exist
   but operate inefficiently. However, one may decide that the problem is more
   fundamental than that—here there are no markets whatsoever. Contrary to the
   assumptions of the first fundamental theorem of welfare economics, there are
   no markets in which data and/or attention are demanded by companies and
   supplied by users, and this being traded at publicly known prices. Rather, data
   is harvested by search engines for free as users are not compensated for the
   data they contribute except for the free use of the search engine, for which,
   in any case, the marginal costs are close to zero. Furthermore, users cannot
   determine the value of their data to the digital platform as they do not have
   access to the information regarding the transactions on the other side of the
   platform between the company and the advertisers. At the same time though,
   users may benefit from the harvesting and use of their personal data if they are
   offered a more personalized service and targeted advertising, which may be
   positive if one adheres to the information view of advertising. The price paid by
   advertisers to Google or Facebook does not provide any further information as
   these transactions are not about users’ personal raw data but about inferences
   made on the basis of their data.
      Due to the lack of property rights on personal data, it appears that the
   digital economy is characterized by “missing markets.”47 Legal regimes may
   choose to protect entitlements to privacy or data by granting property rights
   by espousing liability rules and regulations, or by imposing a combination of
   the two. If the situation is subject to liability rules, the violation of a specific
   entitlement to privacy without agreement should result in compensation being
   paid to the victim for the damages incurred. Property rights provide their
   holder with the right to legally bar, by injunctive relief, anyone that violates
   or is likely to violate their entitlement without their consent. The underlying
   concept is that any property violation is severely punished by injunctive relief,
   which in and of itself is costly, and, thus, serves to deter the violation of any
   entitlement in the first place and therefore avoid future harm. Liability rules
   are more retrospective—they seek to provide compensation through damages
   for any harm incurred. Property rules facilitate the possibility of bargaining

   47
        Hodgson, G. 2019. “How Mythical Markets Mislead Analysis: An Institutionalist Critique of
        Market Universalism,” Socio-Economic Review, mwy049, https://doi.org/10.1093/ser/mwy049.




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      and they are always be more favourable to the injuree, that is, the person
      whose entitlement has been violated, whereas a liability rule will always be
      more favourable to the injurer.
         Nevertheless, the allocation of property rights should not impose an exter-
      nality. The imposition of an externality may occur if the provision of property




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      rights could, for instance, lead to some users foregoing privacy in favour of
      instant gratification yet there may be devastating long-term consequences, not
      only for them personally, but also for society overall. One may envisage the
      social costs engendered by an entity that has induced users to freely provide
      or sell their personal data to manipulate them more easily. Levels of privacy
      protection would be reduced and, thus, greater surplus could be extracted
      more easily from users. As mentioned above, the lack of property rights and
      the consequent missing markets issue may prevent parties from negotiating a
      transaction that reflects Pareto efficiency. If these social costs were significant,
      there is also an argument for banning such transactions and, thereby, making
      personal data inalienable. In the authors’ view, the level to which the digital
      economy has developed renders this a non-pragmatic option to follow at this
      stage.
         The lack of a proper regime concerning property rights over personal data
      has important implications on the ability of users to protect their interests
      and to capture a part of the surplus value to which they contribute. Digital
      platforms have been able to rely on the relatively large domains of intellectual
      property law and contract law to impose, almost unilaterally, conditions on
      the users of their products. In practice, digital platforms have been able to
      effectively limit users’ autonomy and freedom to use their tangible property
      as they wish. The lack of a proper property regime for personal data has
      enabled digital platforms to harvest this valuable raw material by merely relying
      on users’ consent to their terms and conditions (henceforth, “Ts&Cs”); the
      interest of users lack protection. The possession of this data does not rely
      on a well-defined property regime (hence the distinction between possession
      and property rights) but on these digital platforms controlling important
      bottlenecks, specifically the way in which users can access the Internet and
      other various services. The GDPR does not establish a proper property rights
      regime for personal data. It neither grants users formal (delimited) legal rights
      that have been sanctioned by, and would be enforced by, a public authority,
      nor does it establish a system to adjudicate disputes regarding the ownership of
      these rights. Having possession of the item (for example, data), in the sense of
      physically controlling it, constitutes just one of the bundle of rights provided
      by property and ownership, with other expressions of the right to property
      being the ability to use and manage it, the right to receive income from it, the
      possibility to use it as capital for the production of income and the possibility
      to use it as security to borrow against it. It is still not possible for personal
      data.




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   III. Exploitative and Exclusionary Conduct Involving Privacy-Related Theorie
        s of Harm: Ex Ante and Ex Post Enforcement
   The development of the digital economy resulted in competition authorities
   showing an increased level of interest in relation to privacy-related theories
   of harm, both in ex ante and ex post enforcement. This does not constitute




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   an expansion of competition law field to that of other areas of law, such as
   data protection,48 for the simple reason that the harm (market failure) the
   enforcement of competition law provisions aim to tackle is not the same as that
   data protection legislation gets to grips with, as the latter centres in a rights-
   based approach focusing on consent and does not aim to directly address the
   underlying market failures. Hence, one should keep in mind that competition
   law may go beyond the field covered by data protection legislation.49 The
   authors explore the various theories submitted and the limits of existing legal
   tools when it comes to addressing these new theories of harm.


   A. Ex Ante Enforcement: Data Mergers and Privacy
   It is generally accepted that merger control should take into account the fact
   that access to personal data may constitute an important source of market
   power.50 The recognition of privacy-reducing theories of harm, however, is a
   more complex issue particularly given the ex ante nature of merger control
   and the possibility of addressing privacy restrictions of competition ex post
   through the enforcement of data protection laws. The possibility that a merger
   may be considered anti-competitive because it leads to a substantial lessening
   of competition in relation to privacy, or more broadly may have negative
   consumer welfare effects because of a restriction on the level of privacy in
   the market, was explored in recent merger decisions in both the EU and the
   United States.
       Digital platforms continuously add data on users and institutions. Some of
   the data they collect directly from the user, for example, in the default opt-in
   regime that we have analysed earlier. Other data they collect or buy from third
   parties, such as the data that Facebook collects from third party web sites if a
   user has a Facebook identifier and visits the third party site. Digital platforms

   48
      For such a position see, Monti, G., “Attention Intermediaries: Regulatory Options and their
      Institutional Implications”, (7 July 2020). TILEC Discussion Paper No. DP2020-018, Available
      at SSRN: https://ssrn.com/abstract=3646264 , at 12.
   49
      See, Lianos, I. 2018. “Polycentric Competition Law,” Current Legal Problems, 71(1):
      161, 212; Deutscher, E. 2017. “How to Measure Privacy- Related Consumer Harm
      in Merger Analysis? A Critical Reassessment of the EU Commission’s Merger Control
      in Data-Driven Markets” Faculty of Law, Stockholm University Research Paper No 40
      <https://ssrn.com/abstract=3075200> , 33–34 (noting that “firms can lower the level of privacy
      protection, and thus raise the privacy-price consumers have to pay for their services without
      necessarily violating data protection legislation”).
   50
      Stucke, M., Grunes, A. Big Data and Competition Policy (Oxford University Press, 2016),
      Chapters 6–8.




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      additionally collect data from every aspect of life, including data from medical
      doctors and hospitals and from credit card companies. Recently, Google
      acquired Fitbit, a company that has data on exercise habits of users, thus
      providing it access to biometric data. Google can thus have access, not only
      to much more data but also data on different dimensions of one’s life (“multi-




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      modality” of data),51 thus greatly enhancing the capacity of the platform to
      predict behaviour. Hence, Google is collecting data in different dimensions,
      creating economies of scope in data and significant learning effects, reinforcing
      the entrenched dominant position of the platform, both within its ecosystem,
      and outside. The merger has been challenged by the European Commission.52
         As a starting point, the authors note that both the United States and the
      EU merger guidelines explicitly recognize non-price factors of competition.53
      In both jurisdictions, such factors may often be considered at the initial stage
      of market definition, rather than at the later stage of determining the relevant
      theories of harm. However, as a recent report of the Organisation of Economic
      Co-operation and Development (henceforth, “OECD”) notes, “these market
      definition approaches have not been explicitly applied in any merger case to
      date.”54
         The authors here focus on the second issue as the first is relatively uncon-
      troversial.55 With regard to privacy concerns, the dominant view is to con-
      sider this as a parameter of competition in relation to quality. In this con-
      text it can be integrated into the competition assessment under a broadly
      defined “consumer welfare” standard.56 However, this approach may be

      51
         Caffarra, C., Valletti, T. Google/Fitbit review: Privacy IS a competition issue, Voxeu (4 March
         2020), available at https://voxeu.org/content/googlefitbit-review-privacy-competition-issue.
      52
         See, https://ec.europa.eu/commission/presscorner/detail/en/ip_20_1446 .
      53
         For the US Guidelines, see the U.S. Department of Justice (henceforth, ‘DOJ’) and the Federal
         Trade Commission (henceforth, ‘FTC’), Horizontal Merger Guidelines, (2010), §4.0, which
         note that “enhanced market power can also be manifested in non-price terms and conditions
         that adversely affect customers, including reduced product quality, reduced product variety,
         reduced service, or diminished innovation. Such non-price effects may coexist with price effects,
         or can arise in their absence . . . when agencies investigate whether a merger may lead to a
         substantial lessening of non-price competition, they employ an approach analogous to that used
         to evaluate price competition.” For the EU, see the Guidelines on the assessment of horizontal
         mergers under the Council Regulation on the control of concentrations between undertakings,
         [2004] OJ C 31/5, paras 8 (“Effective competition brings benefits to consumers, such as low
         prices, high quality products, a wide selection of goods and services, and innovation “) & 38.
      54
         OECD. 2018. “Considering Non-Price Effects in Merger Control,” Background Note by the
         Secretariat, DAF/COMP(2018)2, Section 112.
      55
         See, for instance, the US submission to the OECD’s Workshop on “Non-Price Effects of
         Mergers,” Section 9, which notes that “evidence of the extent of direct competition between
         the products sold by the merger parties on non-price factors is often the same evidence relied
         on to determine customer substitution relevant to the hypothetical monopolist test.”
      56
         For a discussion, see OECD, “The Role and Measurement of Quality in Competition Analysis,”
         (2013), DAF/COMP(2013)17. The existence of a trade-off between these various parameters
         of competition protected by the consumer welfare standard is an open question, particularly
         as “the superficial consensus” on consumer welfare “masks a deep disagreement about what
         ‘consumer welfare’ means and the best policies to promote it”: G. Werden, “Consumer Welfare




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   subject to criticism,57 and it should be noted that it is not the only available
   option.58
       A case often mentioned with regard to the integration of privacy concerns
   in EU competition law is the Facebook/WhatsApp merger, in which a possible
   theory of harm explored by the EU Commission was that “the merged entity




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   could start collecting data from WhatsApp users with a view to improving the
   accuracy of the targeted ads served on Facebook’s social networking platform
   to WhatsApp users that are also Facebook users,”59 thereby, strengthening
   Facebook’s position in the provision of online advertising services as a result
   of the increased amount of data that would come under Facebook’s control.60
       However, the Commission found no concern with regard to the strength-
   ening of Facebook’s position in the online advertising service market as there
   was a sufficient number of alternative providers of online advertising services
   and a significant number of market participants that also collected user data
   alongside Facebook, not least Google. This competition signified (to the
   Commission) that a substantial and sufficient amount of Internet user data
   that would be valuable for the purposes of advertising remained outside of
   Facebook’s exclusive control.61 However, the Commission failed to give suf-
   ficient weight to the possibility that the data collected by DoubleClick, which
   contained information about a rich subset of the web browsing behaviour
   of DoubleClick’s users across all publishers’ websites engaged in targeted
   advertising, could facilitate online price discrimination and, thereby, enhance
   the power of the entity to exploit consumers. The Commission accepted
   DoubleClick’s justification that it collected behavioural data from its users
   only for legitimate purposes, such as improving the overall experience offered
   to advertisers. Another jurisdiction was the fact that this aggregate data would
   have been of limited use because of the confidentiality clauses included in
   the contractual arrangements with both advertisers and publishers and the
   possibility of DoubleClick’s customers quickly switching to alternative ad serv-
   ing providers if DoubleClick were to violate any confidentiality provisions.62
   The Commission unconditionally cleared Google’s acquisition of DoubleClick
   as it found no competition concerns on any of the relevant advertising-
   related markets. However, it also recognized that “it is not excluded that . . .
   the merged entity would be able to combine DoubleClick’s and Google’s
   data collections, e.g. users’ IP addresses, cookies IDs, connection times to


      and Competition Policy” in Competition Policy and the Economic Approach: Foundations and
      Limitations (edited by Drexl, J., Kerber, W., Podszun, R. , Edward Elgar, 2011), 15.
   57
      OECD, (55), Sections 113–19.
   58
      For a discussion, see Lianos, I. 2018. “Polycentric Competition Law,” Current Legal Problems,
      71(1): 161.
   59
      Facebook/Whatsapp (Case No COMP/M.7217) C(2014) 7239 final, [180].
   60
      Ibid, [184].
   61
      Ibid, [189].
   62
      Ibid, [277].




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      correctly match records from both databases. Such combination could result in
      individual users’ search histories being linked to the same users’ past surfing
      behaviour on the internet ( . . . ) the merged entity may know that the same
      user has searched for terms A, B and C and visited pages X, Y, and Z in the
      past week. Such information could potentially be used to better target ads to




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      users.”63
         However, the Commission did not focus on privacy concerns. It dismissed
      the possibility that the acquisition of WhatsApp by Facebook would enable
      Facebook to use WhatsApp users’ data for the better targeting of Facebook
      ads—the Commission doubted whether Facebook would have both the ability
      and incentive to engage in such conduct post-transaction. Concerns as to
      the impact of the merger on privacy were also side-lined. According to the
      Commission, “any privacy-related concerns flowing from the increased con-
      centration of data under the control of Facebook as a result of the transaction
      do not fall within the scope of the EU competition law rules but within the
      scope of the EU’s data protection rules.”64 The Commission focused solely
      on the exclusionary/anti-competitive foreclosure-related concerns. It left any
      possible exploitation concerns, in terms of the potential impact of the merger
      on users’ privacy, to be dealt by the EU’s data protection laws.
         In August 2016, WhatsApp updated its privacy policy to allow for the
      phone numbers of WhatsApp users to be linked with the identity of Facebook
      users. Hence, the statement made at the time of the assessment of the merger
      proved to be untrue. Indeed, at the time the merger transaction was assessed,
      Facebook had offered assurances to the Commission, in the form of both a
      notification and a reply to a request for information, that it would be unable to
      establish reliable automated matching between the accounts of Facebook users
      and WhatsApp users. As a result of Facebook providing misleading informa-
      tion about the WhatsApp merger, the Commission imposed a e110 million
      fine on Facebook.65 It also found that, contrary to Facebook’s statements
      in the 2014 merger review process, the technical process of automatically
      matching Facebook and WhatsApp users’ identities already existed in 2014,
      and Facebook staff were or, at least, should have been aware of such.66
      However, this did not affect the Commission’s authorization of the merger as
      the clearance decision was based on a number of elements that went beyond
      automated user-matching.
         In Microsoft/LinkedIn,the Commission raised two types of concerns/theories
      of harms related to data combination.67 The first one was that the merged
      entity could integrate LinkedIn into Microsoft Office and, thus, combine,
      to the extent allowed by both contract and the applicable privacy laws, the

      63
         Ibid, [360].
      64
         Ibid, [164].
      65
         Facebook/WhatsApp, (Case COMP/M.8228), Commission Decision (2017).
      66
         Ibid, [86].
      67
         Microsoft/Linkedin, (Case COMP M.8124), Commission Decision (2016).




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   user databases of both LinkedIn and Microsoft, thereby giving Microsoft
   the potential opportunity to shut out its competitors from the customer
   relationship management market. Microsoft could deny its competitors access
   to the LinkedIn database, which would prevent them (the competitors)
   from developing advanced customer relationship management functionalities




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   through machine learning. However, the Commission was not convinced that
   access to the full LinkedIn database was essential to competing on the market
   and held that LinkedIn’s product was not a “must have” solution.68
        The second theory of harm was more directly concerned with data concen-
   tration and its possible effects on online advertising services. The Commission
   explored how the regulatory framework relating to data protection could
   mitigate some of the competition law concerns, noting that “any such data
   combination could only be implemented by the merged entity to the extent
   [that] it is allowed by applicable data protection rules [ . . . ]with respect
   to the collection, processing, storage and usage of personal data, which,
   subject to certain exceptions, limit their ability to process the dataset they
   maintain.”69 The Commission also observed that the newly adopted GDPR70
   [ . . . ] provides for a harmonized and high level of protection of personal data
   and fully regulates the processing of personal data in the EU, including inter
   alia the collection, use of, access to and portability of personal data as well as
   the possibilities to transmit or to transfer personal data and that “(t)his may
   further limit Microsoft’s ability to have access and to process its users’ personal
   data in the future since the new rules will strengthen the existing rights and
   empowering individuals with more control over their personal data (that is,
   easier access to personal data, right to data portability, etc.).”71
        In light of the GDPR, the Commission found that it was not likely that in
   the next 2-3 years, LinkedIn data could become an important input in this
   market. It also found that, in any case, LinkedIn’s privacy policy allowed it
   to share the personal data it collects, processes, stores and uses with third-
   parties.72 Once again in this merger, the Commission refused to consider
   exploitation concerns based on the higher concentration of data and the
   combination of LinkedIn and Microsoft’s user databases. It noted that the
   merger “does not raise competition concerns resulting from the possible
   post-merger combination of the ‘data’ (essentially consisting of personal
   information, such as information about an individual’s job, career history
   and professional connections, and/or their email or other contacts, search
   behaviour and so forth) held by each of the parties in relation to online
   advertising.”73

   68
      Ibid, [400].
   69
      Ibid, [177].
   70
      GDPR, (5).
   71
      Microsoft/Linkedin, (Case COMP M.8124), Commission Decision (2016) [178].
   72
      Ibid, [255].
   73
      Ibid, [176].




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          Nevertheless, the higher concentration of data could have a potential impact
      on competition. The Commission found that the merger could result in the
      marginalization of XING, a competitor of LinkedIn that offered a greater
      degree of privacy protection to users than LinkedIn, or it could result in
      making it more difficult for any potential competitor to enter into the market




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      and would, therefore, restrict “consumer choice in relation to this important
      parameter of competition.”74 To address the competition concerns identi-
      fied by the Commission in the professional social network services market,
      Microsoft offered a series of commitments. The Commission found that these
      commitments addressed the competition concerns identified and, because of
      such, it conditionally cleared the merger. This case offered the possibility of
      conceptualizing privacy as a parameter of competition that could eventually
      have been measured.75
          Privacy-related theories of harm were also analysed in the recent merger
      between Apple and Shazam. This merger involved two companies that pro-
      vided complementary services: software solutions platforms and digital music
      streaming services for Apple and music recognition apps for Shazam76 . The
      Commission explored whether the fact that Shazam currently collects certain
      data on users of third-party apps, particularly digital music streaming apps
      installed on the same smart mobile devices (both Android and iOS devices) as
      the Shazam app, and allows those of its users who are also users of Spotify to
      connect their Shazam (anonymous or registered) account to their (freemium
      or premium) Spotify account, thereby enabling the Shazam app to identify
      its users. For example, the email address or Facebook identifier for registered
      Shazam users and the advertising identifier for anonymous Shazam users77
      could have “a negative impact on competition.”78 In assessing this element, the
      Commission took into account “certain legal and/or contractual limitations
      on the use of this customer information” by Apple post-merger.79 Without
      entering into an in-depth assessment, from the perspective of data protection

      74
         Ibid, [350]. Indeed, the Commission found that privacy was an important parameter of
         competition and driver of customer choice in the market for professional social networking
         services.
      75
         Bania, K. 2018. “The Role of Consumer Data in the Enforcement of EU Competition Law,”
         European Competition Journal, 14(1): 38; Deutscher E. 2017. “How to Measure Privacy-Related
         Consumer Harm in Merger Analysis? A Critical Reassessment of the EU Commission’s Merger
         Control in Data-Driven Markets,” Faculty of Law, Stockholm University Research Paper No.
         40.
      76
         Commission Decision, M.8788 - Apple/Shazam (11 November 2018).
      77
         Ibid, [199].
      78
         Ibid, [219].
      79
         Ibid, [225]. The Commission refers to Article 5(1)(b) of the GDPR as indicating that “personal
         data which has been collected for specified, explicit and legitimate purposes may not be further
         processed in a manner that is incompatible with those purposes” and “data which qualifies as
         personal data under the GDPR can be processed by a third party only to the extent that there
         exists a contractual legal basis for the transmission to the third party and a legal basis for the
         processing by that third party”; ibid, [229].




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   law (GDPR), the Commission undertook an abridged analysis of Shazam’s
   Ts&Cs and Privacy Notice. It concluded that the purpose for which personal
   data were harvested had been specified and made clear to Shazam’s users.
   The Commission also referred to the EU rules that dealt with privacy and
   the protection of the confidentiality of communications, in particular the e-




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   Privacy Directive, which may also affect the transmission of the customer
   information and its subsequent use.80 However, the Commission noted that
   the e-Privacy Directive does not prevent any technical storage or access for
   the sole purpose of carrying out the transmission of a communication over
   an electronic communications network; therefore, it enabled Apple to lawfully
   store and/or have access to this customer information. Possible contractual
   limitations to the use of this data could emanate from the Android Developer
   Guidelines that had provided Shazam with access to data about the apps
   installed on a user’s Android device, or by rivals to the new entity, such as
   Spotify, which, according to their developer’s Ts&Cs, may restrict the use of
   Spotify’s user data by app developers and enforce it if, post-merger, Apple
   would aim to collect data for services that compete with those provided by
   Spotify81 . Notwithstanding these limitations, the Commission found that the
   new entity could collect this customer information lawfully. It then proceeded
   to analyse the incentive and ability of the new entity to use this user information
   to put its competitors at a competitive disadvantage.82
      The Google/Fitbit merger could have offered the opportunity to tackle
   directly exploitation concerns in merger control, such as possible restrictions
   of privacy for the final users.83 The Commission recognized that by acquiring
   Fitbit, Google would own the database maintained by Fitbit about its users’
   health and fitness as well as technology enabling the harvesting of data through
   wrist-worn wearable devices. The Commission noted that this offers a consid-
   erable data advantage in view of the increasing possibilities to “personalise” the
   adds Google serves through its search engine and displays on other internet
   pages. This was, however, assessed, only from the perspective of the possibility
   of Google to exclude competitors that could either compete with it in the
   digital healthcare sector, as well as rival wearables. To avoid a second phase
   investigation, Google proposed as a first set of commitments the creation of a

   80
      Ibid, [233]-[234]. Directive 2002/58/EC of the European Parliament and of the Council of
      12 July 2002 concerning the processing of personal data and the protection of privacy in the
      electronic communications sector (henceforth, the ‘e-Privacy Directive’), [2002] OJ L 201/37,
      which, in Article 5(3), provides inter alia that “Member States should ensure that the storing
      of information or gaining access to information already stored in the terminal equipment of
      a subscriber or user is only allowed on condition that the subscriber or user concerned has
      given their consent following clear and comprehensive information about the nature of data
      processing
   81
      Ibid, [237].
   82
      Ibid, [238].
   83
      Case M.9660 - Google/Fitbit (2020), currently under examination in phase 2. See, https://ec.eu
      ropa.eu/commission/presscorner/detail/en/IP_20_1446 .




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      “data silo” in which data would be virtually stored and certain data collected
      through wearable devices would be kept separate from any other dataset within
      Google. Interestingly, this seems to also target the potential restriction of user’s
      privacy, through the combination of different categories of data, while also
      trying to respond to the exclusionary concerns identified by the Commission.




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      The Commission rejected the proposed commitments under Phase I finding
      that they would not cover all the data that Google would access as a result of
      the transaction (and valuable for advertising purposes), thus implying that the
      data silo remedy would not fully address its exclusionary concerns about the
      merger. Google suggested a new set of commitments in Phase II, which were
      finally accepted by the Commission. These commitments directly addressed
      exclusionary concerns but ignored exploitative conduct relating to privacy and
      did not include any specific remedy enhancing privacy, on the assumption
      that such issues could be successfully dealt with under the GDPR and/or the
      E-privacy Directive.84
          It is surprising that exploitative concerns related to privacy did not form
      part of the assessment of the merger, it seems, in the humble view of the
      authors, on the basis of a misinterpretation of the allocation of the regulatory
      fields of competition law and data protection.85 Economics has certainly the
      tools to analyse such exploitation concerns, either by determining the loss in
      quality that consumers would incur, if privacy is considered as an important
      dimension of quality, or by assessing the possibility that potential competition
      may raise the levels of privacy protection in the industry and that the merger
      by suppressing potential competition has a negative impact on “consumer
      choice” and variety (in terms of different options enabling the consumer to
      weigh the costs of each option to his privacy and the benefit in terms of free
      services or other forms of compensation he gets in exchange). Besides the issue
      of market failure that we have analysed earlier, a regulatory authority should
      assess the impact of the merger on an addition of new dimensions of data to
      the acquiring party or a significant enhancement of existing data, as well as
      the exclusion of use of such data by rivals. Thus, data acquisition should be

      84
         Directive 2002/58/EC of the European Parliament and of the Council of 12 July 2002
         concerning the processing of personal data and the protection of privacy in the electronic
         communications sector, [2002] OJ L 201/37.
      85
         Such a misinterpretation may arise, in our view, out of the wrong assumption that the fields
         of data protection and competition law in this case would overlap [see, for instance Monti,
         G. “Attention Intermediaries: Regulatory Options and their Institutional Implications,” (48)].
         However, this should not be assumed. The same set of facts may lead to two different types
         of harm, which each area of law will assess on its own criteria of legality. We adopt the same
         approach regarding the ne bis in idem principle, with regard to what constitutes idem, where the
         same facts could give rise to different offences’ unless there exist “essential elements” common
         to both offences (lack of identity of legal interest, see, for instance Commission Decision
         (COMP/39.525 – Telekomunikacja Polska), 22 June 2011, available at https://ec.europa.eu/
         competition/antitrust/cases/dec_docs/39525/39525_1916_7.pdf, paras 135-39. Why should we
         take a broader perspective of idem in this case?




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   analysed in its role as an enhancement of the quality of services of the merged
   entity and a reduction of the quality of rivals’ services as a result of the merger.
   Regulatory authorities need to assess the extent of increasing returns to scale in
   the use of data by the merging parties or in the creation of exclusive network
   effects in the merged entity that are denied (through the merger) to rivals.




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   These considerations may be crucial drivers of such mergers and should not
   be ignored.86
       In any case, it is clear from the constitutional as well as the regulatory
   context in the EU regarding the preservation of privacy and data protection
   that these are important collective values, which the regulatory institutions
   put in place by the EU Treaties have the duty to protect. Hence, even the
   mere likelihood of a negative conflict of jurisdiction should not be tolerated,
   as this would amount to a dereliction of duty. It is even more problematic
   as the European Data Protection Board (EDPB) hinted to the privacy issues
   raised by this merger, noting that “(t)here are concerns that the possible
   further combination and accumulation of sensitive personal data regarding
   people in Europe by a major tech company could entail a high level of
   risk to the fundamental rights to privacy and to the protection of personal
   data.”87 In the absence of a process of regulatory cooperation between the DG
   Competition at the European Commission and the data protection authorities
   in the EU and the EDPB, and even more of a requirement of joint approval of
   digital mergers,88 the Commission should step in and assess the privacy and
   exploitation concerns raised by the transaction, adapting if it is necessary for
   its own criteria to integrate privacy concerns, by eventually repurposing for
   the occasion concepts of data protection law.89 This is even more necessary as

   86
      Also see Peitz, M. “Economic Policy for Digital Attention Intermediaries,” Zew Discussion
      paper No 20-035, July 2020 who advocates that Regulatory authorities should take into
      consideration a high price offered to a merging party as an indication of the (intangible) value
      of the data the party possesses.
   87
      See, EDPB, Statement on privacy implications of mergers (19 February 2020), avail-
      able at https://edpb.europa.eu/sites/edpb/files/files/file1/edpb_statement_2020_privacyimplicati
      onsofmergers_en.pdf.
   88
      For a very interesting discussion of the institutional dimensions of the interaction between
      competition law and data protection and the need for establishing mechanisms to guarantee
      consistency, see Monti, G. Attention Intermediaries: Regulatory Options and their Institutional
      Implications (7 July 2020). TILEC Discussion Paper No. DP2020-018, Available at SSRN:
      https://ssrn.com/abstract=3646264.
   89
      This amounts to the strategy of “cross-institutional isomorphism” put forward by one of the
      authors of this article, which suggests that “in view of the alterity of the problem to be solved,
      for the specific institutional setting, it might make sense to borrow instruments and/or the overall
      logic from a different institutional realm and transplant them back, “repurposing them for the
      occasion”: see, Lianos, I. 2018. “Polycentric Competition Law,” Current Legal Problems, 71(1):
      161, 200. This is subject of course to comparative institutional analysis, as the strategy may
      evolve, should the institutional setting change (for instance, a system of joint review of mergers
      or there is a requirement for the opinion of the data protection regulators). However, even in
      this case, as mentioned above, the harm competition law aims to tackle with regard to privacy
      restriction does not always coincide with what is the focus of the data protection legislation.




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      there is no catch-all provision in the EU for the ex post assessment of privacy-
      reducing practices, from the perspective of competition law, and the scope of
      Article 102 TFEU may not be sufficiently large to cover such practices if the
      undertaking in question does not have a dominant position on an identified
      relevant market.90




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         This issue takes a different dimension in the United States where harm
      to privacy does not come up when assessing merger activity and any privacy
      issues are to be dealt with through Section 5 of the Federal Trade Commission
      (“FTC”) Act of 1914, which condemns unfair or deceptive acts or practices
      in or affecting commerce (ex post control).


      B. Ex Post Enforcement: Abuse of a Dominant Position
           or Economic Dependence
      Restrictions on privacy may also be subject to ex post enforcement, especially,
      but not exclusively, the prohibition of an abuse of a dominant position.91

      90
         Although this last remark does not concern Google, which has been found dominant in a
         number of relevant markets, indeed, most of the problems relating to the “multi-modality” of
         data are raised by the conglomerate effects of aggregating different sources of data coming from
         various relevant markets on which an undertaking, or the ecosystem it controls, is active. To the
         extent that EU merger control, since 2004, catches all mergers that are likely to significantly
         impede effective competition, the scope of EU merger control is appropriately designed to
         analyse such aggregate effects, even if the merged entity will not acquire a dominant position in a
         relevant market. However, this is not the case in the context of ex post assessment of the business
         practices of such an undertaking, under Article 102 TFEU, which cannot cover conduct by
         the undertaking in question if it does not have a dominant position on a relevant market.
         This hints to the existence of a gap in the current EU competition law system with regard
         to privacy-reduction effects relating to conduct adopted by a undertaking in the context of an
         ecosystem of paramount importance for which it acts as a gatekeeper, without the undertaking
         in question necessarily enjoying a dominant position in a defined relevant market, even if the
         conduct adopted by that undertaking is likely to produce a significant impediment to effective
         competition.
      91
         It is also possible for agreements that restrict competition on privacy to fall under the prohibition
         of anti-competitive collusive practices, to the extent that such an agreement will reduce
         competition in regard to a specific parameter, such as quality, which in some markets may be a
         quite significant factor. The application of this prohibition is well accepted now for agreements
         that restrict innovation and it should be the same for agreements that restrict privacy. To the
         extent that an agreement to restrict competition on privacy may not have any redeeming virtue,
         although its effect is certainly to reduce consumer welfare as, at least, it affects competition
         on quality, it is not unimaginable that a competition authority might, in future, qualify it as
         a restriction of competition per se, without any need to thoroughly assess its anti-competitive
         effects. However, it remains an open question as to whether agreements of this sort between
         undertakings with relatively low market shares, or in a non-concentrated market, may be a cause
         of concern capable of justifying the (rebuttable) presumption of anti-competitive effects that
         would result from such agreements and/or concerted practices being qualified as a restriction of
         competition by object. The approach currently followed by the EU courts in defining restrictions
         of competition by object, accepts that “the real conditions of the functioning and the structure of
         the market or markets in question” may be elements to take into account in assessing restrictions
         of competition by object: see Case C-179/16, F. Hoffmann-La Roche Ltd and Others v Autorità
         Garante della Concorrenza e del Mercato, ECLI:EU:C:2018:25, [79]-[80].




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   We explore different theories of harm that may give rise to competition law
   concerns and suggest specific tests for their assessment.


   1. Excessive Data Extraction




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   “Excessive” data extraction may constitute a concern for some competition
   law regimes in the same way that excessive prices have been targeted. We first
   explore how excessive data extraction may compare with the excessive prices
   as an antitrust violation and second we examine how the methodology used to
   assess claims of excessive pricing may be applied to excessive data extraction
   antitrust claims.


   2. Excessive data Extraction and Excessive Pricing: Parallels and Differences
   It is worth noting that excessive pricing has been a controversial competition
   law issue, with certain jurisdictions, particularly the United States, that have
   rejected the possibility of bringing an excessive pricing case when this is
   solely motivated by concerns about exploitation, rather than collusion. Despite
   the recent extension of the scope of Section 5 of the FTC Act to some
   forms of hybrid excessive/exploitative practices in the context of standard
   setting organizations (henceforth, “SSOs”) or related to standard essential
   patent (henceforth, “SEP”) royalties, when the dominant firm has previously
   committed to licensing its essential proprietary technology on reasonable
   and non-discriminatory (henceforth, “RAND”) terms,92 or there has been
   a breach of the duty of good faith on a member of a SSO with regard to
   the standardization process,93 U.S. antitrust law does not apply to purely
   exploitative practices.94 However, in the EU (and several other jurisdictions),
   excessive pricing forms a well-accepted cause of action in competition law and
   may be found to infringe Article 102(a) of the Treaty on the Functioning of
   the European Union (henceforth, “TFEU”).
       One may reason that similar principles could apply to the excessive extrac-
   tion of data. However, as Haucap explains “data is not like money”—it “does
   not reduce the user’s ability to provide the same data to another service of
   multiple other services.” It is “a fundamental difference to excessive pricing
   cases in which customers are left with less money/wealth once they have been

   92
      See Broadcom Corp. v. Qualcomm, 501 F.3d 311 (3d Cir. 2007); In re Robert Bosch GmbH, File
      Bo 121-0081 (26 November 2012).
   93
      See, In the matter of Rambus, Inc. (2 August 2006), Docket No. 9302, 34-35; Rambus Inc. v. FTC,
      522 F3d 456 (DC Cir. 2008), cert. denied, 129 S. Ct. 1318 (2009).
   94
      Verizon Communications v.2004. Law Offices of Curtis v.Trinko,LLP, 540 U.S. 398 (often cited for
      such proposition). See however, First, H. 2019. Excessive Drug Pricing as an Antitrust Violation,
      Antitrust Law Journal, 82: 701 [noting that “Trinko itself was not about charging high prices
      (Verizon’s regulated prices were actually low) but about dealing in ways that were intended to
      harm its competitors. Indeed, Trinko cited no cases in support of its view that charging high
      prices is a fine idea”].




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      exploited.”95 As the German competition authority, the Bundeskartellamt,
      noted in its recent Facebook decision, “personal data represents an unlimited
      commodity that is not used up by sharing and even consumers on a limited
      budget do not need to determine how much they are willing to pay.”96
         Nevertheless, this analysis ignores the impact that data extraction may have




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      on privacy, specifically its reduction. Data extraction may violate the funda-
      mental right of privacy but it may also, from a purely user surplus perspective,
      enable the platform to predict the preference map and, consequently, the
      behaviour of the user. This provides the platform with a more powerful position
      in its future interactions with users and enables it to reduce consumer surplus,
      not only in terms of not satisfying the privacy preferences of users but in also
      reinforcing the platform’s capacity to impose different price discrimination
      strategies against them.97 As the Bundeskartellamt also explains in its Face-
      book decision, the main problem in excessive data extraction cases is that
      “when consumers share their personal data, they are not really able to judge
      which and how much data is being collected by which company, to whom
      their data is being transmitted and what the implications of giving consent to
      data processing are.”98 Users may be unaware of the fact that the extracted
      data is likely to facilitate their exploitation. The issue here will, therefore, be to
      decide if a prophylactic intervention that focuses on excessive data extraction
      so as to avoid future instances of exploitation (eventually through different
      forms of personalized pricing and price discrimination) may be the preferred
      option, rather than addressing each of these instances of exploitation through
      the application of the relevant prohibitions on price discrimination or other
      forms of exploitative practices at a later stage. However, it is worth noting that
      this will, to some degree, require some sort of re-conceptualization of price
      discrimination in competition law, which is not usually prohibited per se.99
         Alternatively, privacy may be considered as a personal good valued by the
      consumer, and, therefore, any reduction in privacy may be tantamount to a
      form of consumer harm, a reduction of quality. One may reason that if this is
      the case, the fact that the user does not switch platform, notwithstanding the
      excessive extraction of data, signals that, either this extraction is not considered

      95
         Haucap, J. 2019. “Data Protection and Antitrust: New Types of Abuse Cases? An Economist’s
         View in Light of the German Facebook Decision,” CPI Antitrust Chronicle, 1.
      96
         Bundeskartellamt. 2019. Facebook Decision in Administrative Proceedings, B6-22/16, <https://
         www.bundeskartellamt.de/SharedDocs/Entscheidung/EN/Entscheidungen/Missbrauchsaufsi
         cht/2019/B6-22-16.pdf?__blob=publicationFile&amp;v=5>, [hereinafter BKA Facebook]
         [571].
      97
         Haucap, J. 2019. “Data Protection and Antitrust: New Types of Abuse Cases? An Economist’s
         View in Light of the German Facebook Decision,” CPI Antitrust Chronicle.
      98
         BKA Facebook, [571].
      99
         See the Robinson Patman Act of 1936 in the United States, which prohibits sellers from
          engaging in price discrimination, under certain conditions. In the EU, price discrimination may
          violate the provisions of the TFEU, essentially for considerations relating to market integration
          purposes.




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   excessive enough by the user, or that they value the services provided by the
   platform more than the inconvenience of reduced privacy, to the extent that
   the exchange is voluntary. Hence, this exchange and the “price” in terms of
   privacy reduction the user is ready to pay reveal his real preferences about the
   trade-off.




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      This however assumes that the user is fully informed about the reduction
   of their privacy and is rationally evaluating the costs and benefits of using
   the platform. Early studies nonetheless found that individuals will perform a
   “privacy calculus” before disclosing the information necessary to complete an
   e-commerce transaction, more recent work has shown that there is some cog-
   nitive dissonance between consumers’ online behaviour, that is, their revealed
   preferences, and their stated preferences for privacy, which has led to the so-
   called “privacy paradox.”100 Users may value privacy but they may do nothing
   to protect it.101 Recent research also highlights the bounded rationality of
   consumers when performing this privacy calculus—in other words, consumers
   lack the capacity to compare the costs and benefits of sharing personal
   information.102 The privacy paradox is, indeed, a complex phenomenon with
   the apparent discrepancy of people’s concerns over their privacy and their
   online behaviours, such as bounded rationality, cognitive biases and heuristics
   and/or social factors.103 Furthermore, despite privacy notices, individuals may
   not always be aware of the data harvesting to which their personal information
   is subject as they rarely, if ever, read websites’ Ts&Cs due to the length,
   legalistic language and the take-it-or-leave-it approach of such.104 For want
   of any better alternative, “tick-click-and-hope-for-the-best” sums up most
   consumers’ attitude. Through the Internet of Things (henceforth, the “IoT”)
   users may, in future, allow their smart devices to engage in online transactions
   on their behalf based on learned preferences. A more systematic use of

   100
       Acquisti, A, Taylor, R., Wagman, L. 2016. “The Economics of Privacy,” Journal of Economic Lit-
       erature, 54: 442; Benndorf, V., Normann, H.-T. 2018. “The Willingness to Sell Personal Data,”
       Scandinavian Journal of Economics, 120: 1260-265; Norberg, P., Horne, D. R., Horne, D. A.
       2007. “The Privacy Paradox: Personal Information Disclosure Intentions versus Behaviours,”
       Journal of Consumer Affairs, 41: 100-126.
   101
       Barth, S., de Jong, M. 2017. “The Privacy Paradox – Investigating Discrepancies Between
       Expressed Privacy Concerns and Actual Online Behaviour – A Systematic Literature Review,”
       Telematics and Informatics, 34(7): 1038.
   102
       Acquisti, A., Taylor, Wagman, (94): 442-92, suggest that, often, consumers prefer short-term
       discounts over the long-term risk of disclosing personal information; Acquisti, A., Leslie, J.,
       Loewenstein, G. 2013. “What is Privacy Worth?,” The Journal of Legal Studies, 42(2): 249–274.
   103
       For a literature review, see Kokolakis, S. 2017. “Privacy Attitudes and Privacy Behaviour: A
       Review of Current Research on the Privacy Paradox Phenomenon,” Computers and Security,
       64: 122.
   104
       See, for instance, the meta-study by Mou, J., Shin, D.-H., Cohen, J. 2017. “Trust and Risk
       in Consumer Acceptance of E-Services,” Electronic Commerce Research, 17(2): 255. A recent
       Consumer Unit and Trust Society (henceforth ‘CUTS’), “User Perception Survey,” (2018),
       Response Paper for Ministry of Electronics and Information Technology, in India that covered
       2,400 respondents revealed that around 80% of users were not reading privacy policies. Key
       reasons were due to such policies being lengthy, the language barrier and too much legalese.




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      digital assistants might require default or adapted consent mechanisms.105
      Conversely, technological advances could lead to better results for consumers
      if, for example, artificial intelligence (henceforth, “AI”) based on learned
      consumer patterns was used to form buyer coalitions to seek better terms.106
          The main difficulty with excessive data extraction claims is determining




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      that which is “excessive” and, therefore, exploitative. In a traditional excessive
      pricing claim, the level of prices in a competitive market (on the basis of an
      estimation of the level of prices from a workable competition perspective)
      usually serves as the counterfactual. This of course depends on the economic
      value of the product—it is determined either by using a “cost+” approach,
      which involves adding up the different costs of the product, or by comparing
      the price with a comparable competitive market. This latter method should be
      that which is preferred in the context of an intangible economy. In the case
      of excessive data extraction, the counterfactual may be easier to establish as
      the level of privacy enjoyed by the user in the absence of the specific conduct
      that is assessed as excessive. However, one can also imagine a more abstract
      counterfactual that may broadly serve as the standard by which to determine
      the excessive nature of the data extraction. Such would centre on the purpose
      of the data extraction and the way in which this affects the user’s experience
      and, therefore, the “quality” of the service provided. One may reason that
      the data extracted by the platform should not be considered excessive if it
      is used, either to improve the product, to respond to the needs of the specific
      user so that the personalization is welfare-enhancing, or if, in the case of the
      platform employing an advertised-based model, to better match advertisers
      and consumers than the situation would otherwise have been. Consumers
      may, indeed, prefer to receive advertising that matches their preferences and
      informs them about the products in which they are interested rather than
      “junk” advertising.
          Haucap observes that data extraction may be considered excessive in the
      presence of these two scenarios “once we assume that (a) either a sufficient
      number of consumers do actually receive disutility from ‘excessive’ data
      requirements and from having their data combined, or (b) consumers are
      somehow being harmed without noticing it.”107 Certainly, this is behaviour
      that may fall under data and/or consumer protection rules but as discussed in
      2.3. and 2.4, the problem is exacerbated in cases in which the platform has

      105
          Contissa, G., Lagioia, F., Lippi, M., Micklitz, H.-W., Palka, P., Sartor, G., Torroniet, P. 2018.
          “Towards Consumer-Empowering Artificial Intelligence,” Proceedings of the Twenty-Seventh
          International Joint Conference on Artificial Intelligence Evolution of the Contours of AI, 5150–
          157.
      106
          Some have coined the term “algorithmic consumer” to convey the complexity of the decision
          process in the digital era of the Internet of Things (henceforth, the ‘IoT’): Gal, M., Elkin-
          Koren, N. 2017. “Algorithmic Consumers” Harvard Journal of Law and Technology, 30: 309.
      107
          Haucap, J. 2019. “Data Protection and Antitrust: New Types of Abuse Cases? An Economist’s
          View in Light of the German Facebook Decision,” CPI Antitrust Chronicle, 1, 3.




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   market or bargaining power and, thus, the consumer may not easily switch to
   an option that is more respectful of their privacy.
      This debate raises the question of “whether antitrust law should hold dom-
   inant firms to stricter data protection and privacy standards than competing
   firms without market power.”108 Indeed, excessive data extraction will be an




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   issue for competition law only in situations in which a platform has a dominant
   position or monopoly power, or there is a collective dominant position. Smaller
   size platforms may, thus, be able to adopt practices of data extraction that, if
   they were larger, would otherwise be considered to be excessive. Some authors
   raise questions as to the legitimacy of such differential treatment and the higher
   duties imposed on dominant undertakings.
      We consider that these arguments do not withstand serious scrutiny. Firstly,
   only dominant undertakings are targeted by legal provisions against excessive
   pricing; other undertakings are free to decide their pricing strategies. If this
   is not considered a problem in the context of excessive pricing claims, it also
   should not be an issue for excessive data extraction claims.
      Secondly, as discussed previously, a concentrated market constitutes, from
   a privacy perspective, a less optimal market structure than a less concentrated
   market because there is a higher likelihood that the market would tip towards
   less-privacy centred business models, especially in light of the higher valuation
   by financial markets of advertisement-based platforms.
      Thirdly, it is the preeminent position of the platform in its core activity and
   in adjacent markets that enables it to impose on its users a business model
   that reduces their privacy as users cannot easily, or do not generally, switch to
   alternative platforms that would offer higher levels of privacy protection.
      Finally, non-dominant platforms are subject to data protection laws. These
   impose specific duties on all undertakings and data comptrollers, irrespective
   of their market share, to protect the privacy of their users. However, there is
   added value in competition law intervention.
      It is therefore likely that excessive data extraction may constitute a form of
   exploitative behaviour if this is causally linked to a dominant position. There
   has indeed been some discussion over the targeting of purely exploitative
   behaviour through provisions concerning the abuse of a dominant position.
   A number of reservations were expressed concerning this issue with regard
   to claims of excessive pricing as well as a number of principles limiting the
   application of abuse of dominance provisions to purely exploitative practices
   under very narrow circumstances.109 However, very few of the above criticisms
   apply to situations involving excessive data extraction.


   108
         Ibid, 4.
   109
         See Evans, D., Padilla, J. 2005. “Excessive Prices: Using Economics to Define Administrable
         Legal Rules,” Journal of Competition Law and Economics, 1: 97; Röller, L. 2007. “Exploitative
         Abuses” in European Competition Law Annual: A Reformed Approach to Article 82 EC (edited by
         C. Ehlermann and M. Marquis, Hart Publishing, 2008), 525.




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         Firstly, although not all degrees of data extraction may be considered
      problematic, to the extent that data extraction may also occur in situations
      of perfect competition, data extraction that contravenes the threshold(s) set
      by data protection regulation, should such exist, can be presumed to be
      excessive. Upon reaching this threshold it is then a matter of analysing the




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      specific conditions of the market on a case-by-case basis to determine whether
      the platform’s dominant position and the data policies it has adopted have
      contributed to a lower level of data protection and privacy than that which
      would have existed in the market before said dominant firm with its dominant
      position emerged and data policies were altered. This case-by-case analysis
      of the conditions of the relevant market conditions and the firm’s business
      strategies is commonplace in competition law analysis.
         Secondly, the risk of data extraction strategies is that once they have
      been tried they may generate superior levels of profitability for the platforms
      that manage to harvest most of the personal data and, hence, could lead
      to increasing returns to scale and learning-by-doing, both of which may be
      highly valued by financial markets. Therefore, there is a risk that the mode
      of competition and innovation in the industry will get stuck at a suboptimal
      equilibrium, from the perspective of data protection. Also, the abovementioned
      difficulties regarding fixed costs are not that relevant in this context in view of
      the business strategies followed in multi-sided markets. The non-price harm
      to consumers, that is, the reduced privacy emerges on the advertising side of
      the market, which is a different market to the one on which the price effect
      emerges.
         Thirdly, the remedies for excessive data extraction may be straightforward.
      In most cases, a cease and desist order would be sufficient to deal with the
      harm. Hence, there is no need for price regulation. Of course, if the remedy
      involves the requirement of charging users more for a higher privacy option,
      the determination of the “price” of privacy might require some form of price
      regulation. We explore the way in which this could be done in the last Section
      of this paper.
         Fourthly, it is unlikely that any remedies that seek to promote data protec-
      tion and user privacy will distort competition, innovation and/or R&D. On the
      contrary, such remedies may enable users to differentiate between the business
      models pursued by platforms and result in a push towards innovation efforts
      that promote privacy.
         Fifthly, it is not clear if the problem will solve itself. Once a market
      has tipped to a sub-optimal equilibrium in terms of privacy, for instance
      if platforms that operate on the basis of the advertisement-based model
      of harvesting personal data dominate the market, given the importance of
      network effects, it could be difficult for any platform to challenge this position
      even if this latter platform offers a more privacy-enhancing alternative. Hence,
      some form of state intervention is needed.




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      Sixthly, determining whether a platform has extracted such an excessive
   quantity of data that it has violated data protection law is certainly a much
   easier task for the courts than determining whether a price is “excessive.” The
   latter task involves the court undertaking sophisticated economic analysis.
      One could also challenge the argument concerning the risks that such




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   claims set for legal certainty and the argument that such claims require the
   development of narrow limiting principles. Contrary to situations involving
   price-related exploitation, courts and competition authorities would find it
   more easy to set clear principles on the basis of existing data protection rules,
   or, if such do not exist, on the basis of the hypothetical revealed preferences of
   consumers. These preferences can be determined either through willingness to
   pay (henceforth, “WTP”) surveys or, because consumers usually value privacy
   less if they are asked how much they are willing to pay for it, instead of how
   much they would like to be paid to lose it (Willingness to Accept, WTA),
   through other methods, such as hedonic pricing.110

   A legal test for excessive data extraction as a category of abuse of dom-
   inance There are various categories of abuse of dominance, each of them
   subject to a different legal test for the finding of a competition law violation.111
   The legal test for excessive pricing in the EU results from the seminal United
   Brands case in which the Court of Justice of the European Court (henceforth,
   the “CJEU”) held that a price may be excessive if it has no reasonable relation
   to the economic value of the product supplied.112 According to the CJEU, this
   excess could be determined by objectively calculating the difference between
   the selling price of the product in question and its cost of production—this
   would disclose the profit margin.113 It should be noted though that some
   degree of profit margin would be entirely justified in dynamic industries and/or
   industries with network effects.
      Determining a firm’s profit margin would involve examining whether two
   cumulative conditions had been satisfied. Firstly, it would be necessary to
   determine “whether the difference between the costs actually incurred and
   the price actually charged is excessive and, if the answer to this question is in
   the affirmative, [secondly, it would be necessary to examine] whether a price
   has been imposed which is either unfair in and of itself or when compared


   110
       Acquisti, Leslie and Loewenstein, (103), 268, note that “individuals’ preferences for privacy
       may not be as stable or as internally consistent as the standard economic perspective assumes.”
       They find that there is a “gap between privacy willingness to pay (henceforth, ‘WTP’) and
       willingness to argue (henceforth, ‘WTA’).” They argue “against the uncritical use of privacy
       valuations that have used single methods—for example, only WTP or only WTA.”
   111
       Lianos, I. 2009. ‘Categorical Thinking in Competition Law and the Effects Based Approach
       in Article 82 EC, in Ezrachi, A. (ed.), Article 82 EC: Reflections on its Current Evolution (Hart.),
       19.
   112
       Case C-27/76 United Brands v Commission [1978] ECR 207.
   113
       Ibid, 251.




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      to competing products.”114 Evidence of an excessive profit margin is not
      sufficient in and of itself to prove an abuse. EU competition authorities employ
      a cost–price approach for determining the excessive nature of a profit margin.
         One option for measuring the excessive nature of prices involves (i) deter-
      mining an adequate cost measure for measuring profit, that is, a “cost+”




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      approach, (ii) comparing that measure to the price, and then (iii) assessing
      the excessiveness of the profit margin, which would require the definition of
      certain key benchmark prices. In relation to the third stage, a comparison with
      the prices charged by competitors might be one possible option (although
      one should be cautious, as price differences may indicate quality differences).
      In United Brands, the CJEU noted that “other ways may be devised— and
      economic theorists have not failed to think up several— of selecting the rules
      for determining whether the price of a product is unfair.”115 Other options
      have included comparing the price of the product across different geographic
      markets.116 Under EU competition law, a price can be unlawfully excessive
      where “it bears no reasonable relation to the economic value of the product
      supplied.” Prices can be assessed by, first, considering whether the difference
      between the price and the costs is excessive (henceforth, the “excessiveness
      limb”), and, second, whether the price was unfair either in and of itself or when
      compared with the price of competing products (henceforth, the “unfairness
      limb”).117 From an economic perspective, excessive extraction should only
      be of concern if it results from some form of market failure, such as a lack
      of competition or other barriers that would make it difficult for consumers
      to switch to competitors that would extract less data. However, the concept
      of fairness employed provides the enforcer with some leeway by which to
      determine broader standards.
         In applying this test to the issue of excessive data extraction, Robertson
      reasons that “one may, in a first step, need to look at the amount of person-
      alized data gathered through third-party tracking (i.e., the price paid by the
      user) and that which the user receives in return (i.e., the product’s cost to
      the service provider and its economic value),” and from there assess “whether
      there is a reasonable relation between the amount of data collected that the
      tracker can or will carry out and the economic value of the digital service


      114
          Ibid, 252.
      115
          Ibid, [253].
      116
          See ibid, [239]. Cases C-395/87 Ministère Public v Tournier [1989] ECR 2521 and C-110/88
          Lucazeau v SACEM [1989] ECR 2811 both concerned the level of royalties charged by
          the French collecting society SACEM for the playing of recorded music in discotheques.
          The CJEU acknowledged that important price differentials between Member States could
          indicate an abuse, unless the relevant undertaking justifies the difference by reference to
          objective dissimilarities between the situation in the Member State concerned and the situation
          prevailing in all the other Member States.
      117
          Flynn Pharma Ltd and Flynn Pharma (Holdings) Ltd v Competition and Markets Authority, [2018]
          CAT 11.




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   the users receive.”118 Alternatively, the “excessive” nature of the extraction
   will not be about volume of data, but about the combination of multiple
   data sources that may provide to the dominant undertaking the ability to
   predict the users’ preferences map, beyond what is needed for the completion
   of the specific transaction or similar transactions in the future, and the




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   harvested data that is not used to improve the quality of service to the user
   in the specific transaction (“data exhausts”) becoming inputs to prediction
   algorithms and subsequently monetized in “behavioural futures markets.”119
   The more intimate the personalized information held by the dominant digital
   platform about a user is, the more value it can extract, because, for instance,
   of the ability it has to sell behavioural advertising services to advertisers.
      In this context, it is important to initially determine the “economic value”
   of the product that is, the objective value that consumers would give to the
   specific product in the counterfactual of a normal and sufficiently effective
   competitive market (that is, the “benchmark price”). However, it should be
   noted that the economic value of data cannot be determined in the same way
   as that of products and/or services in the tangible economy. The latter context
   involves considering the various components of the production costs (the fixed,
   variable and sunk costs) and a reasonable return on the costs incurred by the
   undertaking with respect to the relevant product.120 As for the formulation of
   the counterfactual, other factors, such as barriers to entry and network effects,
   should also be considered.
      Upon having determined the benchmark price, it would then be necessary
   to determine the relevant costs, which would be derived from a cost+ formula,
   before examining whether the difference between the price and costs in the
   factual, as opposed to the counterfactual, is excessive. This would then feed
   into the assessment of competition, which would also involve comparing
   the level of data extracted by the relevant platform with that extracted by
   other platforms in more competitive markets and/or across different customer
   segments, and examining the platform’s own practices over a specified period
   of time. Any and all of these comparisons would have to be carried out on
   a “consistent basis” for which “objective, appropriate and verifiable criteria”
   would need to be employed.121 For each and every case concerning excessive
   data extraction, an overall assessment should be required.
      With regard to the cost+ approach, as the digital service concerns either
   the content or convenience provided to the user (for example, social media or

   118
       Robertson, V. 2020. “Excessive Data Collection: Privacy Considerations and Abuse of Domi-
       nance in the Era of Big Data,” Common Market Law Review, 57(1): 161.
   119
       Zuboff, S. 2019. The Age of surveillance capitalism: the fight for the future at the new frontier of
       power (Public Affairs).
   120
       Other ways by which to determine this value involve undertaking a comparison with other more
       competitive markets in which no such conduct has taken place.
   121
       Case C-177/16, Autortiesibu un komunicēšanās konsultāciju aǵentūra / Latvijas Autoru apvieniba
       v Konkurences padome, ECLI:EU:C:2017:689, [41] and [51].




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      Internet search), the cost should be related to the production of such services.
      However, a lot of the “free” content available on digital platforms is, in fact,
      produced and uploaded by users themselves. In relation to search engines,
      users, by providing their data, enable the platform, through learning-by-doing,
      to develop the analysis undertaken and operations performed by its algorithms.




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      This development, in turn, helps the product to appeal more to the consumer.
         As such, the first step of the analysis should involve some evaluation of the
      link between the platform’s operational costs, the provision of the digital ser-
      vice, and any costs involved in the creation of the content, such as production
      costs (for example, Netflix), payment to content contributors (for example,
      YouTube) and so forth. Platforms may reason that data harvesting enables
      them to offer users targeted advertising and this should (i) be considered as
      welfare-enhancing and, (ii) form part of the “digital service” offered by the
      platform because it reduces the time and costs spent searching in comparison
      to the situation of across-the board advertising.122 However, the welfare
      effects of targeted advertising are ambiguous and largely depend upon the
      specific types of personal information made available through the targeting
      process.123 Furthermore, the allocation of the benefits between the advertisers,
      the intermediary and consumers vary and require a case-by-case assessment.
      If targeted advertising enhances user welfare, then any cost involved in the
      provision of such digital service (for instance, marketing costs) should be
      considered when assessing the economic value of the data. In any case, the
      simple fact that an undertaking earns above normal returns by harvesting more
      data than its competitors, if such exist, does not in and of itself prove that the
      level of data extracted is excessive.
         As for the second step in the analysis, one should determine whether the
      price paid by the consumer has “no reasonable relationship” with the value
      of the product. This involves considering non-cost related factors on both the
      demand- and supply-side. From the aggregate demand curve, which indicates
      the maximum amount that potential customers would be willing to pay for
      each unit of a good, one may derive customers’ marginal economic valuations
      for each unit.
         One of the issues that may emerge in the context of excessive data extraction
      cases is that the “price” paid by the users either takes the form of their data, to
      extent of the divulgence of which to platforms (and third-party trackers) may
      be unknown, or their attention/ time. Users may also pay a “price” to get access
      to the service. There are various models concerning the monetization of digital
      platforms, such as providing access for free to some users while simultaneously

      122
          Tucker, C. 2012. “The Economics of Advertising and Privacy,” International Journal of
          Industrial Organisation, 30(3): 326.
      123
          For an analysis see, Marotta, V. Zhang, K., and Acquisti, A. 2015. “The Welfare and
          Allocative Impact of Targeted Advertising,” Thirty Sixth International Conference on Informa-
          tion Systems, available at https://pdfs.semanticscholar.org/62c0/6ffa2f8da2a337a555a61dc0
          c1803eb27448.pdf .




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   milking the “money market” through subscriptions, offering a free (freemium)
   and paid (premium) version, or an ad-supported freemium.
      The third step analysis involves determining whether the amount of data
   harvested is “unfair,” either in and of itself or in comparison to competing
   products. As the U.K. Competition Appeals Tribunal (henceforth, “CAT”)




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   held in Pfizer & Flynn Pharma, “excessiveness should not be assessed by
   reference to the theoretical concept of idealised or perfect competition but
   the real world where normal, effective competition is the most that should be
   expected.”124 This third step should also involve: a comparison between the
   level of data extracted by the platform (and its evolution) and that extracted in
   other comparable markets, an assessment of the differential between economic
   value and “price” to determine whether it is “sufficiently significant and
   persistent” so to be considered excessive, and consideration of any objective
   justification advanced by the dominant undertaking.125


   3. Personalized Pricing
   The practice of “behavioural pricing” or “personalised price discrimination,”
   which is tantamount to first-degree price discrimination (or person-specific
   pricing), is not a mere technological possibility. Such is exhibited in the
   context of online commerce with its Big Data and algorithmic pricing practices
   illustrating that sellers can and, in fact, do charge different prices based on
   the specific buyer’s search history or “digital shadow.”126 As such, a firm
   can actively manipulate consumers’ choices.127 Recent calls for interven-
   tion against this type of pricing,128 which may be considered as a form of

   124
       Flynn Pharma Ltd and Flynn Pharma (Holdings) Ltd v Competition and Markets Authority.
       2018. CAT 11.
   125
       Ibid, [443].
   126
       Gal, M. 2017. “Algorithmic-Facilitated Coordination,” Commission Report, DAF/COM-
       P/WD(2017), 26, notes that “as more data is gathered about each consumer’s preferences,
       a personalized ‘digital profile’ can be created by algorithms, which calculates and updates each
       consumer’s elasticity of demand in real-time. This digital shadow can then be used by suppliers
       to increase their profits even further if they can price-differentiate between the offers they make
       to different consumers.”
   127
       Hanson, J., Kysar, D. 1999. “Taking Behavioralism Seriously: The Problem of Market
       Manipulation,” New York University Law Review, 74: 630. For the first study of EU competition
       law concerning this problem, see Economides, N., Lianos, I. 2009. “The Elusive Antitrust
       Standard on Bundling in Europe and in the United States in the Aftermath of the Microsoft
       Cases,” Antitrust Law Journal, 542.
   128
       See Autorité de la Concurrence and Bundeskartellamt, (1), 21–22, which notes that, although
       the application of EU competition law to these practices may be debated, in Germany, the
       Federal Supreme Court found that the national provision against the abuse of a dominant
       position can include a consumer protection dimension as regards price discrimination: German
       Federal Supreme Court (BGH), “Entega II,” KZR 5/10, judgment of 07.12.2010.For a
       discussion of “personalized pricing” see, Coen, P., Timan, N. 2013. “The Economics of
       Online Personalized Pricing,” Report of the Office of Fair Trading; Oxera, “Behavioural
       Economics and Its Impact on Competition Policy,” Report, <https://www.oxera.com/publicati
       ons/behavioural-economics-and-its-impact-on-competition-policy Richards, T., Liaukonyte,




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      algorithmic discrimination, illustrate the broader socio-economic concerns
      that are raised with regard to the perceived manipulation of consumers
      by companies.129 In the era of machine-learning and AI-assisted pricing,
      the risks of “digital” consumer manipulation may increase on an industrial
      scale.130 Digital markets exacerbate the above risks because they offer “a vast




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      psychological audit, that discovers and represents the desires of society” 131
      and every individual. Digital markets offer sophisticated evaluation methods
      that are closely linked to the direct observation of consumer preferences but
      also to a more broad range of all types of preferences that have been expressed
      in social and private life, through the means of sociometric analysis. Big Data
      enable one to observe, allegedly more accurately, people’s mentalities and
      inner desires and potentially influence the way in which people form their core
      preferences. This potential for large-scale manipulation given the possibilities
      offered by algorithms, data analysis and AI is motivating public authorities
      to act.
          This may later feed into companies’ commercial strategies, in that they may,
      for instance, develop personalized pricing (discriminatory) strategies. Price
      discrimination occurs when in two transactions in relation to two identical
      goods, despite both goods having the same cost, different prices are charged.
      “First degree price discrimination” enables producers to set individualized
      prices for each customer based on their knowledge of the individual’s pref-
      erences.
          From the commercial perspective, for price discrimination to be successful
      and not be defeated by consumers switching to other producers, certain
      conditions must exist including (i) market power, (ii) the ability to distinguish
      between customers, and (iii) the ability to prevent resale. Personalized pricing
      improves the producer’s ability to distinguish between customers. It may
      result in both first and third degree discriminatory pricing practices deployed
      if, in the relevant context, it is possible for a firm to apply group pricing
      and therefore, discriminate, between groups of consumers. Subjecting final
      users to price discrimination may enable the relevant producer to capture the

          J., Streletskaya, N. 2016. “Personalized Pricing and Price Fairness,” International Journal of
          Industrial Organization, 44: 138; Ezrachi, A., Stucke, M. 2016. “The Rise of Behavioural
          Discrimination,” European Competition Law Review, 37: 484; Ezrachi, A., Stucke, M. Virtual
          Competition (Harvard University Press, 2016), Chapter 11, which distinguishes “near perfect”
          discrimination, which involves the categorization of consumers through the harvesting of
          personal information collected with the help of Big Data and self-learning algorithms, from
          “behavioural” discrimination, which seeks to trigger consumer biases and increase consump-
          tion; Bourreau, M, de Streel, A., Graef, I. 2017. “Big Data and Competition Policy: Market
          Power, Personalized Pricing and Advertising,” CERRE Project Report.
      129
          Lianos, I. “Brands, Product Differentiation and EU Competition Law” in Brands, Competition
          Law and IP (edited by Desai, D, Lianos, I., Weber-Waller, S. Cambridge University Press,
          2015) in which the “persuasive view” of advertising in economic literature is discussed.
      130
          Calo, R. 2014. “Digital Market Manipulation,” George Washington Law Review, 82: 995.
      131
          Davies, W. The Happiness Industry: How the Government and Big Business Sold Us Wellbeing
          (Verso, 2015), 57.




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   entire consumer surplus and treat various individual/ groups of consumers
   unequally. Price discrimination may also affect competition between producers
   (not necessarily operating in the same relevant market) and the economy
   overall. Different producers compete for the limited resources/budget of
   both individual and groups of consumers. Due to the (first) producer being




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   able to charge the relevant consumer the highest possible price that said
   consumer is willing to pay, the disposable income of the consumer, which
   could otherwise be used for making other purchases, is reduced and consumer
   welfare suffers. This suffering is particularly noteworthy when compared with
   the counterfactual, in which there is no digital manipulation but rather there
   is perfect competition and uniform pricing that is marginal cost pricing (in
   digital markets, this might be close to zero).
      Personalized pricing or “price targeting” has been observed in various
   markets.132 To the extent that this manipulation may result in welfare losses
   for individual consumers and/or group of consumers, it could be reasoned
   that these deviations from the counterfactual need to be corrected by State
   intervention, including the enforcement of competition law. However, this is
   a matter for debate. One may reason that personalized pricing should not be
   considered as a form of “manipulation” but as a technological opportunity
   to charge each consumer as much as their willingness to pay. This may, for
   instance, enable some consumers who would not previously have been able to
   purchase the specific product, if a uniform price had been implemented that
   was higher than their willingness to pay, to now afford the product. Person-
   alized pricing may, therefore, have ambiguous effects on welfare, depending
   on the market structure and the trade-off between the “market appropriation”
   effect with regard to consumers with high willingness to pay and the “market
   expansion” effect with regard to consumers with a low willingness to pay.133
   In Asnef-Equifax, when examining the possible efficiency gains brought about
   by an information exchange that was restrictive of competition, the CJEU
   held that when performing the trade-off under Article 101(3) TFEU “it is
   the beneficial nature of the effect on all consumers in the relevant markets that
   must be taken into consideration, not the effect on each member of that category
   of consumers.”134 Hence, it seems that this assessment should be done on
   a general level, it should be conducted on the basis of the representative
   consumer of the specific relevant market.
      One may also reason that the focus of EU competition law on distributive
   justice, particularly its emphasis on the position of consumers who would not

   132
       See the analysis and examples provided in Bourreau, de Streel and Graef, (127), 40–41 and
       the empirical studies to which they refer.
   133
       For a discussion, see Coen, P., Timan, N. 2013. “The Economics of Online Personalized
       Pricing,” Report of the Office of Fair Trading, OFT1488; Bourreau, de Streel and Graef,
       (127), 43–45.
   134
       Case C-238/05, Asnef-Equifax, Servicios de Información sobre Solvencia y Crédito, SL v Asociación
       de Usuarios de Servicios Bancarios (Ausbanc), ECLI:EU:C:2006:734, [70] (emphasis added).




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      be worse off as a result of the specific conduct, may justify the intervention
      of competition law if the additional benefits from personalized pricing are not
      passed on to them (the consumers). This could be done either in the form
      of lower prices or in the form of better quality and/or innovative products.
      Competition law intervention may also be motivated by fairness considerations




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      (value ethics), in particular, if personalized pricing is not transparent and,
      thus, consumers are not informed, or if, in light of the purpose limitation
      and data minimization requirements in the GDPR there is a need to limit
      the extensive practice by firms of algorithmic discrimination in relation to
      consumers’ sensitive personal data.135 These practices may also raise more
      conventional competition law concerns. They discourage consumers from
      exploring their options by making it harder and/or more expensive to return to
      buy after a search for alternatives, with the effect that the matching of products
      to consumers is sub-optimal and that consumers, on aggregate, may ultimately
      pay higher prices.136
         From the perspective of competition law, there are different ways by which
      to deal with personalized pricing. In the EU, it is possible that such practices
      may be prohibited under Article 101(1)(d) TFEU or qualified as a price dis-
      crimination under Article 102(c) TFEU.137 Article 101(1)(d) TFEU prohibits
      agreements that “apply dissimilar conditions to equivalent transactions with
      other trading parties, thereby placing them at a competitive disadvantage.”
      Article 102(c) uses almost identical language to inhibit dominant undertak-
      ings from engaging in price discrimination. EU competition authorities have
      focused on price discrimination enforcement against dominant undertakings.
      Among the conditions for the application of this provision, there is the require-
      ment that “other trading partners” be placed at a “competitive disadvantage.”
      This language may suggest that this provision does not apply to discrimination
      against final consumers on the basis of price or other parameters of competi-
      tion. However, this language has not impeded the Commission from applying
      Article 102(c) TFEU to final consumers in Deutsche Post. In this case, due to
      the behaviour of Deutsche Post, consumers were having to pay prices for the
      company’s postal services that were (far) “higher than those charged to other
      senders and by having their mailings delayed significantly.” 138 The consumers
      were negatively affected by the conduct of Deutsche Post. In its decision,

      135
          See Art. 5(1) of the GDPR, (5); Article 9(1) of the GDPR and Section 2 of the Data Protection
          Act 1998, which require the “data controller,” when processing personal data, to obtain specific
          and explicit consent to the processing of these categories of data.
      136
          Armstrong, M., Zhou, J. 2016. “Search Deterrence,” Review of Economic Studies, 83: 26.
      137
          See Autorité de la Concurrence and Bundeskartellamt, (1), 21–22, which notes that, although
          the application of EU competition law to these practices may be debated, in Germany, the
          Federal Supreme Court found that the national provision against the abuse of a dominant
          position can include a consumer protection dimension as regards price discrimination: German
          Federal Supreme Court (BGH), “Entega II,” KZR 5/10, judgment of 07.12.2010.
      138
          Commission Decision COMP/C.1/36.915, Deutsche Post AG, [2001] OJ L331/40 (not
          appealed), [133].




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   the Commission noted that “Article 102 TFEU may be applied even in the
   absence of a direct effect on competition between undertakings on any given
   market. This provision may be also applied in situations where a dominant
   undertaking’s behaviour causes damage directly to consumers.”139 It is also
   worth noting that the case law does not require evidence of a competitive




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   disadvantage, which, in some cases, has been presumed.
       Alternatively, personalized pricing may be challenged on the basis of Article
   102(a) TFEU if it can be qualified as “directly or indirectly imposing unfair
   purchase or selling prices or other unfair trading conditions.” For instance, it
   may have to the imposition of a higher price (or lower quality) than that which
   would have been the case (that is, the counterfactual) but for the specific digital
   manipulation that has, in turn, enabled the relevant producer to capture the
   consumer surplus in its entirety.
       Should this provision be employed, it would be important to design a test
   with more specific conditions than just there being no reasonable relation
   between the price charged to the consumer and the “economic value” of
   the product supplied. Personalized pricing seeks to precisely set prices at the
   exact level that the specific consumer thinks is the economic value of the
   product, that is, it directly reflects the consumer’s subjective perception of
   the products value and corresponds to its level of willingness to pay). From
   an economic efficiency perspective, this practice should not be considered to
   be problematic. However, one may reason that the “open market economy”
   principle of the EU Treaty140 would require that economic value be deter-
   mined by the competitive process taking place on a market, in which various
   actors, consumers and suppliers interact, in view of the fact that “competition
   is, by its very essence, determined by price.”141 Hence, the charging of a
   consumer a personalized price that will correspond to their willingness to pay
   without them being aware of this, combined with the fact that the specific
   consumer will be unable to benefit from the competitive process taking place
   on the open market and the lack information provided to the consumer to
   enable them to make an informed comparison with regard to the situation of
   other consumers may contravene “the principle of an open market economy
   with free competition.” Such contravention would be important as one may
   reason that consumers value the competitive process. They do not solely
   value the fact that a product is within a price range that corresponds to
   their willingness to pay, but also that the price is essentially cultivated in the
   context of a market that involves continuous interactions between buyers and
   sellers. That said, it is necessary to explore, following a detailed comparative
   institutional analysis, whether competition law is the best legal instrument for

   139
       Ibid, [133].
   140
       TFEU, Articles 119, 120, and 127.
   141
       Opinion of Advocate General Szpunar in Case C-148/15 Deutsche Parkinson Vereinigung eV
       v Zentrale zur Bekämpfung unlauteren Wettbewerbs eV EU:C:2016:394, [18].




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      dealing targeted pricing that reduces consumer welfare pricing, or if other
      regulatory alternatives, such as consumer protection law, data protection and
      privacy rules, anti-discrimination law, unfair commercial practices law and free
      movement law, may be more appropriate, under the specific circumstances.142




                                                                                                                 Downloaded from https://academic.oup.com/jcle/advance-article/doi/10.1093/joclec/nhab007/6248466 by guest on 26 April 2021
      4. Unfair Commercial Practices and Trading Conditions
      The exploitation of trading partners may take on forms other than merely
      higher prices. In some competition law regimes, the imposition of unfair
      trading conditions (henceforth, “UTCs”) and/or unfair commercial practices
      (henceforth, “UCPs”) may also constitute an abuse of a dominant position.143
      It should be noted that in such context, other legal regimes, such as those con-
      cerning unfair competition and/or contract law may also apply. The concepts
      of UTCs and UCPs are rather broad and non-delineated. As such, competition
      authorities are offered a high degree of discretion with regard to policy, while
      the courts are offered a high margin of interpretation through which to frame
      the scope of this legal category in a way they consider appropriate.
          In its case law, the CJEU has held considered that contractual provisions of
      an “inequitable nature” may constitute an abuse, “bearing in mind both the
      intrinsic individual effect of those clauses and their effect when combined.”144
      Similarly, the CJEU have found that contractual clauses that “make access to
      [a distribution] network conditional upon the firms accepting unfair terms in




      142
          For a similar approach, see G. Monti, Attention Intermediaries: Regulatory Options and
          their Institutional Implications (7 July 2020). TILEC Discussion Paper No. DP2020-018,
          Available at SSRN: https://ssrn.com/abstract=3646264 . See also, Bourreau, de Streel and
          Graef, (127), 45–47, who note that restrictions on personalized pricing from data protection
          rules (the need to have the explicit consent of the data subject), consumer protection rules
          (disclosure to consumers regarding prices and the method by which they are calculated),
          unfair commercial practices (the prohibition in certain circumstances of consumer profiling
          and the consideration of this as a misleading commercial practice), free movement law (the
          prohibition of discrimination based on the service recipient’s nationality or residence), as well as
          specific regulations on geo-blocking (see Proposal for a Regulation of the European Parliament
          and of the Council on addressing geo-blocking and other forms of discrimination based on
          customers’ nationality, place of residence or place of establishment within the internal market
          and amending Regulation (EC) No 2006/2004 and Directive 2009/22/EC, COM(2016) 289
          final), or the application of competition law provisions against geo-blocking.
      143
          Article 102(a) provides as an example of abuse “directly or indirectly imposing [ . . . ] unfair
          trading conditions.”
      144
          Case C-127/73 Belgische Radio en Televisie v SN SABAM and NV Fonior [1974] ECR 313,
          [12]-[13].




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   the distribution agreement,” to be abusive and that such constitute UTCs.145
   These practices need not derive directly from the contract.
      Equally though, such practices may result from measures that have been
   unilaterally adopted by the dominant undertaking. National competition
   authorities have been quite active on this front, even for non-dominant




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   undertakings.146 Although the case law on UTCs and UCPs focuses on
   practices that affect other undertakings, that is, business-to-business relations
   (henceforth, “B2B”), there is nothing that would impede this case law from
   also applying to UTCs and/or UCPs that affect final consumers, that is,
   business-to-consumer relations (henceforth, “B2C”). This is because there
   is no distinction between situations in which the dominant undertaking is in
   competition, or not, with its trading partner downstream or upstream. Hence,
   the provisions that prohibit the abuse of a dominant position could also cover
   conduct that involves the imposition of UTCs on final consumers that would
   result in a reduction of quality concerning the services provided and/or other
   exploitative effects, such as the extraction of personal data without the user’s
   consent.
      However, this raises two questions: (i) what constitutes a UTC or UCP
   under EU competition law?, and (ii) how could this type of abusive conduct
   include non-price and privacy-related theories of harm?.
      The case law does not provide clear limiting principles. Recent soft law and
   preparatory documents relating to the adoption of the Directive concerning
   unfair B2C commercial practices,147 the Directive on unfair trading practices
   in B2B relationships in the food supply chain (henceforth, the “Unfair
   Trading Practices Directive”),148 and the recent Platform to Business (P2B)
   Regulation with the aim to promote fairness and transparency for business

   145
       See Case T-139/98 Amministrazione Autonoma dei Monopoli di Stato (AAMS) v Commission
       [2001] ECR II-3413, [76]; Case T-83/91 Tetra Pak International SA v Commission [1994]
       ECR II-755, [140], which was upheld in Case C-333/94 P Tetra Pak International SA v
       Commission [1996] ECR I-5951, which rendering conditional the sale of the product to the
       use of the dominant undertaking’s repair and maintenance services, with such obligation being
       considered as going beyond protecting the dominant undertaking’s ‘commercial interest’ and,
       thus, being disproportionate; Case T-203/01 Manufacture Francaise des Pneumatiques Michelin v
       EC Commission [2003] ECR II-4071, [141], which indicates the way in which rebate conditions
       that are indeterminate and non-transparent may also constitute unfair trade conditions.
   146
       Renda, A., Cafaggi, F., Pelkmans, J., Correia de Brito, A. , Mustilli, F., Bebber, L. 2014. “Study
       on the Legal Framework Covering Business-to-Business Unfair Trading Practices in the Retail
       Supply Chain,” Final Report.
   147
       Directive 2005/29/EC of the European Parliament and of the Council of 11 May 2005
       concerning unfair business-to-consumer commercial practices in the internal market.
   148
       See European Commission, “Unfair Trading Practices in the Business-to-Business Food and
       Non-Food Supply Chain in Europe,” (2013), Green Paper, COM(2013) 37 final; European
       Commission, “Tackling Unfair Trading Practices in the Business-To-Business Food Supply
       Chain,” (2014), Communication COM(2014) 472 final; European Commission, “Impact
       Assessment: Initiative to Improve the Food Supply Chain (Unfair Trading Practices),” (2018),
       Staff Working Document accompanying the Proposal for a Directive on Unfair Trading
       Practices in Business-To-Business Relationships in the Food Supply Chain, SWD(2018) 92




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      users of online intermediation services (henceforth, the “Intermediation Reg-
      ulation”),149 may provide a source of inspiration for this case law to develop
      further.
          One needs to, of course, distinguish between the interpretation of Article
      102 TFEU and the emergence of some aspects of EU competition law. The




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      fact that a practice would constitute an “unfair” commercial practice under the
      Unfair Trading Practices Directive or the P2B Regulation, should not have an
      immediate bearing on the qualification of such practice as a UTC or UCP that
      would be prohibited under Article 102(a) TFEU. Rather, it would constitute
      a factual element that needs to be taken into account when interpreting the
      meaning of the prohibition on UTCs espoused in Article 102(a) TFEU.
          Some common elements seem to define the UTC and UCP concepts in
      this context. The Commission has broadly defined UTCs as being “practices
      that grossly deviate from good commercial conduct, are contrary to good
      faith and fair dealing and are unilaterally imposed by one trading partner on
      another.”150 In defining the issue, the Commission has stated that the “transfer
      of excessive risk and costs to weaker parties” and/or “diminished part of added
      value” for the weaker party/parties may indicate an imbalance in terms of
      bargaining power and, thus, the existence of a UTC.151 The overall concept,
      therefore, refers to value-capture practices that result in an unfair division of
      surplus between the actors involved.
          However, the way in which the UTC and UCP concepts have so far been
      conceptualized in these regulatory texts is intrinsically linked to the B2B
      dimension of vertical competition that these rules seek to regulate as they
      assume that the “weaker” actor is an undertaking that takes risks rather than
      a final consumer. Hence, such conceptualizations may provide useful insights
      but certainly do not exhaust the conceptual potential of either UTCs or UCPs
      also in a B2C context. The German Facebook case constitutes an example of
      such trend.
          The inability of the current case law, in the way it is interpreted, to deal
      with issues of unfairness in a B2B context has also led some jurisdictions to
      follow other directions, as the U.S. example of instituting a catch-all provision
      will show.


          final; Directive (EU) 2019/633 on unfair trading practices in business-to-business relationships
          in the agricultural and food supply chain, [2019] OJ L111/59.
      149
          Regulation (EU) 2019/1150 of the European Parliament and of the Council of 20 June 2019
          on promoting fairness and transparency for business users of online intermediation services,
          [2019] OJ L 186/57. See also, European Commission, “Impact Assessment, Annexes,” (2018),
          Staff Working Document accompanying the Proposal for a Regulation on Promoting Fairness
          and Transparency for Business Users of Online Intermediation Services, SWD(2018) 138 final;
          Proposal for a Regulation of the European Parliament and of the Council on promoting fairness
          and transparency for business users of online intermediation services, COM(2018) 238 final.
      150
          European Commission, Communication, (147), 2.
      151
          European Commission, Staff Working Document, (147), 11.




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   The German Facebook Case: Unfair Commercial Practices in a B2C
   Context The Bundeskartellamt’s (BkA) (German competition authority) case
   against Facebook raises interesting issues with regard to the possible extension
   of Article 102 TFEU to cover abuses resulting from the exploitation of
   consumers by digital platforms when harvesting consumer (personal) data.152




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      Facebook merged and collected the various sources of personal data that
   had been generated by users of the services owned by Facebook, services
   like WhatsApp or Instagram (Facebook-controlled services), and merged this
   collection of data with that which had been generated by users of third-
   party websites and apps in which Facebook products, such as the “like”
   button and Facebook analytics, had been embedded (the Facebook third party
   ecosystem). The BkA differentiated between user data that had been generated
   through users using the Facebook service, and user data obtained from third-
   party sources that were either controlled by the Facebook corporate group,
   such as WhatsApp, Oculus, Masquerade and so forth, or through the use
   of Facebook programming interfaces on third-party websites or mobile apps
   (through the Facebook developer platform and Facebook Business Tools),
   which formed part of the broader third-party Facebook ecosystem. The BkA
   considered that the latter set of user data had not been generated through users
   using Facebook’s social network and, as such, Facebook had not received users’
   consent in relation to it raising concerns with regard to a possible abuse of a
   dominant position. Facebook made the use of its service conditional upon the
   user granting the company extensive permission to use their personal data,
   even of that generated not on the Facebook platform but on the broader
   Facebook third-party ecosystem, in particular third-party websites in which
   Facebook Business Tools had been embedded. This exterior data collection
   occurred through Facebook gathering and saving user-related and device-
   related data from all these sources. As such, users were no longer able to control
   the way in which their personal data was used.
      The decision focused on the infringement of German competition law, in
   particular of Section 19(1) of the GWB-Digitalisierungsgesetz (henceforth,
   the “GWB”), which prohibits unfair conduct by a dominant undertaking vis-
   à-vis other undertakings. The BkA noted that Facebook’s users were oblivious
   as to the merging of the data and the sources from which it had been collected.
   They were also oblivious that the purpose of this merging was to enable
   Facebook to develop a detailed identity profile of users and their online
   activities in the broader Facebook third-party ecosystem.
      In determining whether an abuse existed, the BkA analysed Facebook’s
   Ts&Cs of service and its data policy. It examined whether Facebook’s data
   processing terms were admissible in view of the principles of the harmo-
   nized European data protection rules, the GDPR. In doing so, the BkA
   indicated that a violation of EU data protection law could give rise to an

   152
         BKA Facebook , (97).




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      abuse of a dominant position. Considering that Facebook’s merging of the
      data constituted a violation of the users’ constitutionally protected right to
      informational self-determination, the BkA decided that the specific provision
      of German competition law that prohibited the abusive conduct of dominant
      undertakings, Section 19 GWB, applied.153 Therefore, the BkA seemed to




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      establish a direct link between an infringement of competition law and an
      infringement of the principles concerning data protection.
         The case is also interesting with regard to the definition of what constitutes
      a UTC and/or UCP. The BkA referred to past case law of the German Federal
      Court of Justice, which had previously stipulated that “principles from provi-
      sions of the legal system that regulate the appropriateness of conditions agreed
      upon in unbalanced negotiations can be used as concepts for appropriateness
      in the assessment of abusive practices under Section 19(1) GWB.”154 These
      general principles allow for quite a broad interpretation of the scope of abusive
      business terms (and potentially of their EU law equivalents: UTCs and/or
      UCPs). Hence, determining whether the business terms are abusive requires
      “an extensive balancing of interests . . . which should also take into account
      constitutionally protected rights.”155 According to the BkA, Section 19 GWB
      “should be applied in cases in which one contractual party is so powerful that
      it would be practically able to dictate contractual terms, thus, eliminating the
      other party’s contractual autonomy.”156
         In interpreting the prohibition principle in Section 19(1) GWB, the BkA
      was inspired by the content of some of the examples of abusive conduct
      mentioned in Section 19(2) GWB, specifically in Sections 19(2)1 and 19(2)2
      GWB. Under Section 19(2)(2), one may determine the abusive nature of
      trading conditions and/or commercial practices by comparing business terms
      “which differ from those which would very likely arise if effective competition
      existed”—this can be done by taking into account the conduct of undertakings
      in comparable markets in which effective competition exists. However, this is
      not the only way to determine the abusive and unfair nature of business terms
      and trading conditions. The BkA also made use of the broader “appropriate-
      ness principle” which “is based on constitutional values, the principles of the
      legislation on unfair contract terms and other civil law general clauses.”157 The
      aim is to preserve the “constitutionally protected right to self-determination
      in business affairs, i.e., commercial freedom, because the other party is able
      to unilaterally determine the terms of the contract.”158 This unilateralism
      in relation to the determination of contractual conditions runs contrary to
      the usual assumption in contract law regarding the existence of a mutually

      153
          Ibid, [523].
      154
          Ibid, [526].
      155
          Ibid.
      156
          Ibid.
      157
          Ibid, [528].
      158
          Ibid.




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   beneficial agreement based on consent and a meeting of minds. It leans toward
   the fact that the transaction in question may be better described as being an
   “uncontract”.159 By doing so, the BkA took a broad view of the concept of
   “abusive business terms”.160
      The reasoning the BkA undertook is also interesting as to the relation




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   between harm to competition (competition law) and harm to data protection
   (data protection law). As a first step in its approach it acknowledged that
   Facebook’s Ts&Cs and data policies constitute a violation of the GDPR’s
   data protection values.161 It proceeded to undertake a very detailed analysis of
   the GDPR framework and the possible justification that Facebook could have
   submitted in the data protection law assessment. The BkA noted that the need
   to process data collected from other Facebook-owned services or third-parties
   was not necessary for the performance of the contract with the Facebook user,
   the contents of which are unilaterally imposed on the data subject by the data
   controller. Hence, one needs to thoroughly examine the existence of voluntary
   consent in relation to the processing of data.
      This is even more so for the data harvested by Facebook in the context
   of its third-party ecosystem. The BkA rejected Facebook’s argument that the
   data processing was necessary for contractual purposes as it enabled users to
   enjoy a more personalized user experience and helped improve the quality
   of the service to users. The BkA noted that “this view means the company
   would be entitled to unlimited data processing solely on the grounds of its
   business model and product properties as well as the company’s idea of
   product quality,” something which it categorically rejected.162 In light of the
   quantities of data collected by Facebook, the BkA considered that Facebook
   could have achieved a high degree of personalization solely on the basis of
   the data generated from the Facebook website itself.163 This statement from
   the BkA is particularly interesting as it may constitute an argument that may
   also be relevant in the context of excessive data extraction claims. It would
   neutralize the argument that is frequently submitted by digital platforms that
   data extraction is not excessive to the extent that it improves the quality of
   the product, for instance, through increased personalization. One may doubt
   the effectiveness of this argument as increased personalization may lead to
   instances of future exploitation rather than just facilitating targeted advertising.
   As the BkA noted, “another particularly problematic aspect” of such data
   processing is that the aggregation of data across Facebook-owned and third
   party websites enables “active fingerprinting” and the “detailed profiling” of
   users, which “leads to a massive additional invasion of privacy, since profiling

   159
       Zuboff, S. The Age of surveillance capitalism: the fight for the future at the new frontier of power
       (Public Affairs, 2019).
   160
       Ibid, [534].
   161
       Ibid, [573] et seq.
   162
       Ibid, [692].
   163
       Ibid, [744].




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      tracks the affected users via an immense number of websites and apps, and the
      captured data is combined both with the data from Facebook-owned services
      and with the Facebook user data.”164
         Although the BkA made efforts to interpret the relevant provisions of the
      GDPR according to data protection law, it is remarkable that it frequently




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      referred to and used analogical reasoning when interpreting the GDPR with
      regard to competition law. For instance, it challenged Facebook’s claim that the
      aggregation of this data across the various websites owned by Facebook aimed
      to promote the “consistency of the user experience.” The BkA considered
      that the integration of services and/or functionalities along with the sharing
      of user data “is problematic under competition law” given the leveraging
      or maintenance of market power concerns that this may raise. It was also
      problematic because it provided the company with the possibility of excluding
      other market players, creating barriers to new entrants and enhancing the lock-
      in effect by making it more difficult to switch to other providers.165
         In exploring the compatibility of Facebook’s practices with the GDPR,
      the BkA took into account the legitimate interests of the affected stakehold-
      ers, specifically third-parties, such as advertisers that want to buy targeted
      advertising from Facebook, and Facebook users. The German competition
      authority framed the issue as one that relates to the protection of citizens’
      constitutionally protected right to “informational self-determination.”166 The
      BkA could have also focused on the quality dimension of competition and the
      fact that it had been reduced by users no longer being able to control the way
      in which their personal data was. However, it made no effort to build such a
      quality narrative based on this “loss of control”. The reason for its exclusion
      was simply because the BkA would have had to explain why users had not
      switched to different social networks if informational self-determination was a
      parameter of quality competition. For this to happen, the price revealed prefer-
      ence, or the contingent valuation method, would have required some analysis
      concerning substitutability between social networks that respect informational
      self-determination and those, like Facebook, that violated this principle be
      undertaken. Instead of doing this, the evidentiary basis on which the BkA has
      built its theory of harm seems to relate more to citizens’ right to informational
      self-determination/privacy as these are espoused and protected by both the
      German constitution and data protection law.
         In essence, the BkA balanced the right of self-determination for Facebook
      users with the right of entrepreneurial freedom for Facebook. In doing so, it
      noted that the legitimate commercial interests of Facebook cannot outweigh
      those of Facebook’s users, particularly as the data processing was not necessary
      and in view of the broader harms and disadvantages that such processing

      164
          Ibid, [847].
      165
          Ibid, [747]-[749].
      166
          Ibid, [760].




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   would impose on the data subjects, in particular for certain sets of sensitive
   data, type of data processing, the data subjects’ reasonable expectations and the
   position of the data controller.167 This balancing of interests was performed in
   relation to the processing of data harvested from the services owned by Face-
   book, as well as in relation to the data collected through third-party websites




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   and apps in which Facebook Business Tools were embedded (Facebook third-
   party ecosystem). Both balancing assessments arrived at similar conclusions—
   the rights of users outweigh those of Facebook and other third parties.168
      By finding that the GDPR-based justifications for Facebook’s conduct did
   not apply because of the gross imbalance between the interests of Facebook,
   only some of which are legitimate, and the protection of users’ fundamental
   rights, the BkA concluded that the principles of the GDPR had been infringed.
   However, this did not automatically result in there being a competition
   law infringement. In the second step of the analysis, the BkA undertook a
   competition law assessment of this conduct analysing the way in which the
   infringement of data protection could be abusive under Section 19(1) GWB.
   This analysis is comprised of two parts. First, the BkA examined whether there
   was some causal link between Facebook’s market power and the abusive data
   processing conditions it imposed on its users. Second, it sought to balance the
   competing interests under competition law.
      In performing the first part of the test the BkA adopted a rather flexible
   understanding of the “causal link” concept. According to the BkA, “the
   required link with market power is, therefore, not to be construed within
   the meaning of a strict causality of market power, requiring proof that data
   processing conditions could be formulated in such a way precisely and solely
   because of market power.”169 Causality is, thus, perceived from a normative
   perspective, as a causality in relation to the outcome, rather than as a causality
   in the form of a strict counterfactual or but-for test that aims to determine the
   single, most important causal factor.170 Although this does not mean, at least
   on a conceptual level, that this step of the competition analysis completely
   merges with the analysis undertaken in regard to data protection law, in
   practice it is unclear how the two may refer to different issues. Hence, it
   is now decided, as a matter of data protection and competition law that
   “companies behaving in a similar way that do not have a dominant position
   in the market would need to be assessed differently” from undertakings with
   market power.171 Notwithstanding the existence of a normative causal link, the
   BkA also considered that there was a strict causality between the data policies
   that it found to be problematic and Facebook’s dominant position—the firm’s


   167
       Ibid, [767].
   168
       Ibid, [836].
   169
       Ibid, [873].
   170
       Ibid, [873] and [875].
   171
       Ibid, [879] and [882].




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      market power correlated to some extent to its violation of data protection
      law.172
         The second part of the test involves balancing the various interests, this
      time under the guise competition law, taking into account the objective of
      the German competition Act to promote free competition. However, as the




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      BkA held that if the terms of business violate data protection values as a
      result of market power, then the balancing of interests under competition
      law has no “independent significance” to that undertaken in relation to data
      protection law. This, effectively creates a presumption of anti-competitive
      effects if data protection law has been violated and there is evidence of some
      causal link between it and market power. This latter factor, as was indicated
      in the above paragraph can be satisfied by the mere existence of some simple
      correlation. However, this did not impede the BkA from undertaking such a
      (precautionary) balancing exercise in this case, although it did note that in
      this case it led “to the same outcome as the balancing of interests under data
      protection law.”173
         According to the BkA, the need for an independent additional balancing
      under competition law is challenged by the case law of the Federal Court of
      Justice, which has historically emphasized that “if an infringement (of data
      protection law) is the result of market power . . . the abusiveness can no longer
      be called into question by a further (competition) balancing of interests.”174
      This rather blunt observation hints at the possibility that the BkA applies a
      presumption of illegality under competition law in relation to conduct that
      infringes data protection law provided there is some evidence of dominant
      position and a loose causal connection between the conduct and the dominant
      position.175 The BkA also noted the similarity of the balancing factors in both
      competition law and data protection law, one of which is dominance, and how
      such may led to the same outcome, which explains the statement that the
      balancing of interests may be done “simultaneously under competition and
      data protection law.”176
         Constitutional norms and principles are referred to as meta-principles
      that guarantee a level of consistency in terms of the interpretation between
      competition and data protection law as to the duties imposed dominant
      firms.177 For the Bundeskartellamt this “unifies the balancing framework.”178
         The BkA did not take issue with the lack of an economic quantification of
      the abusive conduct in terms of comparing the net consumer harm and benefit
      to a counterfactual, which is often required for the analysis of other exploitative

      172
          Ibid, [880].
      173
          Ibid, [889].
      174
          Ibid, [891].
      175
          Ibid, [892].
      176
          Ibid, [894].
      177
          Ibid, [895].
      178
          Ibid, [901].




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   practices, such as excessive pricing.179 Such economic quantification hardly
   seems possible in this case. However, the lack of economic quantification
   cannot negate the finding of consumer harm.180 The potential of harm is even
   more likely to occur in view of the perverse incentives of the data controllers to
   harvest “too much data,” as they may benefit from the increased monetization




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   potential of an extensive data collection, while users “bear the bulk of the
   potential financial (and intangible) costs incurred.”181 In any case, the BkA
   rejected any attempt by a dominant undertaking to justify restrictions of
   data protection, on the basis of possible positive effects that such violations
   may bring to its economic performance. The BkA was arguably even more
   likely to reject any attempted justification of a restriction of data protection if such
   concerned the fundamental rights of individuals.182 This indicates that it is not
   possible for dominant undertakings to submit objective justifications for their
   alleged anti-competitive conduct. This arguably brings the approach followed
   by the BkA close to establishing a per se prohibition on dominant undertakings
   violating data protection rules provided there is some loose causal link between
   the data protection infringement and the relevant firm enjoying some degree
   of market power.
      The BkA’s Facebook case constitutes one of the first examples of exploita-
   tive conduct cases involving UTCs and UCPs and their effects on privacy.
   The authority sought to interpret competition law and data protection law in a
   consistent manner and to establish a conceptual framework that would enable
   the simultaneous application of both areas of law. Concepts of data protection
   law were repurposed to match existing concepts and concerns in competition
   law, which has become known by some as adopting a strategy of “cross-
   institutional isomorphism”.183 The Facebook case is still pending on appeal
   at the level of the Higher Regional Court Dusseldorf, a previous preliminary
   decision of the Higher Regional Court Dusseldorf that ordered the suspensive
   effect of the appeal due to serious doubts as to the legality of the BkA’s
   decision184 being overruled by the German Supreme Court (BGH) in June
   2020, the BGH provisionally confirming the BkA’s findings.185 Interestingly,
   the BGH did not find decisive, as did the BkA in its decision, the fact that

   179
       Ibid, [906].
   180
       Ibid, [909]. This may hint at the possibility of behavioural harm, explored in Section 3.2.5. but
       the Bundeskartellamt does not provide any further detail as to the way in which behavioural
       changes may harm users.
   181
       Ibid, [911].
   182
       Ibid, [913].
   183
       Commenting on such a strategy, among various other options, see I. Lianos. 2018. “Polycentric
       Competition Law,” Current Legal Problems, 71(1): 161, who states that this strategy involves
       “the borrowing of instruments and/or the overall logic from a different institutional realm and
       transplant them back, “repurposing them for the occasion.”
   184
       See, https://openjur.de/u/2179185.html .
   185
       See, https://www.bundeskartellamt.de/SharedDocs/Publikation/EN/Pressemitteilungen/2020/
       23_06_2020_BGH_Facebook.pdf?__blob=publicationFile&v=2 .




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      the processing and using of personal Facebook user data was generated based
      on their online behaviour outside facebook.com and irrespective of whether
      they are logged in to Facebook and the issue of whether such an approach is
      compatible with the rules of the General Data Protection Regulation, but the
      fact that consumers were “locked in” and that the terms of service of Facebook




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      deprived private Facebook users of any choice as to whether they wish to
      use the network in a more personalized way linking the user experience to
      Facebook’s potentially unlimited access to characteristics also relating to the
      users’ “off-Facebook” use of the internet; or as to whether they want to agree
      to a level of personalization, which is based on data they themselves share on
      facebook.com.

      The need for a “catch-all” provision?: Other alternatives for privacy
      protection The possibility for a specific conduct to fall under another area
      of law that prohibits abusive contractual or trading terms is always in the
      background. Different jurisdictions may make different choices as to the
      regulatory strategy that is to be adopted. For instance, similar types of data
      harvesting have been sanctioned in Italy on the basis of consumer protection
      law.186
         In the United States, additional possibilities are offered through specific
      tools, such as Section 5 of the FTC Act, which focuses on unfair and/or
      deceptive acts and/or practices in or affecting commerce. In the context of the
      assessment of the merger between Google and DoubleClick, an FTC order
      required Facebook to secure consumers’ affirmative consent before altering
      their privacy settings.187
         In 2011, Facebook settled charges with the FTC that it had deceived
      consumers when it had refused to keep its privacy promises. In a letter to
      Facebook dated 10 April 2014, the FTC stated that WhatsApp had notified
      its users about the limited nature of the data it collects and shares with
      third-parties. This letter highlighted that WhatsApp’s’ promises exceeded the
      protections enjoyed by Facebook users. The FTC wrote for the purpose of
      warning Facebook that it needed to continue to honour WhatsApp’s promises
      to its users and that any breach could violate Section 5 FTC Act.188 The
      FTC referred to WhatsApp’s privacy policy, dated 7 July 2012, which sets out
      the type of the data that WhatsApp collects. The FTC noted that hundreds
      of millions of users chose to use WhatsApp’s service based on the promises
      of privacy that it articulated in that notice. After announcing its decision

      186
          See, https://www.agcm.it/media/dettaglio?id=1b36a40a-25b6-4056-9d34-1a07adf34a5e .
      187
          FTC. 2014. “FTC Notifies Facebook, WhatsApp of Privacy Obligations in Light of Proposed
          Acquisition,” Press Release, <https://www.ftc.gov/news-events/press-releases/2014/04/ftc-noti
          fies-facebook-whatsapp-privacy-obligations-light-proposed>.
      188
          FTC. 2014. “Letter from Jessica Rich to Facebook and WhatsApp,” Letter, 1, <https://www.
          ftc.gov/public-statements/2014/04/letter-jessica-l-rich-director-federal-trade-commission-bu
          reau-consumer>.




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   to acquire WhatsApp, both Facebook and WhatsApp publicly stated that
   Facebook would abide by the promises in WhatsApp’s privacy policies. The
   FTC intimated that the statements in WhatsApp’s privacy policy represented
   enforceable promises to consumers about the manner in which WhatsApp
   collected and used their data. The FTC viewed any failure to keep promises




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   in relation to privacy as a deceptive practice under Section 5. Further, the
   FTC further considered this Section as being applicable when a company
   uses data in ways that breach, or are materially inconsistent with, legally
   binding promises when it collected the data, unless consumers have expressly
   consented to any changes. WhatsApp’s privacy policy stated that it would
   neither use its users’ information for advertising purposes nor sell that informa-
   tion to third parties for commercial or marketing purposes without obtaining
   the individual user’s consent. The FTC recommended that Facebook follow
   that procedure and that consumers should be provided with the opportunity
   to opt-out of any changes. Alternatively, Facebook should notify consumers
   that they can stop using the WhatsApp service. Finally, the FTC referred
   to its 2011 Order, which prohibited Facebook from misrepresenting the way
   in which it maintains the privacy and/or security of consumers’ personal
   information. It reminded Facebook that the Order requires it to obtain the
   express consent of consumers before sharing their non-public information in
   a way that “materially exceeds any privacy setting.”
      Issues of privacy also arose in the aftermath of the Facebook/Instagram
   merger. In August 2012, the FTC closed its non-public investigation of the
   merger between Facebook and Instagram without taking any action. This
   unanimous decision permitted the parties to complete the deal.189
      A few years later, the privacy practices of Facebook came under scrutiny
   again.190 Facebook users can reveal intimate information about themselves.
   A user’s “likes” of public pages are generally considered to be an accurate
   indicator of that user’s personality traits. Facebook had informed users that
   they can control the privacy of their personal information by adjusting their
   privacy settings and had emphasized such to encourage users to share informa-
   tion. Starting in 2010, each user who installed Facebook’s app had consented,
   through the app’s default settings, to Facebook sharing, with the third-party
   developers that had created the app, information about both the app user and
   the app user’s Facebook Friends, even if those friends had not installed the
   app, that is, “affected friends.” These affected friends could only opt-out of
   this disclosure on Facebook’s applications page, located on its website. They
   could not opt out from Facebook’s privacy settings page. Third-party app
   developers used that information to enhance the in-app experience and/or

   189
       FTC. 2012. “FTC Closes Its Investigation into Facebook’s Proposed Acquisition of Insta-
       gram Photo Sharing Program,” Press Release, <https://www.ftc.gov/news-events/press-release
       s/2012/08/ftc-closes-its-investigation-facebooks-proposed-acquisition>.
   190
       U.S.A. v. Facebook, Complaint for Civil Penalties, Injunction, and Other Relief, Case No. 19-
       cv-2184 (D.D.C. 24 July 2019).




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      enhance targeted advertising to app users and affected friends. They could use
      that information for identity theft, phishing, fraud and/or other harmful acts.
         In response to a 2012 FTC investigation, Facebook settled claims that
      sharing the data of Affected Friends with the third-party developers of apps
      deceived users. The FTC issued an Order that prohibited Facebook from




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      misrepresenting consumers’ ability to control the privacy of their information,
      the protocol to exercise the controls and the boundaries to which Facebook
      adheres when making user information available to third-parties.
         After that FTC investigation, Facebook retained the same policy but posted
      a disclaimer on its privacy settings page informing users that the information
      they share with Facebook Friends would be made available to the app
      developers. Four months after the FTC finalized the 2012 Order, Facebook
      removed its disclaimer whilst it continued to share the data of Affected Friends
      with third-party developers and used the same separate opt-out setting. At
      a conference in April 2014, Facebook promised that it would stop third-
      party developers from access data about Affected Friends. Facebook informed
      third-party developers that existing apps would only be able to continue to
      collect Affected Friend data for one year, up until April 2015. After that date,
      Facebook entered into arrangements with dozens of developers to enable them
      to continue with their collection of the data of Affected Friends. For a sub-
      group of app developers, that privilege lasted until June 2018.
         According to the complaint, tens of millions of users relied on Facebook’s
      privacy claims about confining the sharing of their information to Facebook
      Friends. Facebook knew or should have known that sharing the data of non-
      consenting friends with app developers violated the 2012 Order such conduct
      had previously been termed “deceptive” by the FTC in regard to the original
      Complaint that prompted the 2012 Order. The 2012 Order required Facebook
      to maintain a reasonable privacy programme that safeguarded the privacy,
      confidentiality and integrity of user information. This obligation was critical
      because Facebook had been conveying the private information of app users
      and Facebook Friends to millions of third-party app developers. Facebook
      neither tracked that data in an organized and systematic manner nor do it vet
      third-party developers before bestowing them with access to consumer data.
         The complaint reasoned that Facebook did not enforce its privacy terms
      adequately and was, instead, influenced by the financial benefit that third-
      party app developers provided in return.191 The severity of any consequences
      for violating its privacy terms and the speed with which they were administered
      depended on the (subjective) financial benefit that the developer offered to
      Facebook.192 The FTC viewed this conduct as unreasonable.
         In addition to but separate from the violation of the 2012 Order, the
      complaint decided that Facebook violated Section 5(a) FTC Act by pursuing

      191
            Ibid, [88]-[90].
      192
            Ibid, [123].




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   deceptive practices. Facebook had asked its users to give personal information
   to benefit from security measures on the Facebook website or mobile applica-
   tion, including the user’s phone number.193 This phone number would then
   be used as part of a two-factor authentication process. However, Facebook
   also, without telling its users, used these phone numbers for advertising




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   purposes.194
       The final act that the FTC challenged related to privacy and facial recogni-
   tion technology. In April 2018, Facebook revised its data policy to inform users
   that it would use the latest facial-recognition technology to identify people in
   pictures and videos that users uploaded if the relevant user had enabled such
   feature. This suggested that users needed to opt in to use facial recognition.
   However, tens of millions of Facebook users who used older versions of social
   media service needed to opt-out to disable the facial-recognition technology.
   The contract violated the 2012 Order by misrepresenting how consumers
   could control the privacy of their information.195
       Facebook ultimately agreed to pay a USD $5 billion penalty and incorporate
   restrictions and a modified corporate structure that the FTC had designed
   to bring more accountability for decisions the company made about users’
   privacy. Facebook must create an independent privacy committee within its
   board of directors. It must certify, on a quarterly basis, that it is complying with
   the privacy programme mandated by the Order. It must also review every new
   or modified product for privacy before implementing it and must document
   its decisions about user privacy.196
       It should be noted that these issues may also be tackled from the perspective
   of data protection law. These various options should not be considered as
   substitutes that require the choice of one among many possible tools but
   as complements, to the extent that it is possible for a specific conduct to
   simultaneously constitute an infringement of competition law and another area
   of law (for example, data protection law, unfair commercial practices and so
   forth). Such approach may be emulated by other jurisdictions, particular in
   the BRICS countries.


   5. Exploitative Requirement Contracts
   A possible theory of harm may result from the requirement imposed by con-
   tracts that users provide their personal data in return for access to bundled dig-
   ital services (see Section 2.1.). The relevant standard could be that employed
   in relation to tying arrangements, although such standard should cater for the

   193
       Ibid, [13].
   194
       Ibid, [142]-[143].
   195
       Ibid, [14].
   196
       FTC. 2019. “FTC Imposes $5 Billion Penalty and Sweeping New Privacy Restrictions
       on Facebook,” Press Release, <https://www.ftc.gov/news-events/press-releases/2019/07/ftc-i
       mposes-5-billion-penalty-sweeping-new-privacy-restrictions>.




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      specific theory of harm resulting from the reduction of privacy standards, the
      manipulation and/or exploitation of consumers and the reduction of consumer
      surplus and/or wellbeing.
         The conditions for such standard are the following. First, the undertaking
      in question is dominant in the tying market (the market for the “free product,”




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      such as social network services, or Internet search services). Second, the tying
      and tied goods are two distinct products. This is, of course, the case as the
      market for personal data is different to that for social network or search
      services. Third, the tying practice is likely to have an exploitative effect that
      harms the user, such as the loss of consumer surplus, wealth transfer, the
      reduction of innovation, the reduction of privacy, behavioural manipulation
      and/or loss of autonomy. Fourth, the tying practice cannot be objectively
      justified on the basis of efficiencies from which the users benefit, such as the
      data harvesting improving the quality of the service or product provided to
      the user (for example, personalization with its positive welfare effects). This
      theory of harm may be standalone or may be combined with one of the other
      theories of harm explored in this Section.


      6. Behavioural Manipulation
      The “exploitation of attention”197 and “attention theft”198 have been put
      forward as new forms of exploitative conduct in the digital age. However, the
      theoretical contours of these new forms of exploitation have been sketchy and
      little has been done in terms of converting them into operational standards for
      the purpose of competition law. Furthermore, it has been stressed that compe-
      tition law needs to promote competitive attention markets.199 Currently, the
      literature on behavioural manipulation lacks solid foundations. It does not take
      into account the significant psychological research conducted on manipulation
      or on the foundations of human consciousness. This is key to understand
      the crucial distinction between situations in which an individual by paying
      attention to something expresses its own individual autonomy, and those in
      which attention has been “captured” through some restriction of that same
      autonomy.


      197
          Wu, T. The Attention Merchants (Atlantic Books, 2016), 23. See also on "human attention" as a
          scarce resource, See, Goldhaber, M. 1997. The Attention Economy and the Net. First Monday,
          2(4), <http://www.firstmonday.org/issues/issue2_4/goldhaber/> ; Camerer, C. F., Johnson, E. J.
          Thinking about attention in games: Backward and Forward Induction. In Brocas, I., Carrillo,
          J. D. (eds.), The Psychology of Economic Decisions (vol.2.): Reasons and Choices (Oxford
          University Press, 2004), 111–129; Falkinger, J. March 2005. Limited Attention as the Scarce
          Resource in an Information-Rich Economy (IZA Discussion Paper No. 153), available at
          Limited Attention as the Scarce Resource in an Information-Rich Economy (iza.org).
      198
          Wu, T. 2017. “The Attention Economy and the Law,” Antitrust Law Journal, 82: 771.
      199
          Newman, J. 2019. “Attention and the Law,” Paper, <https://papers.ssrn.com/sol3/papers.cfm?a
          bstract_id=3423487>.




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      Before accepting the possibility of manipulation, there lies a more fun-
   damental debate—the nature of human consciousness. Phenomenology and
   Cartesian thinking insist on there being a distinction between the brain
   and the mind. This perspective carefully distinguishes between an “internal”
   world and an “external” world. It divides our phenom in three parts.200




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   First, our “experiences of the external world, such as sights, sounds, smells,
   slippery and scratchy feelings of head and cold, and of the positions of
   our limbs.”201 Second, our “experiences of the purely internal world, such
   as fantasy images, the inner sights and sounds of daydreaming and talking
   to yourself, recollections, bright ideas, and sudden hunches.”202 Third, our
   “experiences of emotion or ‘affect’ . . . ranging from bodily pains, tickles, and
   ‘sensations’ of hunger and thirst, through intermediate emotional storms of
   anger, joy, hatred, embarrassment, lust, astonishment, to the least corporal
   visitations for pride, anxiety, regret, ironic detachment, rue, awe, icy calm.”203
   This approach distinguishes between the brain, in which these stimuli are
   processed, and the self, the “centre of narrative gravity,” with the latter forming
   the “core” of a person and the foundation of their autonomy.
      Research in psychology, specifically the “trait theory,” has also put forward
   a “Five Factor Model” to describe the personality trait structure of all humans
   and offer some measurement of character.204 The Five Factor model assumes
   that people have transcontextual personality dispositions that are highly stable
   over the course of time, different situations and social roles, with these traits
   characterizing “our very selves.”205 Hence, “to be true to oneself is to behave in
   consistent accordance with one’s own latent traits.”206 These five personality
   trait factors are also universal and transcultural and are linked to the biological
   unity of humans.
      However, other approaches emphasize the great maniability of human
   consciousness. According to the “Multiple Drafts” model, “all varieties of
   perception – indeed all varieties of thought or mental activity – are accom-
   plished in the brain by parallel, multitrack processes of interpretation and
   elaboration of sensory inputs,” with “information entering the nervous system”


   200
       Dennett, D. Consciousness Explained (Back Bay Books, 1991), 45.
   201
       Ibid, 45.
   202
       Ibid, 45.
   203
       Ibid, 45.
   204
       Wiggins, J. The Five-Factor Model of Personality: Theoretical Perspectives (Guilford Press, 1996).
   205
       McCrae, R., Costa, P. Jr. 1984. “Personality is Transcontextual: A Reply to Veroff, Personality
       and Social Psychology Bulletin, 10: 175–217; McCrae, R., John, O. 1992. “An Introduction to
       the Five-Factor Model and its Applications,” Journal of Personality, 60: 175; McCrae, R., Costa,
       P. Jr. 1994. “The Stability of Personality: Observations and Evaluations,” Current Directions in
       Psychological Science, 3: 173.
   206
       Sheldon, K., Ryan, R., Rawsthorne, L. Ilard, B. 1997. “Trait Self and True Self: Cross-Role
       Variation in the Big-Five Personality Traits and Its Relations with Psychological Authenticity
       and Subjective Well-Being,” Journal of Personality and Social Psychology, 73(6): 1380.




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      being “under continuous editorial revision.”207 Such an approach emphasizes
      the development of streams of content that are subject to “continual editing
      by many processes distributed in and around the brain, and continuing
      indefinitely into the future,” without there being a “single narrative” (a “final”
      or “published” draft),208 as understanding is a property that “emerges from




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      lots of distributed quasi-understanding in a large system.”209 “Probing this
      stream at various intervals produces different effects, precipitating different
      narrative – and these are narratives.”210 “Any narrative . . . that does get
      precipitated provides a “time line,” a subjective sequence of events from the
      point of view of an observer.”211 This theory may raise interesting questions as
      to the definition of that which constitutes “manipulation” and, in particular,
      if such concept would be appropriate in the circumstances of the “Multiple
      Drafts” model and the different means through which it could be exercised.
      However, this approach and its empirical foundations have been subject to
      criticism and the conclusions reached may not hold.212
           Others have challenged the stability and the ahistorical and asocial nature
      of personality traits, arguing instead that these traits may have been influenced
      by culture or the specific social context and, thus, be culturally and historically
      conditioned and stem from “cohort effects.”213 Hence, they may be altered,
      making manipulation possible.
           Organismic- and existentially-informed theories of personality advance a
      more “contextual and dynamic view of the person,” with their central point
      being that “people do not always act in accord with their self; instead, they vary
      from situation to situation in the degree to which they contact and enact their
      true feelings and values.”214 Hence, to be true to oneself within a specific role
      is “to be able to behave in ways that feel personally expressive . . . , authentic
      . . . , or self-determined.”215



      207
          Ibid, 111.
      208
          Ibid, 113.
      209
          Ibid, 439.
      210
          Ibid, 135.
      211
          Ibid, 136.
      212
          Akins, K. 1996. “Lost the Plot? Reconstructing Dennett’s Multiple Drafts Theory of Con-
          sciousness,” Mind and Language, 11(1): 1.
      213
          See Cattell, R. 1943. “The Description of Personality. 1. Foundations of Trait Measurement,”
          Psychological Review, 50: 559; Cattell, R. 1943. “The Description of Personality: Basic Traits
          Resolved into Clusters, Journal of Abnormal and Social Psychology, 38: 476.
      214
          Sheldon, Ryan, Rawsthorne and Ilard, (205), 1380.
      215
          See ibid; Waterman, A. 1990 “Personal Expressiveness: Philosophical and Psychological
          Foundations,” Journal of Mind and Behaviour, 11: 47; Ryan, R. “Agency and Organization:
          Intrinsic Motivation, Autonomy and the Self in Psychological Development” in Nebraska
          Symposium on Motivation: Developmental Perspectives on Motivation (edited by Jacobs, J. Volume
          40, University of Nebraska Press, 1993), 1; Deci, E., Ryan, R. Intrinsic Motivation and Self-
          Determination in Human Behaviour (Plenum Press, 1985).




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      Behaviour, (B), is, therefore, a function resulting from one’s the personality,
   (P) and the environment, (E), in which one finds oneself, (B = f(P, E)216 .
   Behaviourists, such as Skinner choose to focus more on the physical environ-
   ment. Although Skinner rejects the existence of the self/ the mind, he was
   more interested in observable behaviour, as opposed to internal events like




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   emotion. He reasoned that through “operant conditioning” an individual can
   make an association between a particular behaviour and a consequence.217
   The concept of reinforcement also emphasizes the fact that behaviour that is
   reinforced tends to be repeated and, thus, strengthened, whereas behaviour
   that is not reinforced tends to be extinguished and, thus, weakened. Behaviour
   may, therefore, be influenced by reinforcers, as well as by punishers who will
   decrease the likelihood of certain behaviour being repeated. According to
   behaviourists, it is possible to modify and shape behaviour through operant
   conditioning, for instance, by a system of tokens later exchanged for rewards.
      Other approaches focus on internal psychological states, even non-
   conscious mechanisms. The “self-determination” (henceforth, “SD”) theory
   offers a motivational account of behaviour. It assumes that individuals are
   active organisms acting on the basis of internal structures and, thus, make
   use of both their internal and external environments. Motivation relates to
   “energy, direction, persistence and equifinality; characterising activation and
   intention.”218 Hence, human motivation may be intrinsic. Human beings
   when performing an activity make use of internal structures, which form part
   of their perception of the phenomenal core of the self , as well as extrinsic
   factors, to the extent that human behaviour occurs for reasons other than the
   activity itself. SD theory distinguishes between “autonomous motivation” and
   “controlled motivation.”219 The former comprises both intrinsic motivation
   and the types of extrinsic motivation that people have identified with an
   activity’s value and ideally will have integrated it into their sense of self and
   will, thereby, experience a “self-endorsement of their actions.” Conversely,
   the latter “consists of both external regulation, in which one’s behaviour is a
   function of external contingencies of reward and punishment, and introjected
   regulation, in which the regulation of action has been partially internalised
   and is energized by factors, such as an approval motive, avoidance of shame,
   contingent self-esteem, and ego-involvements.”220 Behaviour is energized and



   216
       Lewin, K. “Behaviour and Development as a Function of the Total Situation” in Manual of
       Child Psychology (edited by L. Carmichael, Wiley, 1946), 791.
   217
       See Skinner, B. The Behaviour of Organisms: An Experimental Analysis (Appleton-Century,
       1938); Skinner, B. Science and Human Behaviour (Simon and Schuster, 1953).
   218
       Ryan, R., Deci, E. 2000. “Self-Determination Theory and the Facilitation of Intrinsic Motiva-
       tion, Social Development and Well Being,” American Psychologist, 55(1): 69.
   219
       Deci, E., Ryan, R. 2008. “Self-Determination Theory: A Macro-Theory of Human Motivation,
       Development and Health,” Canadian Psychology, 49(3): 182.
   220
       Ibid.




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      directed by autonomous and controlled motivation as well as the lack of
      motivation and intention marking the other pole, that is, amotivation221 .
          Theoretical and empirical research has shown that autonomous motivation,
      which is located in the categories of intrinsic motivation, integrated regulation
      and identified regulation, “tends to yield greater psychological health and more




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      effective performance of heuristic types of activities.”222 There is also evidence
      that a controlled regulatory environment depletes energy and may affect vital-
      ity and, thus, performance. Hence, options should be offered to users in a non-
      controlling way, if autonomy is to be preserved rather than undermined. Even
      if law and policy may only impact upon one only dimension of the broader
      environment that affects an individual’s autonomy, psychological research may
      provide a substantial amount of wisdom when it comes to defining possible
      theories of user/consumer harm in competition law and, therefore, may provide
      some relief from corporate conduct that reduces autonomy.
          Self-determination and autonomy may be reduced by corporations actively
      manipulating consumer biases.223 In digital markets, the potential for manip-
      ulation to occur on an industrial scale has led to an emerging body of schol-
      arship. It seeks to define manipulation in both offline and online contexts,224
      noting the concerns by regulators.225 Large digital platforms can reach across
      the various dimensions of human experience. They are “dynamic, interactive
      and intrusive” and set forth “incisively personalisable choice architectures”
      capable of steering consumer choice.226 The increasing accuracy of psycho-
      graphic profiles and personality traits has become the new normal in the
      data economy. It drives business practices and has enabled advertising to be
      targeted at consumers on an individual level—no effective comparison can be
      drawn between this and traditional forms of advertising.


      221
          See, Ryan, R., Deci, E. 2000. “Intrinsic and Extrinsic Motivations: Classic Definitions and
          New Directions,” Contemporary Educational Psychology, 25: 54.
      222
          See Deci and Ryan (225), 183; Nix, G., Ryan, R., Manly, J., Deci, E. 1999. “Revitalization
          Through Self-Regulation: The Effects of Autonomous and Controlled Motivation on Hap-
          piness and Vitality,” Journal of Experimental Social Psychology, 35(3): 266; Chirkov, V., Ryan,
          R., Sheldon, K. “Human Autonomy” in Cross-Cultural Context: Perspectives on the Psychology of
          Agency, Freedom and Well-Being (Springer, 2011).
      223
          Hanson, J., Kysar, D. 1999. “Taking Behavioralism Seriously: The Problem of Market
          Manipulation,” New York University Law Review, 74: 630.
      224
          See Calo, (129), 995; Posner, E. 2015. “The Law, Economics, and Psychology of Manip-
          ulation,” University of Chicago Coase-Sandor Institute for Law and Economics Research
          Paper No. 726; Borgesius, F. Improving Privacy Protection in the Area of Behavioural Targeting
          (Kluwer Law International, 2015); Zarsky, T. 2019. Privacy and Manipulation in the Digital
          Age, Theoretical Inquiries in Law, 20: 157; Spencer, S. 2019. “The Problem of Online Manipu-
          lation,” Paper, <https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3341653> ; Susser, D.,
          Roessler, B., Nissenbaum, H. 2020. “Online Manipulation: Hidden Influences in a Digital
          World,” Georgetown Law Technology Review 4: 1.
      225
          European Data Protection Supervisor. 2018. “Online Manipulation and Personal Data,”
          Opinion 3/2018.
      226
          Susser, Roessler and Nissenbaum, (222), 2.




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      Calo expressed the problem of self-determination and autonomy of digital
   consumers as being one that is linked to the mediatory role of technology
   enabling some business actors “to design every aspect of the interaction with
   the consumer.”227 One may certainly envision manipulation as involving an
   intervention that changes the way an individual behaves and that but-for this




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   intervention said individual would have behaved differently. Susser, Roessler
   and Nissenbaum note that intervention may take the following two forms. The
   intervention may change the “decision space” of an individual, for instance, by
   changing the options available to them.228 It may also change “their internal
   decision-making process,” that is, “the way in which they understand their
   options.”229
      The difficulty lies in determining that which distinguishes manipulation
   from other forms of intervention, such as simple influence and/or persuasion.
   The latter forms of intervention do not raise concerns with regard to self-
   determination and autonomy as they appeal to the person’s decision-making
   power. This calls for a more precise definition of manipulation.
      Spencer defines manipulation as “an intentional attempt to influence a
   subject’s behaviour by exploiting a bias or vulnerability.”230 The manipulator
   targets the individual’s capacity for self-governance by acting on the person’s
   extrinsic motivations in a way that deprives them of authorship, “adjusting
   their psychological levers . . . away from their ideal settings.”231 Similarly,
   the hidden nature of the manipulative influence ensures that the person
   being manipulated is unaware of this external regulation. Hence, situations of
   introjected regulation are excluded from being considered as manipulation.
   Susser, Roessler and Nissenbaum reason that “at its core, manipulation is
   hidden influence – the covert subversion of another person’s decision-making
   power,” which functions by “exploiting the manipulee’s cognitive (or affective)
   weaknesses and vulnerabilities to steer their decision-making process towards
   the manipulator’s ends.”232 These may be cognitive biases, emotions and/or
   desires.
      These commentators consider that neither deception nor nudging consti-
   tute a necessary condition for manipulation: manipulation can occur without
   deception and not all nudges are manipulative.233 However, coercion restricts
   the number of acceptable options from which a person may choose and, as



   227
       Calo, (129), 1003–004.
   228
       Susser, Roessler and Nissenbaum, (222), 11.
   229
       Ibid.
   230
       Spencer, (223), 4.
   231
       Susser, Roessler and Nissenbaum, (222), 15.
   232
       See Susser, Roessler and Nissenbaum, (222), 2; for a different position, C. Sunstein, The Ethics
       of Influence: Government in the Age of Behavioural Science (Cambridge University Press, 2016),
       102–05.
   233
       Susser, Roessler and Nissenbaum, (222).




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      such, constitutes a more direct intervention of external regulation of behaviour
      than manipulation.
         Defining the various parameters of the concept of “manipulation” that
      affects human consciousness, which is a richer and deeper concept that the
      concept of “attention” that has so far preoccupied competition lawyers and




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      economists234 , will be an important challenge to overcome for those arguing
      for the development of a manipulation theory of exploitation. It is also impor-
      tant to determine those sources that will be acceptable in relation to evidence of
      manipulation, as well as to design an appropriate test that draws on economics,
      behavioural economics and psychology to build a theory of consumer harm,
      including in general to the principle of “consumer sovereignty”.235 The
      legal test should also offer undertakings the possibility, following prima facie
      evidence of manipulation, to objectively justify their conduct, for instance in
      view of the positive outcomes for the average consumer of such “manipulation”
      or choose to reason that their conduct did not intend to significantly challenge
      the self-determination and autonomy of consumers in the specific context and
      thus could not be qualified as manipulation. Requiring some form of a wider
      market effect of such manipulation may also set a de minimis criterion to avoid
      over-regulation.


      IV. REMEDIES
      In view of the various market failures observed we are in favour of collective
      action to restore the conditions of a well-functioning data market. This may
      take several forms.
         In the regime 2 presented, it is assumed that in the opt-out world there
      would be significant competition so that the purchaser of personal information
      would be forced to pay the competitive price that would reflect the full value
      of the personal information to the company, $y. If such competition among
      purchasers of personal information were not present, and, for example, Google
      remained a monopsonist, as was set out in regime 3, the user would not, to an
      appreciable extent, be better off in the opt-out world as opposed to the opt-in
      world. Therefore, any remedy cannot just involve changing the default from
      being opt-in to opt-out; rather, it has to achieve or, at least imitate, competition
      in the market for the sale of personal data.
         A possible solution in relation to users having conditions imposed on them
      to which they did not provide their voluntary consent would be that the default
      regime be changed from opt-in to opt-out. In applying these principles to the
      case of social networks, one may reason that Facebook has no incentive to

      234
          For an excellent analysis of “attention markets” see, M. Peitz, Economic Policy for Digital
          Attention Intermediaries (2020). ZEW - Centre for European Economic Research Discussion
          Paper No. 20-035, Available at SSRN: https://ssrn.com/abstract=3654009.
      235
          Lerner, A. 1972. “The Economics and Politics of Consumer Sovereignty,” American Economic
          Rev 62: 258.




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   make this change on its own and that, therefore, this has to be achieved by
   regulation. This is certainly the choice made by the EU as evidenced by its
   adoption of the GDPR, which established an opt-out regime. However, even
   if the default were changed to “opt-out”, this by itself would not be an adequate
   response because the dominant social network may, as a result of its market




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   dominance, limit access to their service unless the user “consents” to their data
   being harvested. Hence, due to the asymmetrical bargaining power between a
   digital platform that enjoys a dominant position as opposed to users, an opt-
   out regime will not in and of itself be enough.
       One option may be to require that the digital platforms offer the same
   product but charge a fee to a user if said user neither wants their data to be
   harvested nor to be subjected to targeted advertising. In cases in which the data
   of the specific user is valuable, digital platforms could be required to provide
   a positive payment to these users so that they can join the relevant platform.
   However, this option would raise several issues.
       Firstly, because of its dominant position Facebook could deny users “free”
   access to its services if they opt to exercise their privacy rights, or it could
   overcharge users or not pay them the competitive price to join the social
   network or buy their data. As discussed in Section 2.1, social networks of
   the size of Facebook have network effects and benefit from feedback loops.
   Strong network effects result in high market share inequality among networks
   with larger networks enjoying much greater levels of profitability while new
   networks are forced to overcome barriers to entry. Strong network effects can
   also enable larger network to subsidize “influential” users to subscribe to their
   services.
       Secondly, as mentioned in Section 2.5, there is no market by which users
   can evaluate the full cost and benefit of their transaction with Facebook—the
   market is missing. Once the interaction between the user and the platform is
   understood a market interaction, society may more fully grasp the possibility
   that the dominant/monopsonistic position of the buyer of data may lead to
   inefficient exchanges, or that the monopsonistic buyer may have a lot of user-
   specific information and can implement sophisticated price discrimination
   strategies.
       To remedy this, competition law enforcement, in particular conduct and
   structural remedies, in addition to other regulatory tools, such as privacy
   regulation, would need to work together to establish a market between users
   and the platform that could ensure the transparent collection of data and
   its use. Said market would also need to be able to ensure the provision of
   users’ consent to the collection and specific uses of their data. It could also be
   developed to enable the user to be paid compensation for the “selling” of their
   data to a company.
       Opt-out should also be the default. If a user opts-out, the relevant company,
   especially browsers and search engines, should not be able to use or sell the
   data the user discloses. Users may be compensated for opting-in, thereby,




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      allowing the relevant company to use the user’s raw data as well as their
      “activities” and/or “connections.” This default opt-out will create a market
      between the user and the relevant company, in which the user can sell their data
      to the digital platform. Users should have opt-out choice for other personal
      data, such as health data. They should also be able to easily set their browser




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      to delete cookies and trackers at end of a session and users should be able to
      avoid Chrome.
         This opens the possibility of compensating users for opting-in, that is,
      selling their data to the relevant company. Depending on the extent to which
      a user opts-in, they may be compensated in different amounts for allowing the
      company with which they directly interact to collect their data, to use their
      data for a specific purpose, and/or to sell their data to third-parties.
         The EU takes a different perspective as pricing remains unaffected by the
      opt-in/opt-out decision. Nevertheless, the pricing of data should not be solely
      determined by the monopolist/dominant digital platform using its superior
      bargaining power vis-à-vis individual users. For this a counterfactual needs
      to be constructed and this raises the issue of determining the competitive
      monetary value of the data and ensuring that such is paid to the users (if
      positive pecuniary prices are charged), or the amount the users should be asked
      to pay (in terms of the value of their data or money) to access the product.
      In building this counterfactual, the decision-maker should take into account
      the situation prior to the competition law infringement (before-and-after test)
      and/or the situation in a comparable geographic market that is significantly
      more competitive than the market under examination.
         Several other remedial options exist in terms of restricting the privacy-
      harming potential of digital platforms with market power, in particular indi-
      rectly through measures intensifying competition, better privacy protection
      being a by-product of that.
         It might be possible to enhance inter-platform/inter-ecosystem competition
      by horizontally breaking-up the platforms and introducing several horizontal
      competitors into the market. The topic of breaking-up the big digital platforms
      has been subject to fierce discussion in recent years. This is not the first
      time that structural remedies, such as a break-up, have been considered as
      being appropriate competition law remedies. The two archetypical cases are
      the break-up of AT&T in 1981, and the attempted break-up of Microsoft
      in the early 2000s. However, previous break-up cases involved exclusionary
      conduct to rivals, rather than directly exploitative practices against consumers,
      such as harm to privacy. Note also that this remedy may be of relatively low
      effectiveness given the existence of the “winner-takes-most-competition” in
      markets with intense network effects. Even if new entrants do, in fact, enter
      the market, the resulting market structure may ultimately not be significantly
      different from that which it was before and competition will be for the market
      rather than in the market.




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       A vertical separation of the platform from the merchants, which would
   prohibit the platform from expanding into vertically related markets could
   also enhance intra-ecosystem competition and therefore provide some form of
   temporary relief. Such remedy, that is, a prohibition on market operators from
   being able to be both vertically integrated and compete in separate markets,




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   would eliminate the incentive of the platform to commit an abuse. However,
   set in a direct exploitation case context, it could equally evolve to some form of
   regulation, a hybrid between utilities’ regulation and data protection/privacy
   regulation.
       Separation can take different other forms; it need not be structural and may
   concern a data separation policy (or data use break-up). It need not only focus
   on the dominant undertaking and the companies controlled by it but may also
   expand to a partial break up of their third-party ecosystem. Some “light-touch”
   separation may be achieved by policies that require digital platforms not to use
   personal data that has been harvested from participants to their ecosystems,
   unless they have the explicit consent of these members for the envisaged use.
   This may break the continuity between the data resources the undertaking
   commands as part of the economic entities it controls and the data resources
   that are provided to it by its third-party ecosystem.
       Another policy could involve platforms ensuring that more protective to
   privacy personal data policies of companies that were acquired by a less
   privacy-prone digital platform stay, even after the acquisition, and are not
   replaced by the less privacy-oriented policies of the acquirer. The issues raised
   by the misleading information provided in the context of the acquisition of
   WhatsApp by Facebook, discussed in Section 3.1. offer a good example of this.
       “Data separation” policies could be implemented more easily than struc-
   tural break-ups and could serve to reduce the data advantage that some
   platforms have in view of the time people spend online and on each plat-
   form’s ecosystem.236 If one looks carefully at the time spent by users on the
   ecosystems of dominant digital platforms, it appears that the establishment
   of barriers regarding the use of data and the imposition of these on all
   members of the ecosystem may serve to reduce the barriers that new entrants
   face because of the data advantage of the digital platforms. This may be
   justified to the extent that this advantage was not acquired through organic
   growth but with the collaboration and considerable investment of third-party
   complementors that have invested in the specific ecosystem, contributed to
   its commercial success and built in this process relations of trust with their
   users. This approach regarding protection of privacy through data separation
   type remedies in ecosystems needs to be consistent with the approach followed
   with regard to privacy restrictions of competition in merger control. It would
   be inconsistent to take a more permissive approach in a merger context than

   236
         Australian Competition and Consumer Commission. 2019. “Digital Platforms Inquiry,” Final
         Report, 513.




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      in the context of an ex post competition assessment of an ecosystem, and allow
      mergers that affect privacy without proper competition law scrutiny. The fact
      that the data advantage of the digital platform emanates in the context of
      merger control from the acquisition of a rival that could have otherwise acted as
      competitive threat to the dominant position of the platform and possibly offer




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      better privacy protection certainly calls for a less permissive approach. Hence,
      competition authorities should systematically scrutinize privacy restrictions
      that may result from digital mergers.
          The BkA decision in Facebook imposed such data separation in the context
      of an abuse case as it prohibited Facebook from merging user and device-
      related data that it had collected by its own services, such as Instagram, What-
      sApp, Masquerade and Oculus, with an individual user’s Facebook account
      without said user’s voluntary consent.237 This interestingly also applied to data
      that has been collected by Facebook business tools on third-party websites
      (Facebook third-party ecosystem). The way in which Facebook collects data
      through those services was held to constitute an exploitative abuse of users
      as well as an exclusionary abuse of competitors, which violated Section 19,
      Paragraph 1 of the Act against Restraints of Competition.
          Platforms may also opt for paying users for their data as we outlined in
      earlier sections, which could lead to the emergence of a licensing market for
      user data with users opting-in to sharing their data with specific platforms.
      This would enable users to port their data to the platforms that offer them
      higher levels of return and better conditions in terms of valuing their privacy.
      However, the exclusive licencing of personal data to a company would imply
      a monopsony and such would not solve the problem of competition in the
      personal data market.
          Non-exclusive licensing could be instituted through a licensing agency that
      would collect the data from each user and distribute it to platforms. The user
      would be paid the combined sum of all the bids that the relevant companies are
      willing to pay but this raises the issue of what determines how much a user gets
      paid or pays. Assuming that similar competing networks exist, a user would
      prefer to sell their data to a larger network because when he/she joins there
      are more possibilities of interaction. The user’s willingness to pay, $x, would
      increase with the size of the network. A dominant network would generally be
      able to pay users less and/or demand higher payments from users because of
      its market power and/or the data it has concerning the user’s characteristics.
      One would expect that most users would pay more to subscribe to a large and
      dominant network but would be paid less by it than a smaller network.
          Other remedial approaches will target the establishment of market institu-
      tions and tools reinforcing consumer sovereignty.
          For instance, to determine that which constitutes a “fair” value, one would
      need to refer to the value of the data in a competitive market. However, this

      237
            BKA Facebook, (97).




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   is not currently possible as there is no perfectly competitive market and there
   cannot be one because of network effects. Digital platforms may exercise their
   buying power, which could result in downward pricing pressure in the market
   for personal data being put on input suppliers, that is, the users. This would
   deprive the users from a portion of their revenues. Due to the buying power




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   or monopsony from which digital platforms benefit and the existence of the
   requirement concerning the provision of data in return for access to digital
   services, competition law should protect users from being paid artificially low
   prices. In some jurisdictions, low pricing may be found to be unfair pricing
   and will, therefore, infringe abuse of dominance provisions.238
       A possible solution would be for national competition authorities to facili-
   tate users collectively bargaining, eventually in the form of collecting societies,
   with platforms in relation to the compensation they will receive in return for
   their personal data.239 The value of personal data and, therefore, the price for
   which it may be sold to digital platforms may also increase if input limitations,
   enforced by a digital and/or data protection regulator as to, for example, the
   amount of data to be harvested, were established.
       Data portability providing users with the ability to export their social graph
   or their search history constitutes another competition law remedy tackling
   the problem of the absence of a market for personal data. Data portability
   is the right of digital users to move, copy and/or transfer their personal data
   across different platforms. This right ensures the free flow of personal data
   and that users are not captive to a limited number of digital platforms. It
   also has important synergies from the perspective of competition law and its

   238
       Unfairly low prices may also be a concern for the Article 102(a) TFEU. This does not concern
       predatory prices but situations in which a dominant buyer purchases inputs at unfairly low
       prices, which are determined by a comparison between the price paid and the economic
       value of the service provided. In Case C-298/83 Comité des industries cinématographiques des
       Communautés européennes v Commission [1985] ECR 1105, the CJEU examined an action for
       annulment against a decision of the Commission relating to the conduct of some French
       television stations, that held exclusive broadcasting rights, paying low license fees for the rights
       of films. The CJEU accepted that Article 102(a) TFEU could apply in these circumstances,
       although in this case the Commission had not found an abuse as it was impossible, in view
       of the variety of the films and the different criteria for assessing their value, to determine
       an administrable and valid yardstick for all films, since each film is different. This type of
       theory of harm is more difficult to implement in the US where, since the decision of the U.S.
       Supreme Court in Weyerhaeuser [549 U.S. 312 (2007) ], high standards are required for a claim
       of predatory bidding to be successful. The Supreme Court also stipulated that the Brooke Group
       [509 U.S. 209 (1993)] predatory pricing analysis applies equally to the predatory pricing of
       outputs and predatory bidding for inputs. However, since this case, the US antitrust authorities
       and, more generally, the US antitrust community, have displayed a more open approach to
       such. In particular, they have shown concern for monopsony power in antitrust and merger
       control: J. Shively, “When Does Buyer Power Become Monopsony Pricing?,” (2012) 27(1)
       Antitrust, 87; Hemphil, C., Rose, N. 2018. “Mergers that Harm Sellers,” The Yale Law Journal,
       127: 2078.
   239
       The Economist, “Data Works of the World, Unite,” (economist.com, 7 July 2018), <https://
       www.economist.com/the-world-if/2018/07/07/data-workers-of-the-world-unite>.




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      enforcement in a digital world in which access to personal data is crucial for
      the development of digital products and services, especially given the strong
      network effects and lock-in effects of multi-sided platforms. Data portability
      is also a data protection law remedy whose availability varies from jurisdiction
      to jurisdiction. In the EU, the GDPR specifies a number of rights to digital




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      users, one of which is data portability.240 This right requires all data subjects
      to be able to receive the personal data relating to them,241 which they have
      provided to a controller, in a structured, commonly used and machine-
      readable format.242 The GDPR also provides that, where technically feasible,
      the data subject shall have the right to have the personal data transmitted
      directly from one controller to another. This right, however, will not be
      applicable in situations in which the processing of the information is for the
      public interest or is done in the exercise of an official authority.
          The United States has not passed any comprehensive federal legislation
      regarding privacy or data protection, although, it has enacted sector-specific
      regulation that has created various forms of data portability. In the healthcare
      domain, the Health Insurance Portability and Accountability Act (henceforth,
      the “HIPAA”) gave patients a federal right to access their health records.243
      The 2010 Dodd-Frank Act created data portability rights regarding financial
      and account information and this extends to authorized third parties.244 In
      the last relevant sector, Congress permitted consumers to access credit scoring
      information and receive an annual free credit report.245
          On the state level, California has led the way with the California Consumer
      Privacy Act, which came into effect in January 2020. This statute providers
      users with the right to data portability—consumers may request personal
      information that both online and offline businesses must provide in a format
      conducive to portability.246 In terms of scope of the data portability right,
      California’s provision goes further than the equivalent requirement in the EU,

      240
          Such as the right to be forgotten, the right to be notified of a breach, the right to access, the
          right to privacy by design, the right to restrict data processing, the right to object and rights in
          respect of decisions involving automated processing and profiling.
      241
          Article 1: ‘personal data’ means any information relating to an identified or identifiable natural
          person (‘data subject’). An identifiable natural person is one who can be identified, directly
          or indirectly, in particular by reference to an identifier such as a name, an identification
          number, location data, an online identifier or to one or more factors specific to the physical,
          physiological, genetic, mental, economic, cultural or social identity of that natural person.
      242
          Controllers must make the data available in a structured, commonly used, machine-readable
          and interoperable format that allows the individual to transfer the data to another controller:
          see Article 20 and Recital 68 of the GDPR – Right to Data Portability.
      243
          Determann, L. 2019. “Healthy Data Protection,” UC Hastings Research Paper, 7–8.
      244
          Leonard, P. 2017. “Regulatory Trends and Emerging Practices in Access to Customer Data,
          Portability and Data Sharing in the Financial Services Sector,” Daya Synergies Pty Limited,
          16 and 28.
      245
          Chandler, A., Kaminski, M., McGeveran, W. 2019. “Catalysing Privacy Law,” University of
          Colorado Law Legal Studies Research Paper No. 19–25, 16.
      246
          See Goldman, E. 2019. “An Overview of the California Consumer Privacy Act,” Santa Clara
          University Legal Studies Research Paper, 2 and 5; de la Torre, L. 2018. “A Guide to the




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   in that it applies to inferred data concerning an individual whereas the GDPR
   exempts this sort of data.247 Several States have proposed, or are investigating,
   data privacy laws and are basing such on the California model.248
      Beyond the statutory route to data portability, U.S. consumers could pursue
   a common law claim premised on contractual law. A Restatement of the Law




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   on Consumer Contracts, which is currently pending, may offer guidance to
   courts as to whether privacy policies should be viewed as contracts.249 The
   debate as to whether privacy policies should qualify as enforceable contract
   rights relates to data portability because several of the leading online platforms
   have self-regulated and have created data portability rights that would comply
   with Article 20 of the GDPR.250
      There is still room to develop national data protection and data portability
   regulations in the United States, but also the BRICS.251 Except for some
   sectoral and state legislation, the United States lags behind the EU in this
   regard. In Brazil, India and China, data portability has either been adopted
   through legislation, provided for under draft law or has been stipulated under
   relevant standards, whereas in Russia and South Africa, their respective laws
   do not provide for this right.
      Although the right to data portability was not primarily designed for the
   purpose of combatting monopolies and market power, it will have a significant
   impact on competition in digital markets. Multi-sided digital platforms are
   characterized by high network and lock-in effects. In an environment in which
   undertakings compete for the market rather than in the market, resulting in
   a “winner-takes-most,” market structure, the right to data portability may
   provide some relief from the power held by large digital platforms. It is
   important to note that this right only covers personal data. Lock-in effects
   might not be solely limited to personal data. Furthermore, data portability may
   also have some anticompetitive effects. Indeed, some have reasoned that as the
   right to data portability will also be imposed on small and new competitors and
   their potential competitors as well, the imposition of the right to portability




       California Consumer Privacy Act of 2018,” 14, <https://papers.ssrn.com/sol3/papers.cfm?a
       bstract_id=3275571>.
   247
       29—Working Party Guidelines on the Right to Data Portability, (2017), 10 (2017); California
       Civil Code Sections 1798.140 (o), (l), (k), (m)).
   248
       Chandler, A., Kaminski, M., McGeveran, W. (245), 28–34.
   249
       They may just state company policy: Elvy, S.-A. 2018. “Commodifying Consumer Data in the
       Era of the Internet of Things,” Boston College Law Review, 59: 442.
   250
       Gans, J. 2018. “Enhancing Competition with Data and Identity Portability,” The Hamilton
       Project (Brookings), Policy Proposal, 12, which lists Google, Facebook, Twitter and LinkedIn.
   251
       For further analysis, see Chapter 5.4.2.5.3. of the BRICS Digital Era Competition Report
       (September 2019), available at http://bricscompetition.org/materials/news/digital-era-competi
       tion-brics-report/.




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      may result in competing firms designing their products in a format that is
      compatible with the incumbent, which could stifle innovation.252
         Data portability is an important addition to data protection laws and with
      the extraterritoriality aspect of the GDPR it is becoming a standard norm
      internationally. It is probable that there would be some interesting cross-




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      fertilization between the emerging case law on data protection and that on
      competition law regarding the various forms that a data portability remedy
      may take.
         The constitution of a “data commons” may also facilitate the develop-
      ment of new entry into data-related markets and, therefore, such should
      be promoted. This may be done by, for instance, enabling the diffusion of
      data that has been harvested by government bodies, as has been the case in
      the EU with the Public Sector Information Directive253 and, more recently,
      the Open Data Directive, under strict privacy-protective norms.254 Another
      option would be to promote the development of “data clubs” that operate
      on an open, non-exclusive basis and different companies to pool and share
      data, again respecting high privacy standards, although, such would have to
      be properly scrutinized to prevent them from serving as facilitators for cartel
      activity limiting the protection of privacy.
         Problems arise in situations in which one undertaking has a data bottleneck
      and, therefore, becomes a crucial node of the value chain in regard to
      the diffusion of information and the realization of the productive process.
      This includes situations in which undertakings hold an essential facility. In
      this context, NCAs (and/or sector specific regulators) that conclude that an
      infringement of competition law has occurred may impose “interoperability”
      as a remedy. Interoperability remedies may help to intensify inter-platform
      competition, thus also contributing to a better protection of privacy-related
      competition. For instance, Facebook could change from a closed to an open
      communication network by adopting open API for user messages, chats, posts
      and other communications. This would enable its users to send messages to
      users of other social networks. This could unlock privacy-related competition
      between Facebook and other social media, by eroding the number and identity
      of users’ barrier to entry of Facebook that may lock in users that also value
      privacy but have no alternative competitive platform to switch to while keeping
      the possibility to communicate with their existing social network.
         Finally, it is important to add the existence of technological solutions to the
      problem of restrictions to privacy by the business conduct of digital platforms
      or, more generally, user-initiated and driven practices that may frustrate the

      252
          Cowen, T. “Marginal Revolution,” (marginalrevolution.com, 18 May 2018), <https://margina
          lrevolution.com/marginalrevolution/2018/05/forced-data-portability-mistake.html>.
      253
          Directive 2013/37/UE amending Directive 2003/98/EC on the Re-Use of Public Sector
          Information, [2013] OJ L 175/1.
      254
          Directive (EU) 2019/1024 of the European Parliament and of the Council of 20 June 2019 on
          Open Data and the Re-Use of Public Sector Information, [2019] OJ L 172/56.




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   aims of the advertisement-based business models, such as Adblocks255 and
   the development of tracking protection technologies.256 For instance, national
   competition authorities may require the development of a unique “do-not-
   track” switch that could apply to all networks and prohibit or even highlight
   exploitative abuse of dominance cases against companies if they try to bypass




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   these technologies or forbid their use in their platforms.257


   V. CONCLUSIONS
   We have shown that the acquisition of private information by default without
   compensation by digital platforms such as Google and Facebook creates a
   market failure and can be grounds for antitrust enforcement. To avoid the
   market failure, the default in the collection of personal information has to be
   changed by law to “opt-out.” This would allow the creation of a vibrant market
   for the sale of users’ personal information to digital platforms. Assuming that
   all parties are perfectly informed, users are better off in this functioning market
   and digital platforms are worse off compared with the default opt-in. However,
   just switching to a default opt-in will not restore competition to the “but” for
   world because of the immense market power and bargaining power towards an
   individual user that digital platforms have acquired. Digital platforms can use
   this power to reduce the compensation that a user would receive for his/her
   personal information compared with a competitive world. Additionally, it is
   likely that the digital platforms are much better informed than the user in this
   market, and can use this information to disadvantage users in the market for
   personal information.
       Such market failures may be dealt with by the enforcement of competition
   law, ex ante and/or ex post. One should be careful to distinguish this option from
   the possibility to implement data protection legislation, if this is available in the
   specific jurisdiction. The criterion of legality put forward by such legislation,
   the structure of its enforcement and the types of harm that may give rise
   to its implementation, regarding exploitative conduct that is likely to reduce

   255
       Treharne-Jones, E. “The Privacy Consequences in the Rise of Ad Blockers,” (iapp.org,
       30 September 2015), <https://iapp.org/news/a/the-privacy-consequences-in-the-rise-of-ad-
       blockers/.
   256
       See Camp, D. “Firefox Now Available with Enhanced Tracking Protection by Default
       Plus Updates to Facebook Container, Firefox Monitor and Lockwise,” (blog.mozilla.org, 4
       June 2019), <https://blog.mozilla.org/blog/2019/06/04/firefox-now-available-with-enhanced-
       tracking-protection-by-default/> ; Nield, D., “It’s Time to Switch to a Privacy Browser,” (wi
       red.com, 16 June 2019), <https://www.wired.com/story/privacy-browsers-duckduckgo-ghoste
       ry-brave/.
   257
       This may be necessary in view of the strategies of some of these platforms to put an end
       to the use of ad blocking software, see J. Aten, “Google is Putting an End to Ad-Blocking
       in Chrome: Here Are the 5 Best Browser Alternatives,” (inc.com), <https://www.inc.com/ja
       son-aten/google-is-putting-an-end-to-ad-blocking-in-chrome-here-are-5-best-browser-alte
       rnatives.html>.




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      privacy, are different from those of competition law and in no case exhaust
      the issues raised. Hence, in most cases it would be important to combine
      different regulatory fields to tackle the full dimension of the social harms
      of such conduct. One of the authors referred elsewhere to the need of a
      “toolkit approach” emphasizing the complexity of the regulatory strategy to be




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      followed.258 A comparison between the different set of rules applying for the
      assessment of mergers and that of other forms of conduct shows that there are
      two gap in the current system of EU competition law enforcement regarding
      exploitative practices reducing privacy. First, the European Commission has
      not so far seriously assessed the privacy effects of mergers, although it has
      accepted that privacy, in some cases, constitutes an important parameter of
      competition. However, this statement is meaningless if it is not followed by a
      systematic assessment of the likely exploitative effects of the merger regarding
      privacy. As data protection regulation does not cover all the market failures
      identified, and data protection regulators are not involved in the merger
      approval process, there is a significant gap in the protection of EU consumers
      and citizens.
         Second, assuming that the Commission will change stance in the future,
      another regulatory gap emerges. If mergers are assessed also for their exploita-
      tive effects regarding privacy, the threshold of EU intervention ex ante will be
      set at the lower level than dominance, that of the existence of a significant
      impediment to effective competition. However, the intervention threshold for
      ex post control would be that of dominance on a relevant market. This ignores
      the possibility that privacy reduction practices and exploitation may find its
      source in conglomerate effects in the context of an ecosystem of paramount
      importance whose gatekeeper does not however enjoy a dominant position
      on a relevant market and hence elude the scope of application of Article 102
      TFEU. Some national competition law regimes made some effort to deal with
      this gap by having recourse to their legislation regarding abuse of economic
      dependence,259 or by adopting bespoke legislation, although this has so far

      258
          See, Lianos, I. Competition Law for the Digital Era: A Complex Systems’ Per-
          spective (30 August 2019). Available at SSRN: https://ssrn.com/abstract=3492730 or
          http://dx.doi.org/10.2139/ssrn.3492730 , 160 et seq.
      259
          For instance, in the Belgian law for competition which was presented recently and through
          which the introduction of the abuse of a relationship of financial dependency is proposed, the
          Belgian legislator made specific reference to digital platforms and the legislative gap, which
          exists as reasons for the introduction of these new laws: Loi modifiant le Code de droit
          économique en ce qui concerne les abus de dépendance économique, les clauses abusives et les
          pratiques du marché déloyales entre entreprises, Art. 4, http://www.ejustice.just.fgov.be/cgi_loi/
          change_lg.pl?language=fr&la=F&cn=2019040453&table_name=loi; In France, the Autorité
          de la Concurrence has applied the provisions for the abuse of economic dependency (Article L.
          420 2, alinéa 2 du code de commerce) to undertakings which do not have a dominant position
          in a relevant market: Case 20-D-04 16 March 2020 «relative à des pratiques mises en œuvre
          dans le secteur de la distribution de produits de marque Apple», https://www.autoritedelaconcu
          rrence.fr/sites/default/files/integral_texts/2020-06/20d04.pdf . In Germany, new Article 19A in
          the suggested tenth amendment of the German Competition Act expands the scope of German




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   focused only on exclusionary behaviour260 and does not fully integrate in
   competition law thinking the reality of digital “ecosystems.”261 This remains
   an important gap in the current design of competition law, not only in the EU,
   but also more broadly, and needs to be addressed.




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       competition law to certain specific types of conduct by an undertaking having a paramount
       significance for competition across markets: New Article 19a GWB-E (Referen-tenentwurf
       eines Zehnten Gesetzes zur Änderung des Gesetzes gegen Wettbewerbsbeschränkungen).
   260
       With the exception of Article 19a2(5) GWB-E, all other examples of conduct in the suggested
       new provision of the German Competition Act relate to exclusionary practices. Furthermore,
       Art. 19a2(5) only refers to a B2B context, and does not seem to envisage its application in a
       B2C context. The abuse of economic dependence provisions have also always apply in a B2B
       context.
   261
       Unless one takes the view that ecosystems may be defined as relevant markets: see, for instance,
       the suggestion on how to define aftermarket ecosystem markets “[...] even if in some consumer-
       facing markets—according to their own account—firms compete to draw consumers into
       more or less comprehensive ecosystems, markets for specific products or services will persist
       from a consumer’s perspective, and should continue to be analysed separately, alongside
       competition on (possible) markets for digital ecosystems. Where the firms’ lock-in strategies
       are successful, and consumers find it difficult to leave a digital ecosystem, ecosystem-specific
       aftermarkets may need to be defined”: Crémer, J. et al. 2019. Competition Policy for the
       Digital Era, available at https://ec.europa.eu/competition/publications/reports/kd0419345enn.
       pdf . However, focusing on aftermarkets, covers only a dimension of the issues raised by
       ecosystem competition. The definition of power/dominant position in an ecosystem should also
       rely on a different methodology and metrics than defining a dominant position in a relevant
       market. Indeed, the current metrics and methodologies applying for the latter result from past
       case law and decisional practice which do not engage with issues of centrality and positional
       power, that are nevertheless the key factors to consider to determine power in the context of
       an ecosystem. See, M. Jacobides & I. Lianos, Ecosystems and competition law: From theory to
       practice, forthcoming Industrial and Corporate Change (2020), available at Ecosystems and
       competition law in theory and practice by Jacobides, M. G., Lianos, I.: SSRN.




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